USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 1 of 147




                          Exhibit H
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate
           USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 2 of 147


Sawyer Stands for Ti & Do's Heaven's Gate

 The non-religious, non-spiritualized Truth about Ti & Do (Father & "Jesus") Heaven's Gate UFO Two
  Witnesses and Their Crew (Saints) from the Physical Evolutionary Kingdom Level Above Human
Against the deceitful Luciferian Fallen Angel (human equivilent) "Space" Aliens and their human pawns
                                       in and out of physical bodies



Archive for the ‘ufo cult’ Category


Updated TI and DO Audio Tape Log

July 12, 2021
Here is the log file of all 908 audio tapes I’m aware of existing.

I understand that the Classroom constructed these descriptions of the content of the tapes, something I
remember happening because we started transcribing them. We probably transcribed 20-30 by 1994 but I
don’t know what happened to those transcripts. We had machines that would allow us to slow down the
tape playing but we did the transcribing on a personal computer. We had like 3 transcibing machines. I
did some transcribing but I recall Jmmody and Glnody and Anyody doing a great deal. It was an
optional task.

There are 4 among this list that are duplicates. We did make duplicates sometimes so more than one
person could listen to them at the same time.

It was seldom that we had an instruction to re-listen to tapes but it was always optional to listen to them.
I don’t recall many students re-listening to them but perhaps I wasn’t aware of how often some were
listening to them again.

17 of these tapes were described as “not available” but their descriptions are still here. I believe this is
because they wore out but not totally sure that’s why.

So from the numbers there are 21 tapes not present which means there are a total of 908 tapes if I figured
that right.

We did at times edit a tape if TI and/or DO said they didn’t want a certain part included but usually that
was when we were talking about plans and scheduling and sometimes when we’d have a meeting about
a classmember’s leaving. Sometimes the tape got left on and DO would give the ones in charge of the
taping task instruction to erase a section. I know about that as I was frequently partnered with Srrody
and he was the primary on that task so I served as a secondary on that task – as his check partner when
we’d erase them.
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          1/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

At one point
       USDCa IN/ND
               number   of classmates
                      case            misinterpreted
                            3:22-cv-00395-MGG        DO and132-8
                                                  document  thought   we07/24/23
                                                                  filed  had instructions
                                                                                  page 3 to
                                                                                          of erase
                                                                                             147 tapes.
Srrody and I were about to do it but I don’t think did so, though may have done so for a couple.
Fortunately, erasing them took a while by re-recording blank audio over the tape. I vaguely remember
considering the use of a magnet. Perhaps Srrody asked DO about the use of a magnet. I’m not sure as he
was the primary on the task and didn’t necessarily have to check with me, the secondary on the task in
communication with DO.

So DO found out about it and was clearly concerned because he never felt he gave that instruction. So
we stopped and accepted that we misunderstood the instruction. Instructions weren’t always written
down unless a student did so which was procedure to do and to write it in a report what one wrote
down so TI and DO could see how we worded the instruction they gave us verbally.

These tapes start in 1982. Before then we didn’t record meetings that I was aware of. The last one is from
January of 1997.

You will notice the last tape refers to a telephone call with JHNODY who had joined in 1975 and left a
bunch of years later if I recall but not sure when and then stayed in touch while he living outside the US
where he went back to but then rejoined in about 1992-3 and then left again soon thereafter.

The reason we had the earlier time peroid of tapes that included TI on them, was because Rkkody and
Oscody retrieved them from storage, a task Mrcody and Srfody (Mark and Sarah) were given by DO but
was also given to them with the option of not doing the task and passing it on to Rkkody and Oscody,
which they chose to do. That was back in 1997-8 and Mark and Sarah changed their minds and wanted
the task that went with the “items of value” in storage as described in a letter sent to Mark and Sarah
from the class with instructions to divide them among those that want to do the task of disseminating
their information they left behind – hoping some would get to learn more in depth what TI and Do were
all about.

I at first reported some things about the relationship of Mark and Sarah with Rkkody and Oscody
somewhat inaccurately here, which Crlody read and provided the following update as he was working
directly with Rkkody then:

*** Crlody reports:

JHN was one of the nineteen sent out in ’76. RKK met with MRC prior to his first attempted Exit in early
May of ’97. At that meeting MRC repeatedly promised RKK that he’d make the tapes available. RKK
didn’t really believe him but he had already decided that he was leaving and was “washing his hands”
of the entire thing so he gave MRC all of the tapes. Only after RKK and I digitized the tapes and started
giving them to Universities did MRC realize that RKK had copied tapes 1 thru 218 prior to that meeting.
At that point MRC demanded that we stop and he started threatening the Universities with legal action
if they didn’t return his “property”. MRC gave his tasks to RKK and OSC by meeting them in a parking
lot at 7 a.m. in Phoenix because he was scared of the FBI. He gave them everything that was in the FedEx
package including the keys to the storage lockers that held the the tapes. Only after speaking to a high-
priced entertainment lawyer did MRC get interested in doing his “task”. He told RKK, “there’s tens of
millions here”.

*** end of Crlody’s report insert ***

But at one point as I understand it from JHN, Mark started sending him batches of the digitized audios
overseas thinking they would be backed up outside the US.

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          2/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

Then one  day seemingly
        USDC   IN/ND caseby3:22-cv-00395-MGG
                            accident Jhnody started listenting
                                                 document      to tape
                                                             132-8      #149
                                                                     filed   and realized
                                                                           07/24/23  pagethe tapes
                                                                                          4 of 147 weren’t
meant to be in storage. I know that seems like a no brainer to many but when the lower forces are
hammering on someone they can easily become blind to what makes sense and we know the lower
forces don’t want any of TI and DO’s information to be made widely public as it can awaken more when
they see the truth about TI and DO behaviors and ways and thinking and why behind their efforts on
earth.

So just weeks ago, Jhnody who I had been in contact with on and off for years sent me the digitized
audios, all in .mp3 format and I quickly sent them to Crlody and someone else who I know I can trust to
be sure to upload them to the internet in mulitple places so that even if Mark and Sarah somehow sue us
it will be far too late to keep them from being available to those who want to listen to them.

I agree with Crlody and many others that it seemed like a disservice to TI and DO’s intention to not
provide these audios. However, I have no doubt DO felt to leave it that way and no one would lack
plenty of their information to choose to enter their service, especially since we had all the audio’s with TI
on them.

We have proof of that so no lawsuit would stand up in court but I’ve learned that there is still more
material that Mark and Sarah have or say they have so if they do sue us, we’ll perhaps counter sue them
if need be and seek to have all the materials they have made public. They are not even doing it for
money. They seem to be bent on running the show. Thanks to TI and DO and Crew for alerting JHN to
tape #149 where TI and DO express three times how they anticipated people wanting to listen to the
tapes after they have left.

TI’s vehicle was dying and we learned about it some two weeks before she left her vehicle as I recall by
6-19-1985. So tape 219 seems to have the most about that though years later DO talked about it more.

So here is the tape log Jhnody got from Mark and Sarah. We only had part of it til now:

TI, DO & Students Audio Tape Library
Classroom Instruction / Tape Log

001 AB
07/14/1982
Building reverence. Practice of silence. Silva Mind Control – off track – change M.O. (Ti & Do). “Tree” –
Keep mind at feet of chief – ask to be examined. Object – “greeting” – separation from teachers.
Meditation – relaxation vs. stress
76 min.

002 A
07/15/1982
Finding retreat – retreat crew – meditation. Keep vibrations higher – Don’t listen to voices.
20 min.

003 AB
07/15/1982
Meditation exercise given (silence) – relaxed but keen & alert -Healing cells – Conflict = Decay. Each cell
has a brain of it’s own – can talk to them & direct them to be healthy.
62 min.

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          3/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

004 A USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 5 of 147
07/16/1982
Blackhawk, Colo. – found retreat – wait & see. Don’t take each other for granted.

005 A
07/20/1982
Guilt – Conflict – Stress = vehicle breakdown. Program for health – eliminate stress.
14 min.

006 A
007 B
008 C
08/29/1982
Book information – 3 faces of Lucifer – updates. One real God -One real Kingdom of God. Lucifer’s
kingdom – facsimile of Heaven. Christian confusion – many members. Paths leading to #1 deceiver.
Clarification of boogers – stages of human advancement – stepping stones. Major boogers work in Astral
– Lucifer uses influential humans.
61 min.
55 min.
49 min.

009 AB

010 A
09/05/1982
Book questions – staying on track. Metamorphosis – boxes – graduation. Your thoughts will reach them
by what you put in ether. If Links sent us energy – it would cheat us of growth. We already know ways
of Next level – now we need to learn the ways of more responsible positions. You have to know who you
are – constantly program vehicle to remember.
91 min.
19 min.

011 AB
09/09/1982
Sat. 3 reference – Hixon article example – our thoughts go out to help bring in New Age. Try to open
door to humans to accept Teachers from the Next Level. Small human minds pure & good but need to
blossom. Growth is through restraint. Need to have a fear of not pleasing the Chief. Information comes
as an idea – not a “message”.
79 min.

012 AB
09/13/1982
People taking responsibility. “Eye for Eye” no longer applies – whole system has to be changed. Don’t
become separate. See improvement every day.
93 min.

013 AB
09/14/1982
Moods, anger, sensuality—–must be gotten rid of. Promises to the Chief – builds strength to expose


https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          4/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

things. Get
        USDCrid IN/ND
                of deceit.
                       case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 6 of 147
58 min.

014 A
015 B
09/22/1982
Teach kindness, cooperation, negotiation. Garden grows slowing – Old Testament for primitive society –
stress lessons we have learned. Worst condition is to have no tests.
61 min.
35 min.

016 AB
09/24/1982
Restraint counts only when temptation is severe. 5 cardinal sins: lack of trust, cruelty, sensuality,
confidentiality, deceit.
58 min.

017 A
018 B
09/27/1982
Slippage meetings – no pipelines to the Next Level. Our Teachers are our Link with the Next Level.
Three reasons we are here: 1. Strengthen Next Level Mind 2. Deposit thoughts 3. Getting a vehicle. Ask
for strength to resist so impurities can surface. Use suffering to build the starch of resistance. Report
slippages – how vehicle blocks Next Level Mind.
93 min.
12 min.

019 AB
09/30/1982
Help wanted meetings – resentment – Lucifer is jealous of us-no favoritism – what to say to be helpful-
follow chain of command – Do’s dream. Galloping horses.
90 min.

020 AB
10/03/1982
“I may be wrong” – trust must be unqualified. How help is accepted is important – stop evaluating
Teachers. Work together in harmony – don’t take slippages lightly.
52 min.

021 AB
10/12/1982
Next Level toughness – not interfering with Older Members – wouldn’t correct Older Members – there
are no teachers in Next Level. Follow procedures.
48 min.

022 AB
10/22/1982
Taking equal responsibility. Have to learn who you are. Do’s dream, “you can call me Tom”. Be
observant, desire service, increase thirst. Take advantage of time: awaken.
74 min.
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          5/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

023 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 7 of 147
11/03/1982
Ti and Do know who they are & they know who we are. We are training to be replacements for the
positions vacated in the Heavens by Lucifer’s hosts. Be hard on yourself without getting down on self.
Make the most of the time on this planet. Be strong & love the ways of the Next Level. Don’t accept
weaknesses, can’t become comfortable. Develop forethought, expose deceit – the worst is over.
92 min.

024 AB
11/08/1982
Pace of vehicles in various areas – expect everyone to be “nice” – don’t want vehicles to be impressed
with humans – answering questions briefly. Links tasks take priority – “rising above” brings in Next
Level Mind – good vs. Evil on this planet. Take changes in a positive way. Overcoming prejudices of
vehicle.
72 min.

025 A
026 B
11/12/1982
027 C
11/13/1982
The jail. New information. Lucifer & the jail – the minds that are present on this planet. Human not a
natural condition. Adam: evolution in reverse. Boogers use celebrities as mouthpieces for programming.
Not knowing is the test – flunk a test & it gets tougher next time. Next Level maintains the balance with
their own programming. e.g. Moses. Program vehicle to abort negative thoughts. Strongest thirst when
weakest. Lucifer has programmed all vehicles to play old tapes when not occupied – “reminisce”. Can’t
skip steps – books to help future classes from Next Level. Our vehicles carefully chosen. Don’t change
anything on your own.
93 min.
93 min.
77 min.

028 AB
11/17/1982
Book deadline has passed. New Age – vehicles to return to original state of Adam. Reincarnation, souls,
life after death, etc. Attraction between vehicles due to genetic programming. Genetic structure is the
thing that is passed on.
93 min.

029 AB
11/22/1982
Forethought & conscious direction. Mind is to vehicle as human programmer is to a computer. Human
computers come with genetic programs equal to manufacturers software. Family connections. Constant
conscious effort – urgency. Know that the vehicle is a plant, separate from me. Plants energy source.
75 min.

030 A
031 B
11/25/1982
Inner mind. Whole self = conscious mind + inner mind. Inner mind can do unbelievable things. Program
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          6/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

with clear commands
        USDC          & belief
               IN/ND case      in what’s programmed.
                           3:22-cv-00395-MGG           Follow
                                                 document     procedures
                                                            132-8         to the letter.
                                                                  filed 07/24/23   pageCommunications
                                                                                         8 of 147
with others – I can do anything my Teachers have given me to do. Stress, confusion, etc. can interfere
with inner mind programming. Replace negatives with positive. Human & Next Level does not mix.
Program: fear of not pleasing the Chief & the Next Level.
93 min.

032 A
11/30/1982
Would not instigate new things or procedures. Plan strategy for everything. Instructions from Older
Members always have priority. Think, be alert, use feeler. Our potential effort grows each day. We are
measured by effort we exert compared to our potential. Welcome anything that comes your way.
94 min.
033 B
11/30/1982
Inner mind = genetic programming = soul. Soul has no judgment, no reasoning power just sends
impulses to the brain. Repetition best way to program. The formula for building spirit body.
56 min.

034 AB
12/02/1982
When you feel something negative, the moment you feel it, change it over to a positive – a chemical
change takes place. Suffering & determination = growth. Correction is painful. Better if prepared ahead
for it. Don’t let others be aware of suffering.
89 min.

035 A
12/05/1982
Building a Next Level body. Program to erase negatives with positives. Questions & answers. Be specific
in programming-think in detail – no short cuts. Lesson of older clothes.
33 min.

036 A
12/10/1982
Too close to the light. Retreat dc’d – temporarily.
13 min.

037 AB
12/17/1982
Q car lessons – taking equal responsibility. Lesson of broken chain – Older Member is right no matter
what – don’t compete or think you remember better – take the blame, wouldn’t blame them. “Ti” –
“wouldn’t have any one of us on her crew”. Attaining the level of performance. Being able to prod
ourselves more consistently. Live up to promise to the Chief. Do not accept a pace of improvement
acceptable on any crew on the Next Level.
93 min.

038 A
12/21/1982
039 B
12/21/1982
Auxiliary motor. Lesson of travel funds – get yourself out of whatever you get yourself into – get help
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          7/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

only if emergency.
        USDC IN/ND No  trail3:22-cv-00395-MGG
                     case    bosses – only crews. document
                                                  Definition 132-8
                                                              of a slippage.  The pendulum.
                                                                      filed 07/24/23 page 9 ofResponses
                                                                                               147      to
not being on the crew. Praise does help us grow. Band aids. How to objectively feel towards humans.
Damaging to compare ourselves to others. Keep own generator going. No easy task has a great yield.
93 min.
56 min.

040 AB
01/02/1983
Forethought: getting more thirst. Have to desire growth & new information. Stimulate yourself, don’t
rely on outside stimulation – replace memory bank – can’t just progress, just apply lessons – chemical
changes occur as we block out old memory bank – replace with Next Level ways.
74 min.

041 AB
01/04/1983
Exclamation point: repeating self-stimulating method. Don’t accept discouragement no matter what. Be
determined to correct slippages – don’t test yourself – keep your own generator going. “Fear of God” is
desperation for improvement. Lethargy is disbelief. Fear is key to accelerated growth. Don’t want to
prove the Chief wrong.
59 min.

042 AB
01/15/1983
Separation of mind from vehicle: the glove. Each human has a root system & tape library in their genes.
Soul travel – just imagination. Push through the “mud” – vehicle’s genetic structure. Strong willed
vehicle has more backlash. Human vanity – energy leaks – change circumstances – believe the vehicle
can change. Shower mantra.
86 min.

043 AB
01/19/1983
Refining programming. building Next Level body – program vehicle to be honored to be picked for task.
Reinstating “Heavenly Father”. Keep mind on the task at hand.
70 min.

044 AB
01/23/1983
Information on 15th street craft. Lessons on ventilation – care of tools. Habits = no growth – intent of
instructions. Questions & answers – consuming guidelines – lab serving strategy.
75 min.

045 AB
01/27/1983
Stopping thoughts before they can do damage: i.e. “I’m hungry” – controlling consuming – can’t allow
horse to buck.
57 min.

046 A
01/30/1983
Instruction to sell Teckla. We have to eventually be the ones to make vehicles stay within guidelines –
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          8/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

learn judgment – learn
        USDC IN/ND     to work
                    case       efficiently without
                          3:22-cv-00395-MGG        fuel – staying
                                                document    132-8 onfiled
                                                                       track. Consuming:
                                                                           07/24/23 pageA10tool to learn to
                                                                                            of 147
stay on track.
33 min.

047 AB
02/05/1983
Refresher course in consuming – even Links has to at staying on track. Must look to Next Level to stay
on track. Consuming: stress burns extra fuel – sublimation.
56 min.

048 A
02/13/1983
049 B
02/25/1983
Squaw Pass – 10,000 ft – 1983. Information about Squaw Pass. Physical aspects of 10,000 ft. – learning
how to push through. Reasoning behind the effort put into 10,000 ft. retreat. Follow instructions without
question – perform as if on stage – information from Next Level comes through Links as a safeguard –
Born out of chrysalis according to our own effort.
46 min.
45 min.

050 AB
03/01/1983
Short note on the piano role – things moving faster – Links never questions instructions – pleasure in
serving the Chief. The reaction of 10,000 ft. craft.
75 min.

051 A
03/03/1983
Speed, hypocrisy, reasoning.
8 min.

052 A
03/25/1983
NRR, RTH, ARR – we have reached a note on the piano role that has never been played before. Jesus’
disciples faced outward difficulty & we face inward ones – we affect the world trends. Waiting –
appreciating the difficulty.
25 min.

053 A
03/31/1983
OOC task – two extremes. Be alert & observant. Must learn the art of getting along with everyone.
Misapplication of instruction – flowers. Interaction with Links = lessons – just say, “I did it wrong”.
44 min.

054 AB
05/28/1983
Striving for perfection. This is a time when Links pulled away. Conscious control. Motivation: loving the
ways of the Next Level better than life itself. Artificial limb – correction doesn’t mean poor performance


https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          9/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

– medicine
       USDCis IN/ND
              sent tocase
                      where  we are: we need to document
                          3:22-cv-00395-MGG     stay there.132-8
                                                            We may   some
                                                                 filed     day have
                                                                       07/24/23     a Class
                                                                                 page       like Links.
                                                                                      11 of 147
New growth patterns – we have a choice.
83 min.

055 A
06/16/1983
Members of the Next Level present in our craft. We don’t want to make it impossible for Members of the
Next Level to be in our presence. Constant awareness of what we are vibrating – fumes. Next Level
present = good becomes good more quickly & bad becomes bad – nothing is lost. Need to develop more
respect.
39 min.

056 B
06/24/1983
(damaged recording) Everything is OK. You can rise above the longing to leave-can be an interference.
Nothing is a negative if you can make it a positive.
21 min.

057 A
07/01/1983
Attraction & revulsion. Equal caring for Classmates. Always do things according to new craft. All should
have same aim – to follow procedures.
24 min.

058 A
07/20/1983
(damaged recording) Doing things as quickly & as perfectly as possible. Physical aspects of Houston
retreat.
15 min.

059 A
08/04/1983
Less meditation – more mentally alert. Nirvana is not healthy – just escape opiate. Speeding up brains –
alertness – crave perfection. Never sacrifice procedure for the product.
14 min.

060 AB
08/16/1983
(damaged recording) Shaving – side A. virgins – side B. accumulating force – focal point to put energy
into = perfecting the ways of the Next Level. Ask, “How can I use this energy?” Full dose of medicine –
how to store it. Everything can be turned onto a positive.
40 min.

061 A
08/30/1983
Responses. Shouldn’t twist procedures to get what you want -can’t allow explosions & feel sorry later.
Can’t do task half way – can’t keep some bad habits. Teach vehicle the greater pleasure that comes with
control.
13 min.


https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          10/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

062 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 12 of 147
09/11/1983
How to handle a visit – no pat answers but be prepared. Light-heartedness – newsletter & network.
93 min.

063 AB
09/13/1983
Purpose is to relieve anxiety. Success is to follow instructions. Would not visit if faced with legal
problems.
29 min.

064 A
09/18/1983
Can we follow instructions in this environment. Parents & children are main concern. Primary task –
relieve parents guilt if any.
20 min.

065 AB
09/23/1983
Lesson segments – introduction to writing task – A&B sides.
57 min.

066 AB
09/26/1983
Enduring the feeling of boredom, guilt, etc. – overcoming these feelings gives us strength – know that we
will change – doors open as strength is gained. Boredom can whet appetite. “Happiness is knowing we
are serving the Chief.
69 min.

067 AB
10/04/1983
10/07/1983
Visits & segments. Stress/depression destroy the immune system. Don’t take experiences for granted.
Writing segments brings more mind to the surface – everything is in the genes. Playlike: Church of
genetic improvement. Non-sectarian – barking back. Turning conduct around.
90 min.

068 AB
10/14/1983
Sample segments. Realistic viewpoint of religious concept. Ti’s right & left turn – promiscuity – Miss
Manners.
70 min.

069 A
10/17/1983
Reconstructed meeting – no religious connotations. Bushel of apples. Everyone write first segment on
genetic understanding – “genetic general.
39 min.



https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          11/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

070 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 13 of 147
10/21/1983
Meeting tape versus T.V. show. Turn around news – the direction towards improvement. Restraint on
the spot is what works.
64 min.

071 A
10/23/1983
Living computer. Circulating segments for grading. Sensations unchecked. The living computer analogy.
Next Level genes – movie lesson. Lesson of the zoo tapes.
42 min.

072 AB
10/25/1983
Trends – responses can be traced back to genes – lesson about new shoes – teaching humans to know
better – DeLorean
54 min.

073 AB
10/28/1983
(damaged recording) Research questions before asking – questions on visiting task – why we didn’t
know about genes from beginning. “Missing Time” – books.
60 min.

074 AB
10/30/1983
(damaged recording) Grenada & self-determination. Evolution & missing link. Word becoming flesh –
genetic general. End of time – virgin birth. Foolish art – we are an evolutionary link. Taking a vehicle.
60 min.

075 A
11/01/1983
Reconstructed meeting – no conflict between Adam & Eve & evolution – Dr. Pritiken’s diet. Outlets of
sensation – simple & complex genes.
40 min.

076 AB
11/04/1983
Segments for humans – segment inaccuracies. Technical data re: genes – strong impressions. Actuation –
2000 words – no inspirationals. Not seeing negative – getting to the source.
51 min.

077 AB
11/08/1983
You have the knowledge to go back to the source – deteriorating forces – rock & roll at JWN’s task – sly
ways of being negative. Ancestors & incarnation – passing on knowledge. The goalie – radio waves.
68 min.




https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          12/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

078 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 14 of 147
11/11/1983
11/13/1983
Writing letters to relatives – patriotism to forward motion – global nation – being too passive – your
thinking contributes to what goes out on the radio waves. Maxi-life. Expanding your understanding of
genes. What is evil? Bringing us out of our primitive interpretation or logic – don’t take Next Level
medicine on a Level beneath you. Convert rather than suppress.
54 min.

079 AB
11/15/1983
Salad lesson – letter writing, write segments from your own experience – deceit (self-deceit) worst
human characteristic.
60 min.

080 AB
11/18/1983
Limited number of genes – as you progress you convert – Lucifer: the door behind you is not locked.
Seeking help – praise & sensuality – recognizing negative thoughts – negative thoughts block Teachers –
accepting criticism.
36 min.

081 AB
11/22/1983
11/25/1983
A. Radio waves – common genes-wanting to come from same place as Older Member – my trouble is
sent to Older Member – manna – nothing different – puppets-individual but not different. Both feet on
the curb.
73 min.

082 AB
11/28/1983
Next Level body in storage-question & answers. The school of human – body no longer programmed to
death & destruction. Mid-stream civilization – if anything worth saving it would save itself. Becoming a
new mixture – getting back to same awareness, no loss of consciousness – accomplishing a task for the
Next Level. Becoming aggressive with your vehicle.
61 min.

083 AB
12/02/1983
Inappropriate questions – no tape discussions. Get brain working at higher thoughts – old concepts of
self. Definition of mind. At time of graduation.
61 min.

084 AB
12/06/1983
Segments – self-centeredness – being smarter – information left by the Class before this one –
information that I’ve become aware of – looking to the source. Willingly correcting someone – weighing
Teachers down – shuttle runs priority. Inappropriate 3 times breakage.
67 min.
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          13/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

085 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 15 of 147
12/09/1983
UN forces in Lebanon – self disappointment. Finding fault in others – methodical strategy. Thought into
reading segments – formatting procedures for computers.
46 min.

086 AB
12/18/1983
Formatting segments – destructive forces – ultimate information – write what you have been taught.
Information I receive is mine – mind passed on in genes – updating our word processor for computers –
how the Chief populates the Heavens.
62 min.

087 AB
12/25/1983
There isn’t a negative thought that is okay, not even against your own performance. Better manipulation
– eager to awaken more. How to play volleyball – change thoughts like change channels – motivation for
longevity. Humans at Christmas – segments.
77 min.

088 A
01/03/1984
Twisted sarcasm – programming through repetition. Vehicle coming to believe it isn’t important. Vehicle
won’t correct self.
17 min.

089 AB
01/08/1984
(damaged recording) Needless suffering. Immune system – PRS’s test, newsletter.
72 min.

090 A
01/22/1984
(damaged recording) Genetic general is to get it straight in your heads – only healthy vehicles are those
ready to leave the planet – the Gardener and the Hot House.
38 min.

091 A
01/24/1984
Staying on track – biscuit lesson – together or apart – the more you advance the more liberty you have.
Keeping your eyes on initial instructions.
15 min.

092 A
02/05/1984
Separateness – romancing your own vehicle. Review tapes beginning with genetics.
31 min.




https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          14/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

093 A USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 16 of 147
02/10/1984
Handling cold and flu symptoms.
9 min.

094 AB
02/12/1984
Our task – our effect on the world – our main task is to bring NL Mind into focus. Assignments &
departments – sending out signals.
56 min.

095 A
02/14/1984
Listing our task. DSTody’s task – STM’s task – slaves of credit. Utilities – BRNody’s task.
44 min.

096 A
02/17/1984
Programming specifics – old wounds – avoid negatives – our single most prevalent hindrance – tone of
voice – going along. Preparing a place for the mind.
40 min.

097 AB
02/19/1984
Links asks – “What do you think is supposed to go on our task list?” Re-do lists thus far. Separate mind
from vehicle – common denomination – street talk – dog on a leash. Conquer it before humans can.
49 min.

098 AB
02/21/1984
Upgrading the humans – set a goal (teen-age suicides) getting on a track – desire for betterment –
concept of self-improvement. Areas for progress – 1. Committing crimes 2. More refined way of life. 3.
Living for physical sensation 4. Diet & nutrition 5. Improved education – wasting minutes.
52 min.

099 A
02/23/1984
3 time breakages – using procedures for pettiness – helping & caring for each other. Angels – sleep and
controlling vehicle – how we are graded in our task – improving our programming.
41 min.

100 AB
02/25/1984
Wording of computer entries – wording of programming – consolidating forces in Houston.
70 min.

101 A
02/27/1984
Houston applying – wording on our task lists. Obsolete programming – finding a good channel of


https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          15/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

transmission.
       USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 17 of 147
29 min.

102 AB
03/03/1984
Circuitry – simple direct phrases pertinent to the moment – organic computer – very poor erase – visual
tapes – tactics of the vehicle. Vehicle tries to put mind down – sublimination. Unpleasant recovery.
90 min.

103 C
03/03/1984
Don’t allow guilt if a tape tries to play. Interference – “Stop That!” – the cause of tapes playing – career
baby makers – the Big Chill – circuitry – us>Do>Ti. The things you are dealing with do not originate with
you – planets – telephone prefix – you have to grow to know your task-never blame your vehicle –
registry for aliens.
15 min.

104 A
03/06/1984
Circuitry clarification. Different combinations of circuitry – send signals – building a jet with a worn-out
wrench – Next Level doesn’t send people to fail. China & little red books. Weak plant eaten by strong
plants. Genetic engineering by humans.
43 min.

105 A
03/09/1984
Foresight & hindsight – example suggestions segments – write what you have overcome. Right kind of
stubbornness – labeling symptoms of imbalance – multi-colored glasses – updating boogers – vehicle
dying. Guilt & discouragement – unremorseful murderer.
31 min.

106 A
03/11/1984

107 A
03/18/1984
JNN’s task list – putting up a wall-constant adjustment of success – don’t assess performance – Adam &
Eve – Next Level. Programming. A garden: 1. Radio signals of ideas 2. Physical entry into human
kingdom. Whole civilization growing – a matter of refinement – all move forward at own level – the last
100 years on this planet. Bringing in lower aspects of my Next Level Mind – don’t let vehicle’s ignorance
judge your ability – difficulty of this task is being so asleep. Programming ahead of performance. Mental
rashes – attitude deficiencies same as skin blemishes – mental poison ivy that is transferable – personal
guilt removed.
99 min.
12 min.

108 AB
03/29/1984
How our information will be brought out. There is a spacecraft overhead – we will leave together –


https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          16/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

departure willIN/ND
       USDC    be witnessed. Energy of our vehicle
                    case 3:22-cv-00395-MGG           returning
                                                document   132-8to filed
                                                                   our family   strain
                                                                         07/24/23      – dissemination
                                                                                    page 18 of 147     of
information through our family strain. Being appreciative of your vehicle.
82 min.

109 A
03/31/1984
Signs of changing attitudes – God box. Protection of information left – genes of living vehicles – likely to
return in vehicles. Acceleration of last 50 yrs. Church of genetic development – changing attitudes – Next
Level fun – design of this task. Levels of understanding.
45 min.

110 A
04/02/1984
The nineteen – different task, not different teachers – you send out thoughts with everything you do.
Taking Classroom seriously. Changing perspective towards the vehicle. Planting seeds of improvement.
Programs don’t stop automatically.
30 min.

111 AB
04/06/1984
Visit to north craft – grocery store-hastiness. Cutting remarks – sensitivity to others. Sensitivity –
wouldn’t be able to do your task if no difficulties – stronger self-examination – familiarity – moving with
life. Behavior in craft-what can I do to have better responses. Don”t want vehicle idle. ALXODY &
CDDODY – the incident – Links not informed. Monitors.
91 min.

112 AB
04/08/1984
Update on primary task – S.T. – monitoring system – you are the important thing not the world – as
much mind in as Links – the world will still change – but not your task. Constant evaluation – keeping
difficulty to self. Quickness, keenness, sensitivity – age is speed. Ideal situation – why we are still here?
Falling harmony: a regular pattern – graded by control. The dessert & the main course.
68 min.

113 AB
04/12/1984
Warnings – controllable actions – suspected strikes. Effort – not numbers. Check partners –
inappropriate parallels – sensuality & anger – check partners – taking initiative. Post graduate music
course – overcoming & control. Thinking deeper – no downer periods. The last push.
63 min.

114 AB
04/13/1984
Ban on criticism – signal to move quickly. Different retirement procedure – no more 3-time breakage
reports – witness or suspect. 3 diseases: 1. attractive criticism 2. repels criticism 3. sees critically.
Additional strikes – not discuss witness or suspect – twisting procedures – symptom of vehicle’s reaction
to mind – stress – irritability – over sensitive – sees others wrong – words don’t match thoughts. Hear
others at lower level – raising my level of listening
93 min.

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          17/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

115 A USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 19 of 147
04/14/1984
Attraction & repulsion – 1. Sat. 3 & answering notes 2. Sleep, rest, spending 3. Attraction & repulsion.
Nice for a reason – conflict between genes. Controlled genetic reproduction – short circuiting in warning
areas.
33 min.

116 A
04/16/1984
Questions & answers about mind – genetic structure the mind? Is the mind all of the programming of
the strain’s mind? Is the mind of the strain the living programming of the strain? Reproducing by
mutation. The vehicle is honored.
16 min.

117 A
04/19/1984
Suspected strike notes – should be more suspect notes than witness notes. Exert the effort to learn more
about what you have to do. Ti & Do will register the strike with you. Help wanted meetings to be
solicited. Trouble = forward motion.
32 min.

118 AB
04/21/1984
Strike notes – Next Level reasoning – your own alarm – check partners – doing things alone – OOCT
(out of craft tasks) – maintenance – conscious mind. Sleep option – wanting to stick to what you had
learned. Feeling uncomfortable out of my routine. Sat. 3 & notes – seven-up.
54 min.

119 A
04/23/1984
Suspects only – write only what’s pertinent. No justifying – strikes change vibration. Check partners –
witnesses on crews – chemicals of nutrition – love/barnacles/no romance.
24 min.

120 AB
04/29/1984
Migration to Dallas – means of accelerating completion – you’ve grown to allow close proximity –
procedure helper routine. Technical & behavioral information signals pituitary gland – honest example –
receiving the thoughts you give out.
31 min.

121 AB
04/30/1984
Taken off tasks – feeling defeated – how do I know – when you make waves – no personal feelings
involves when doing procedures. Striking out – not strikes against the Next Level – profanity indicating
some self-deceit. If vehicle tells you there is an area that is not correctable & you buy it, you’re sunk. The
positive is something while the negative is nothing. No human is an individual. Hypothetical task of the
twelve tribes, the beginning of strains. Strains aren’t limited to one area – the fantastic journey. A
negative force – bind yourself to the positive.
71 min.
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          18/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

122    USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 20 of 147
05/19/1984
(tape not available) Our hook-up with Links is so clear they know who is at retreat by the type of
thoughts they get. Connection with Older Members.

123 A
06/22/1984
Reminder of the lower forces. After spending the time we have on genetics, recent events with Links car,
etc. have reminded us of a living force, a lower force on this planet. Boogers are still valid!
43 min.

124 A
06/30/1984
Manual to the world.
32 min.

125 AB
07/07/1984
Book task #1
Putting yourself first. Realizing that they don’t know everything. Afraid to react other than with anger.
Listening. Blaming. Looking upward. Control. Foresight. Vehicle nutrition. Satan force. Pleasures. Lower
forces. Knowledge and understanding. Taking credit. Accepting traits. Human understanding.
Responsibility. Familiarity. Sensual dress. Giving humans something to work for.
92 min.

126 AB
07/07/1984
07/09/1984
Book task #1
Marriage, reproduction. Living for the community. Negativity. Quitting. Desire to do better. Penal
system.

Book task #1
Direction. Universal goal. Concern. Limited goals. Life span. Comparisons. Gossip. Equal evils. Foul
language. Fear of honesty. Thinking someone is going to grow for them. Education. Present unrestraint
is self-destructive. Humans have to be unhappy.
93 min.

127 A
07/09/1984
Book task #2
Jesus did it for them. Freedom of press. Progress. Doctors and Dentists. Imposing ways. Complaining.
Making others look bad. Jealousy. Attitude of those in jobs of service. Strong likes and dislikes. Pettiness.
Oversensitivity. Explosion. Greed. Restraint. Dependence. Moderation. Confusion. Superficial
organization.
45 min.

128 AB
07/11/1984
Book task #3
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          19/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

Waste. USDC
        Possessiveness. Existence
               IN/ND case         of the N.L. Sneakiness.
                           3:22-cv-00395-MGG    documentDeceit.
                                                           132-8 Seeing  teachers as
                                                                  filed 07/24/23     putting
                                                                                  page 21 of you
                                                                                             147 down.
Houstonians not punished. Little things count. The impact of your mind. “Not one.” Forward motion
toward beginnership. Sensual activity. Genderless society.
81 min.
129
07/12/1984
(tape not available) Book task #4

130 C
07/12/1984
Book task #4
3 min.

131 AB
07/19/1984
Not feeling guilty about your human life. Understanding that we were not putting humans down. (good
& bad) Lower forces & our task. Prep school.
49 min.

132 AB
07/22/1984
The lower forces. Basic knowledge of lower forces – they do want to live. They actually think they can
maintain this garden as it is. 360 degrees of influences. Malnutrition & ignorance. The Chief is still
learning. Why Lucifer. Options & choices. Human brain designed to short circuit when thinking of the
Chief. Lucifer is only a tenant. Bring humans to a higher level of understanding. Holding humans in
conservatism & unrestrained at same time. Cults breaking away. We are an updated Class.
92 min.
133 C
07/22/1984
Lucifer cont.
11 min.
134
07/24/1984
(tape not available) Clarification. Lower forces & sexuality, it was never intended for humans to
reproduce in the manner of lower life forms.

135 AB
07/27/1984
How to work with Older Members. The lesson of the ceiling fan. Don’t initiate things-don’t let the brain
try to think ahead. Wait for instructions. Don’t offer any unsolicited help. Conflicts within tasks. Basic
minimum courtesy. When in a situation have Next Level Mind in vehicle.
91 min.
136 C
07/27/1984
How to work with Older Members-cont.
13 min.
137
08/03/1984
(tape not available) Tightening our techniques. Keeping our vibrations where they belong. Lower forces

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          20/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

are discarnates-subtle
         USDC IN/ND case   forces  refining their attack-bathing,
                              3:22-cv-00395-MGG                   shaving,
                                                     document 132-8   filed downtime. Not 22
                                                                            07/24/23 page  just sensuality-
                                                                                             of 147
irritability, etc. If you are fighting you are doing your task. Pushing self-disappointment off on others.
Class>Do>Ti. Imaging 3-5 min. periods. Don’t give lower forces the time of day.

138
08/05/1984
(tape not available) Questions & answers. Glass maintenance. Book procedures not from Links. Ceiling
fans. Shorts. Seek & search mechanism. Don’t be satisfied with idleness. A-team. Olympics. Imaging. The
responsibility of freedom. Technology. Lucifer can’t come up with anything new.

139 C
08/05/1984
Questions & answers. Bring yourself out of problems. Practice sends out signals. Why have a poor
response and then have to make up for it? Best friends. Bring the vehicle up to date. Situations with
humans. Couldn’t find a friend out there. Mountains from nothing.
41 min.

140 AB
08/07/1984
Questions & answers. Setting table. Staying up late. Polluting your Next Level Mind with human ideas.
Refreshing your memory. Chains. Imaging. That’s not me. N.L. mind is very refreshing. Exercise.
Remember the good feeling from running something away. Disturbed by others wrong actions. Ban on
criticism. Late for a run. How can I work this out? Bringing each other down. Being light. Letting your
guard down. Setting example. Saying thank you. Consuming timing. First exp. strategy.
90 min.
141 C
08/07/1984
08/08/1984
08-07-84
Seeking answers from others. Only humanness that would care. Toast, broilers.

05 min. Telephone addendum
08/08/84
Return conversation to strain.
14 min.

142 AB
08/13/1984
How to think about humans. Sympathizing with humans or lording over them. Wavering. Maturity &
stability. Unrecognized negativity. Every individual who came must leave. Scarf through a ring analogy.
Dishonest with Links. Your strong signals. Stopping read out. lousy homework. Wasted suffering. How
you grow. Putting vehicle in it’s place. Programs of weakness. Predictions, computers, data entry. Being
on & off target. Water & oil.
77 min.

143 AB
08/15/1984
Weighing Links down. Consolidation & possible separation. The clarinetist. Realizing how strong our
minds are. It has to be all of the time. Mental affairs. Recognizing negativity. Cataloguing thoughts.
Bouncing ball. Reviewing the things that pull you down. All leaving at once. Strikes. Affect of negative
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          21/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

thoughts.
       USDCNegativity  & stress.
               IN/ND case        Stress subtracts objectivity.
                             3:22-cv-00395-MGG      documentDishwasher
                                                               132-8 filedexample.
                                                                           07/24/23Justification
                                                                                     page 23 ofin147
                                                                                                  the name
of being right. Stirring cereal example. Setting up vibrations (throwing darts.)
92 min.
144 C
08/15/1984
Weighing Links down. (cont.) You can’t abort it once you have let it read out. petty strikes. Harsh &
pushy vs. Mr. Smooth. Continuous playing of tapes. Good feeling of having mind in control. Negativity
about yourself. Better psychology. Games against disease. Coconuts. The good feeling you feel when
your Mind is in.
4 min.

145 AB
08/22/1984
Classmates not with us. Gave into human ego or vehicular doubt. You had to be willing to examine in
depth. Thoughts of being lost & failure. Preparing for another task. Laughing at former thoughts.
Fantasy. Vehicle not acting it’s age. The ray. Links can’t help them. Advanced sidetrack. Future task.
What more can we do? our presence here is to constantly maintain control. Advantages of non-
recognition. Independence. Don’t lose yourself in the role. The keyboard.
86 min.

146 AB
08/24/1984
Questions & answers. Not recognizing Teachers. Protection from identity. Images. Connection with
Links. Overflow. Lake Tawakone. Road to Tenn. Readouts. Putting feeling behind “That’s not me.” How
Links knows what we are dealing with. The filters. Teachers monitor. Our range. Liberty. Independent
strength. Discouragement. Separate retreat.
62 min.
147
08/24/1984
(tape not available) Questions & answers (cont.) Distinguishing between the real & not real. New York
celibacy group. Ann Landers article re: divorced woman. GOP convention.

148 AB
08/27/1984
Go find your teachers. Premature awakening? Links search for advanced knowledge, their discovery of
Teacher role. Afraid of spiritual traps. Past, present & future. Humans understanding physics. Speed of
light. Flying. Talking about other classmates. Conditioning them. When we return. Sight & time. Being
realistic. Consciously aware of play acting. Self-dictation. Connecting dots.
84 min.

149 AB
08/30/1984
That’s not you. Don’t you accept that, apostles. Media. Technical knowledge. Looking for goodness.
Departure witnessed. Human limitations. Quasars. Intended detection. Refreshing your memory. The
lines out from the center. Dallas & Houston. Breaking away. Religion. The feeling of almost
remembering.
69 min.



https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          22/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

150 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 24 of 147
09/05/1984
Next Level communication & consistency. Think rain. Actions & thoughts. Our authority. UFO’s & quiz
shows. Thanksgiving square. Our minds have receded. Next Level checking on how well we do on our
own monitors. Meeting percentages. Thoughts materializing into actions. Being under a microscope.
Evaluations. Learning from experiences. Less than your best. Don’t accept patterns. Power of goodness.
Taking responsibility.
93 min.
151 C
09/05/1984
Next Level communications (cont.) Translation. Degree of variance. Psychiatrist: no one really saw what
happened.
5 min.

152 AB
09/08/1984
Getting mind back in. class feels stronger. We may be getting some kind of reception from our teachers.
Spinning spacecrafts. You don’t have to receive anything to send something out. Static. Mind has to
come into vehicle slowly. The screen reading human. Classified topics. Philadelphia experiment. Ways to
help humans. Prisons. Not easy to get mind back, duality. Aspects are an inadequate interpretation. The
leak. Storm on the sun. Telsa. Precision lab. Vehicle losing confidence. Pope & celibacy.
89 min.

153 AB
09/14/1984
09/16/1984
Deposits, streamers. Kleenex & Links craft. Information available to humans in step by step. Thoughts
don’t dissipate, they have to be consumed. Opening memories. Humans harboring goodness. Positive &
negative sides of a magnet. Our type of goodness. They haven’t grown to be able to consume. Exposing
negative through our strains is a step to destroying it. Setting ourselves up for homework. The streamer
– differentiating between vehicle & Next Level Mind.
91 min.

154 AB
09/16/1984
Tuning in (cont. from 153) The things that can be tuned in to: vehicles: genetic structure including strains
with similar weakness. Our Next Level lessons brought to our awareness by our teachers. Lower forces
(actually they tune into you, they are the aggressors) Lucifer’s tactics for putting blinders on humans.
71 min.

155 AB
09/19/1984
Foresight & guilt. Humans advancement in all areas. Technical advancement out – weighing moral
advancement. Religion still based on fear & superstition. Reminder of our importance. As we respond
we send signals & deposit thoughts. Humans idea of being worldly. We bring out the negativity by
being here. Blinders of ignorance. What will motivate humans to change? Equal exchange of ideas.
Getting more mind by depositing thoughts.
86 min.


https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          23/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

156 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 25 of 147
09/22/1984
Key words. Referring to instructions & procedures while on this task. Adapting while in these vehicles.
Open mind to teachers. Putting out key words. Rudiments of Next Level are the same for all. Our feelers.
Only way to bring in Next Level Mind is to act like a Member of the Next Level. Our departure &
humans. Turning a page. When you see weaknesses in vehicle & make an effort to change it, you pull in
thoughts that have been deposited, eating your own words. Receiving & transmitting.
93 min.

157 AB
09/22/1984
09/24/1984
Cont. key words. Telephone addendum. Beginning foxfire incident.
65 min.

158 AB
09/24/1984
Cont. foxfire incident. Giving accurate descriptions. Grapevine. Not painting pictures any bigger that
they are.
77 min.

159 AB
09/26/1984
Experiential identity. When we are destroying our vehicles transmitter. Accelerated nourishment: tree
structures (2boozers). Making lasting deposits for when we leave. A time when humans won’t have to
make decisions. A mechanism within humans. Lower forces let go to test the strength of humans. Two
(boozers) & strains. Experiential identity. Branches & twigs. There are no new individuals.
66 min.

160 AB
09/30/1984
A. Accuracy – human vehicle wants to be different. Next Level mind wants to be the same. Terminology,
word for word. Walking cautiously with accuracy. Lingo. Practice with each other. Be specific. B.
Chemical imbalances – T.V. trends. The eye as a trigger to chemicals. Inebriation & recovery, binges.
Carrying on to become better.
66 min.

161 AB
10/05/1984
10/07/1984
Chemical imbalances. Wouldn’t be stimulated if healthy. Most offspring are accidents. Scanners to find
out vehicle’s needs. Regulating ourselves to teach our strain nutrition. The knowledge of nutrition is
available to humans. Hormones & harmonics. Frequencies 0-100. Frequency is changed as it comes in.
proc. Retriever lessons. Suggestions. How Members of Next Level communicate.
91 min.

162 AB
10/07/1984
Frequencies (cont.) Common weaknesses: clarification on our signals to humans. Mind/vehicle
incompatibility. Hypochondria & kleptomania. Don’t care about particulars. Reopening the phone lines.
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          24/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

Who gets
       USDC  stronger  signals.
                IN/ND case       Changing circumstances.
                            3:22-cv-00395-MGG     documentRe-marriage,     sports. Getting
                                                              132-8 filed 07/24/23         toofthe
                                                                                     page 26    147root of
problems. Sending to those who don’t care. Politics. How to tell when Next Level mind is in. Building up
vehicle to receive a stronger a frequency. Taking less time to absorb it. More frequent meetings.
86 min.

163 AB
10/09/1984
Separateness – A. Reviewing Power of Goodness. Frequency. Radio beacon or beam. Two effects –
thoughts take place. Vehicular discomfort. Clones. Before & after we met our teachers. Bunk lessons,
separateness, our prayer. B. Can talk yourself through anything. Chemical imbalance; drugs, food,
alcohol. First grade math & advanced calculus. Many things happening at one time. The piano roll.
79 min.

164 AB
10/11/1984
Check partners – focal point of power of good. Pouting. Disappointment. Suffering. Examining yourself.
Wanting a clean house. Criticized child. Sincere check partners. Having no defense. Check partners in
the lab. Right words as well as good intentions. Two or more working easily. 3 stages 1. Knowing
nothing 2. Thinking you know it all 3. Realizing you don’t know.
91 min.
165
10/14/1984
(tape not available) Initiative. We don’t initiate things, procedures initiate things. First person asks a
question, second person responds with statement &question, then the two go together to act. Can’t be
upset with yourself. Different levels in the lab. Including facts, planning, strategy.

166 AB
10/17/1984
Questions & answers. Understanding. Signals & strains. How our signals are received. Types of
suffering. Time spans, human time vs. Next Level time. The last days. Slowdown. Suicide.
84 min.
167
10/19/1984
(tape not available) Classmates not present. Frequency = words can focus but can’t cover the subject.
Effort & suffering of those not present. Mind incompatibility. Mistakes in Next Level stimulate
improvement. Cycles of vehicle. Two reasons for vehicle showing weaknesses. Lack of knowledge in
nutrition-food, sensuality. Human extremes. Consistency of genetics. Vehicles response to spacecraft.

168
10/19/1984
10/24/1984
(Cont.) (tape not available) Questions & answers. The switchboard – awakening of future functions of
the vehicles. Words used as the carrier of frequency. Boards & nails analogy, forming a picture.
Sameness of mind. Using the frequency by being good. Being in unison. Next Level mind returning after
downtime.

169 AB
10/24/1984
10/26/1984
(Cont.) Frequencies. Questions & answers. Frequency helping to prepare us for boarding craft. Signs of
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          25/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

our work. I.e. sexaholics.
       USDC    IN/ND caseWe   send signals, Next Level
                           3:22-cv-00395-MGG           deposits
                                                  document 132-8thoughts.  Questionspage
                                                                    filed 07/24/23   & answers: smoking,
                                                                                         27 of 147
pornography, sexuality organizations. Movie “First Born”, trend against drugs surfacing. Concentrating
our work more on the younger generation. Serious trouble in the Class.
93 min.

170 AB
10/26/1984

Questions & answers (cont.) Helping co-workers. Hyperness, B deficiencies. Cold hands & feet = cold
head. Humans need to have respect for the level beneath them. How to absorb frequency faster. Major
key on computer for will, thrust, & desire. Recent frequency very strong.
92 min.
170 B
10/29/1984

3 point lesson step. Hyperness, B deficiencies (cont.) 1. Humans don’t know what to do with their time.
We can now send constructive suggestions. 2. Our dark side. Needing a crutch to stay in the right place.
Having the right kind of pride. Happy & sad. 3. Suffering. The right kind does not have to have labels.
Just accept it as a period of receiving medicine. (Next Level mind coming in.) Finding satisfaction by
maintaining your own. Using Next Level mind as your check partner. Being considerate of classmates.
Blocking judgments.

171 AB
11/01/1984

Pentecost. Miracle at Pentecost. Utilizing the frequency. Nurturing a planet is a long process. Lithium.
88 min.

172 AB
11/04/1984

Questions & answers. Organic & FDA. Blocking vehicular responses. Critical analysis. Trust the check
partner system. Even wrong to grind ax if a right grinding. talking: matching thoughts & words. Mind
overriding vehicle. Handling the full frequency. Familiarity, touching. The feeling after losing control,
conversation, straying. Learning how painful straying can be. Defensive response to correction. Don’t
condemn yourself. Just return signals. The real problem is not with the other person. Litmus test,
pleasantness.
93 min.

173 AB
11/06/1984

(cont.) Q & A. belief. Feeding the hungry. Humans thirst. What happens to our signals. Learning by
experience & participation. Needing an ear. Belief is threatened by negativity (3 Plateaus analogy) Deaf
ears catalysts for good ears. Too much analyzing causes confusion. Negative thinking blocks self-
healing. Placebos. Tibetan tape. Acquiring knowledge to eliminate doubt. Belief. Next Level using events
to accelerate belief.
93 min.
174
11/09/1984

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          26/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

Cont. ofUSDC
          173. (tape
                IN/NDnot available)
                       case         Being aware of document
                            3:22-cv-00395-MGG      getting off 132-8
                                                               the track.  Listening,
                                                                       filed 07/24/23evaluation should
                                                                                       page 28 of 147 occur
later. Pick yourself to pieces, negative vehicle reactions. Controlling these wild animals. Humans vs.
Next level niceness, closeness, familiarity. Right kind of separateness, no favorites in the Next Level.
Equal friendship. Seeking help. Finches, Plato’s depression & strength of our feelings. Completing the
homework already given to us by applying lessons to experiences.

175 AB
11/11/1984
Stay above board. Suspected strike notes at meetings so all can benefit from lessons. Getting beyond
guilt & embarrassment. Doing a task for the Class. Incentive to try harder. First response to signals is to
block it. (stop the gong’s vibration) Discomfort from vehicle’s adjustment in its perspective. Forcing the
vehicle to see the Truth. Links knows the Truth. Attitude towards recovery period. Solving problems as a
Member of the Next Level.
90 min.
176
11/15/1984
(tape not available) Lessons in consideration. 1. Candy: teasing, taking higher side, inappropriate
questions. 2. Croquet 3. B.C. timing: positive attitudes working both ways.

177
11/21/1984
(tape not available) Identity/Lucifer. Identity, experiential strain, vehicle with right faculties for lessons.
3 things to deal with. 1. Strain 2. Vehicle 3. Next Level mind. Making the vehicle’s mind jump forward.
Interception vs. at birth. (NL mind entering vehicle) Automatic cleansing. Make vehicle’s more
compatible. No Lucifer. Fifth grade. Eyes of the elect. Full spectrum. Death of minds. Bouncing back.

178
11/22/1984
(tape not available) Q & A’s. Vehicle’s mind and lower forces. Minds awakening in another vehicle.
Graduation for minds of planet. No choice in transfer. Minds influence & effect on vehicle. 360 degree
spectrum – good & evil. Lucifer symbolism. Some things cropping up in craft. Leaving open doors for
negativism. Grades get harder as you progress in school. Meeting tapes show natural progression of
info. Chain of command. Vehicle’s mind learning from NL mind. Progression of vehicle’s mind.

179 AB
11/24/1984
Q &A’s. Vehicle’s mind cont. distinguishing between thoughts from vehicle & strain. Blocking sends
automatic signals. No excuse for downers. Links not hooked up to strain. Awakening of mind. Split
personalities. Family tree of experiences – not blood lines. The gift we’re giving to the minds of our
vehicles. Capacity of vehicle to house NL mind. Change & progression. The proof is in the plan only the
NL could come up with.
74 min.
180
11/26/1984
(tape not available) Q & A’s. Vehicle’s mind cont. humans inconsistent response to Links. Negative being
surfaced. Genetics, strains, Representatives. Birds &mating periods. When birds & humans are want for
nothing. Setting ourselves up. Radio waves more common outside the family. Representing a crew
&being bred. Limitations during this task. Humans’ concept of reincarnation. Believing in each step.
Accepting it as the Truth.

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          27/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

181 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 29 of 147
12/02/1984
Questions &answers, Next Level pride. Celebrating the Next Level. Ways our homework is showing.
Humans receiving lessons better in thought. The identities with followers of Jesus. The generation after.
Music changing for the better. Punishing unhealthy vehicles. Controllable conditions. Vehicle becoming
locked in. Patterns of can’t do. NL pride & vitality. Pride on we not I. The task of carols.
83 min.

182 AB
12/06/1984
Desiring new information. Limitations of human mind & vehicles intercepted by NL minds. We know
more than we realize. Our questions draw information from Teachers & the information brought is what
helps us bring in more mind. Push/pull. Honored at having a task. Master child psychologist. Treading
new turf. Tibetan monks & 14thDalai Lama. Experiences affecting both the mind & vehicle. Street
people. When we took these vehicles.
79 min.
183
12/10/1984
(tape not available) Questions &answers. Mentally retarded vehicles. Evidence of our work, (Rabbi’s
book). Oral Roberts, etc. holding people in superstitious thinking. T.V. presenting a 1000% spectrum.
Vehicle has potential for “adding on” (programs can be used on many ways). Transmigration. Humans
not caring how they get an end result. Looking out for self first. Looking at a problem as it affects lots of
people – not just one. Using up the frequency. Fighting drowsiness, or anything else. Recognize
problems &take action.

184 AB
12/13/1984
Using check partners – shopping task lesson. Strategy. Looking out for each other.
88 min.

185 AB
12/16/1984
Q &A’s-preparing vehicle for a task ahead of time. Check partners are protection. Relationships not
based on physical attraction. A touch of Heaven in each of our vehicles. Accelerating minds to qualify as
NL beginners. Correcting negative responses, what was it that I did? The frequency surfaces the barriers.
Effort to stop negative responses opens the membranes &allows more NL mind. Links used to shock our
vehicles out of a rut. Seeing past the vehicle’s delivery.
83 min.

186 AB
12/19/1984
(cont. 185) NL mind & vehicle’s mind. Awakening of vehicle’s mind in next vehicle. (cold storage or time
capsule). Society spoiled by our presence. The “gravy train” has to change for our lessons to take root.
Physical development – the discipline is the only good part. Minds effect on the vehicle. Development of
the mind (conscience). Mind of our vehicle almost assured entry into the NL. Vehicle’s mind has learned
to expect things from the NL mind, but it can be cagey. It’s con is “everything is OK”. “ I am a Member
of the Kingdom of Heaven.”
87 min.


https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          28/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

187 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 30 of 147
12/29/1984
Pulling. Comfortable or suffering. What’s missing is pulling. Two kinds of suffering; negative (down on
yourself), positive (desperation for next step). Pullfering – what’s next for me & the Class. taking more
responsibility for the pulling. How can I have a better understanding? Having a desire to accelerate
things. Picking out vehicles for this task. Gaining strategy and strength. There are no contradictions in
the information given.
91 min.

188 AB
12/29/1984
12/30/1984
(187 cont.) Pulling. Q &A’s incompleted tasks. Pre-class experiences. How many of us felt strong
connections. Pre-class check partners. Before &after rejoining the Class. tensile strength. Our minds as
our monitors. Elijah. The inhibiting factor. Human vehicle mind/Next Level minds. Confusion over
pulling.
93 min.

189 AB
12/30/1984
(Q & A’s) Effort. Sustained effort in human vehicle – natural mechanism in NL. sustaining means not
slipping into human ways. Going beyond what we were doing before. How to keep mind from slipping
out. using the little weak voice to calm down the vehicle. Catch the first thoughts. The application to stop
it is the important thing. Problem may continue in order to increase your effort & build muscle. Enjoying
the process of growth. Our prep. for a task similar to Links.
91 min.

190 AB
01/08/1985
(cont. from 189) Thought chains. Higher levels responsible for lower levels. Negative suffering. Human
infants, water wombs. Spoiled society. Tamer humans. Yuppies. Tired of street gangs. Pulling. Thinking
deeper. Urgency. Pleasing the one who gave me the task. Pulling in maturity. Tool package. Water
womb, advanced learning. Lab programming. Breeding humans. Justification & karma, NL making
things right. Ti’s tree. “Starman” Our briefing. Primary control. Higher thoughts.
93 min.

191 AB
01/18/1985
Q &A’s. humans taking care of themselves. Hot checks. Our pace &human pace. Boxes. Casualness. The
Dallas frontier. Star Wars defense. Mechanics of pulling. Karma. Connection of experiential identities.
87 min.

192 AB
01/20/1985
Q & A’s. Primary & secondary aspects of task. Generating depth & power. Security systems. NL minds
in other human vehicles. NL Members doing tasks involving human vehicles – implants. Where is the
mind not in the vehicle? Goals. Anthropologists. Houses – vehicles. Mechanics of strains. Three
branches. The Trinity. The developing task.
93 min.

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          29/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

193 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 31 of 147
01/20/1985
(192 cont.) Q & A’s. criminal behavior may root in previous life. Won’t awaken to lab task – given only
what NL wants. Hynek magazine article. Mind limited by its house. Helping strain – can’t do it
consciously, but desire may put NL in motion. Our strains don’t overlap. Strain as frequency. In tune
with brain waves on strain.
74 min.

194 AB
01/23/1985
Q & A’s. carte blanche response to strain. Response to violence on news. How identity gets to new
vehicle. Complexity & strains. Fixed strains. Strains of those fallen away. Minds at the beginning of this
civilization. Mind having a hot line. Teaching restraint. Holy spirit & talking in tongues. Next Level
&our open channels.
73 min.

195 AB
01/30/1985
Move lessons. Some don’t believe certain characteristics exist. Rebellion – taking lessons & justifying
actions. Easy to accept at meeting time, but difficult in the circumstance. Move lessons – awareness of
things left behind. (e.g. lamp cylinders, etc.)
81 min.

196 AB
02/03/1985
Q & A’s. Concentrate on effect you have on your strain. Class as representatives of different labs. Minds
old enough to keep vehicle under control. Will be tested to nth degree – rising to the occasion. Harm
done by vehicle staying on the breaking line. No proof except what we have come to know. Check
partners shouldn’t be aggressive. NL labs on earth. NL task force to accomplish goal in preliminary
stages. Bigger frequency connection with Links. Telescope analogy – stay at the eyepiece. Wasted energy
talking. Coming into craft like a home. Noise/whispering. Piloting.
93 min.

197 AB
02/03/1985
02/08/1985
(196 cont.) Q’s and answers. Longing. Everyday activities will bring out areas for correction. Application
of less slippages. Being comfortable with Links. Applying what you hear. Apologies. Strike notes
worthless. Aggressive help. Some who left loved meetings. Satellite 3 responsibility. Covering phone.
Lesson delivery retreaters. Putting “Do as you please into your mind”. Whispering. The first day of the
“New Year”.
86 min.

198 AB
02/10/1985
Crew harmony. Resistance, needing to justify. Give Older Members credit. Residual. Being open to
destroying vehicle’s confidence. Learning from a new crew. Chill mix lesson. Influencing, tempting as
serious aggression. Protection of what goes into computer. Interfering with Older Members function.


https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          30/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

More than
       USDC1 headquarters overseeing vehicle development.
              IN/ND case 3:22-cv-00395-MGG                Typesfiled
                                               document 132-8    of labs. Facingpage
                                                                     07/24/23    circumstances
                                                                                      32 of 147 – only
way to get mind in.
93 min.

199 AB
02/10/1985
02/13/1985
(Crew harmony cont.) Why we can’t see labs. Vehicle not designed with capability. Basic programming.
99% of sightings not computable, only recallable. It would disrupt if humans could see. We are only
permitted to see on levels of speculation. Information carefully given to selected individuals.
91 min.

200 AB
02/13/1985
02/14/1985
(199 cont.) Labs location. Our minds from space or graduates from whole different civilization of this
garden. A task force to “pollute” the air with frequency & knowledge. Shock of our departure may cause
a whole new beginning. Older Member may be able to create with mind (not need labs etc.). Human
perception of light &speed etc. is ignorant. Do’s task with geography & transportation. Only a part of
Link’s mind is here. As you try to imagine labs you’re trying to remember. Monitor. Mingling Members
of NL not perfect.
89 min.

201 AB
02/16/1985
Q & A’s. Technical knowledge & our conduct sent to humans. NL monitor. After humans have received
information. Knowledge of what is not for consumption. Infecting our NL mind. Nuclear power.
Identity gene. NL mind. When our vehicle is down. Humans being fed information.
93 min.

202 AB
02/16/1985
02/23/1985
(201 cont.) Forming NL vehicle. Difficult vehicles. Negotiating. Having more depth. NL minds intensity.
Taking others from the right place. Graduated vehicles. Have a certain degree of relaxation. evolution
not linked physiologically. You are preparing a NL vehicle. Trying your best. Not accepting failure. The
gestation period.
91 min.

203 AB
02/23/1985
02/26/1985
(202 cont.) Forming NL vehicles. No lab in charge of negativity. NL gives over-all thought. NL doesn’t
judge the development of our NL bodies, they look to Links for our needs. Vehicle may get actual
nourishment in the lab, we tend to the programming. All doing the same thing – 1. Building vehicle 2.
Major upbringing contribution. NL is made up of service. Building the facility for mind to occupy.
Previous knowledge goes into mind. All of our mind is with us. Effort is everything. Identity gene goes
to related community.
91 min.

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          31/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

204 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 33 of 147
02/26/1985
Cont. questions on NL vehicle. Slate cleaning-listening more significantly. Do things as quickly as you
can and carefully. Having tight crews, taking responsibility. Mind gets growth in service. Dispatch – no
option to refuse run. Keeping a clean slate. Ridding of poisons relieves Teachers. Exposing is erasing.
Not letting vehicle get away with feeling hurt when receiving correction. Need to defend is vehicular.
Formula is done the best you can. How humans receive &assimilate information. Inventions, DeLorean.
Cure for cancer etc.
92 min.

205 AB
03/01/1985
03/05/1985
03/08/1985
(end of 204) Slate cleaning. Exposure-Ti & Do not the Chief. Exposure was the promise to the Chief. Slate
cleaning notes exposing symptoms not the problems. Review of points important to building new
computer. Deceit &dishonesty: lying, hiding. I do not want to put anything into my NL mind that is not
NL. Measles analogy. Kingdom levels/mural levels. NL is not made up of mammals. NL members with
wings. Realism of NL bodies.
93 min.

206
03/08/1985
(tape not available) (cont.) Angels & wings – human angel concept distorted. Hard for brains to accept.
Identity gene will awaken in new human vehicle with a degree of control. Stuff of new vehicle made in
the lab. Realism of NL bodies.

207 AB
03/10/1985
Application of knowledge. Catching up>we are working to have our first vehicles ‘made in Next Level’.
Generator. Knowledge applicable energy for change. Frequency of meetings. Quality of frequency.
Anxiety: operating a corpse. Straight frequency. Doing this task more than once. Making new vehicle
viable. Little habits of permissiveness. You don’t know how far you’ve gone.
84 min.

208 AB
03/16/1985
Winning the match: vision quest parallels. Weight categories. Olympic cheers. 6 minute matches. NRR –
re: focus changing. SRR – degree of difficulty. Significance of matches. Right kind of pride. Overcoming
is now control to point of winning matches. Drive to help. Serious challenge from insignificant things.
NL vehicle/trust.
89 min.

209 AB
03/20/1985
03/24/1985
NL vehicle/trust (cont.) The vernacular. Trustworthiness. Picking up early stages of characteristics of
new vehicle. Leaving judgment behind. Fire always going to have a generator. Origin of the frequency.
being sponges. The amount of our minds on this task. More override. Using graduate knowledge.

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          32/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

CounterUSDC
        force IN/ND
               is building
                      case mind. Using past experiences.
                           3:22-cv-00395-MGG    document Absorbing the07/24/23
                                                          132-8 filed  force: force from
                                                                                  page 34the frequency.
                                                                                          of 147
Hyperness as a warning to force building up.
91 min.

210 AB
03/24/1985
03/27/1985
(Absorbing the force) cont. Conversion to maturity. Recognition of force passed on. Coasting. Areas of
matches. What is the true meaning of what I feel now? What’s going to be the plus. TV & movies
watched from a spacecraft. Common communication. Gossip. Forbidden love. Primitive characteristics.
A good job at the minimum time that a good job can be done. Recognizing major matches. Say them
because you see them. Can always do better. Everything is a match. Not trusting brains appraisal. Check
partner. Cover for others. Wanting your own way.
86 min.

211 AB
03/30/1985
Major matches – cont. Just writing the matches down will not accomplish winning them. Vehicle’s
control button – nausea from lost matches – upset in the right way. aces in the hole. Symptoms of
disaster. When this world became genuinely distasteful. Conversation with humans. All of the
machinery going that would make the world uncomfortable. Mountains & valleys – wasting
developmental time & adding poison. Jump starts-the NL mind, human mind & the human vehicle –
sensations. Becoming not satisfied with continuing to do things on your list. Getting rid of fear.
90 min.

212 AB
03/30/1985
(211 cont.) Three lessons. 1. Programming the distasteful 2. Check partners agreeing 3. On the spot
transition when given a new fact by Older Members, “ O know you’re right & believe it. Seeing the value
of restraint. Trust.
87 min.

213 AB
04/09/1985
Trouble notes. Suspected strikes. Stratas in the NL. Missing links. Using the primitive vehicle. Links has
no residual. Jesus’ glorified vehicle. Upgrading standards. Our vehicle’s identity genes at teachers. Co-
existing. Links guaranty. Curiosity. Graduate vehicle.
73 min.

214
04/13/1985
04/29/1985
(tape not available) Links strata: not limited to different levels. Links assigned to this civilization. Where
we came from. Those on this task who lost control. Butterflies & innocence. Innocence = purest state.
Strong test period. Halley’s comet. Vehicles of different molecular structure. We are the human’s closest
ties to the Next Level.

215 A
04/29/1985
05/03/1985
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          33/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

215 B USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 35 of 147
05/09/1985
A new dose (cont.) Dark corners. Humans drawing energy from us. Links picking us for this task. Love.
Duties of grads, a task with grads. Checking with Older Members. Experience. Desire &
accomplishment. Handicaps. Craving cleanliness. I am going to do it. Carrying consciousness into the
dark corners. Is it really worth it? Re-establish committals.

Typed notes on tape sleeve:

Humans drawing energy from us. Lnks picking us for this task. Love. Duties of grads. A task with grads.
Checking with Older Member, Q car. Class members being Older Members. Experience. Desire and
accomplishment. Handicaps. Craving cleanliness. I am going to do it. Carrying consciousness into the
dark corners. Is it really worth it? Strong test period. Haley’s comet. Vehicles of different molecular
structure. We are the humans’ closest ties to the Next Level.
92 min.
47 min.

216 AB
05/03/1985
05/11/1985
05/13/1985
Detail & accuracy – thinking how Older Member thinks. Detailed thinking. Exactness. Take a chance on
a positive. Next Level wants keenness in your new vehicle. Don’t go to extremes. Sloppiness cancels out
speed. Need to move. You can really drain yourself if you don’t stay where you should. Know areas can
be corrected. Our effect on the world. Next Level members exert strength & will.
92 min.

217 AB
05/13/1985
05/26/1985
05/27/1985
What are dark corners? Don’t send dark corners list to Links. Really vulnerable spots. When you are
alone with the three of you. Total assets/one warning. How well have you done your task? This tape was
dc’d. No more baiting. Changing attitude for following procedures.
05-13-85
Dark Corners: Vulnerable spots; the 3 of you alone. A way to mature is to think all of the time. Not
joining hands with negatives. Craving purity.
05-26-85
Changing attitude for following procedures. No more baiting. Total assets. Consider & take stock.
Gambling.
05-27-85
Total assets; pluses & minuses. Seeing a demonstration at meetings & in notes that you have thought in
depth about what we said.
93 min.

218 AB
05/27/1985
05/29/1985
06/21/1985
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          34/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

(cont. from
        USDC 217) Attitude
               IN/ND  case in craft. Recognize you
                           3:22-cv-00395-MGG       can write132-8
                                                 document    thingsfiled
                                                                     & mean   thempage
                                                                         07/24/23  & still
                                                                                        36find rebellion.
                                                                                           of 147
Thinking major things are one thing when in reality the major thing is something else. Not realizing
negativity. Attitude in the craft. ANY’s OOC task – no teaching at OOC task other than by example.
Common disease in craft: being too wrapped up in myself. Half of the things you see wrong would
disappear if you forgot about them. Want a craft that’s moving, not dry docked. Seeing sat. 3 as favored
members. You are to be the example. A healthy shock. Evidence of depth. Things to do in the craft –
submit a list.

Typed notes on tape sleeve:

05-27-85
Total assets/pluses and minuses
05-29-85
The way you show your committal is through your attitude in craft and around your older member. The
warning.
06-21-85
DO says he has a very good connection. The cabbage incident. Do having to battle thoughts of “Is this
coming from my head?”
93 min.

219 AB
06/21/1985
06/28/1985
06-28-85
DO’s connection: cont.

06/28/1985
THE CHARTREUSE LESSON: Proceeding with caution. This applies to every aspect of overindulgence.
Move with caution & follow the leader when you are with an older member. Be keen to how things
effect your vehicle. Keeping the vehicle in balance. Raisins. Covering your bets.
90 min.

220 AB
06/30/1985
07/04/1985
06-30-85
TI’s dream. Some kind of monitoring going on. DO’s energy level. We are like children going into our
new vehicles and yet we are more adult than we have ever been. We’re are the stage where we have
decided our parents are okay. DO’s instructions to move closer.
07-04-85
Wrong kind of energy drain/jealousy. Closeness that is the result of shared mind. Finding a balance. You
can’t get too close if you do it in a right way. Being an asset to an older member.
93 min.

221 AB
07/04/1985
07/07/1985
07-07-85
SUSPECTED STRIKES – 1) Clearly state the strike, 2) What did you do wrong. 3) What are you going to
do about it.
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          35/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

COMMITTALS
       USDC IN/ND– Restating committal. Hurting document
                      case 3:22-cv-00395-MGG     for faster 132-8
                                                             growth,filed
                                                                       having  a newpage
                                                                          07/24/23    reason  to147
                                                                                          37 of  glow. No
reasonable time could pass that you wouldn’t want to let your older member know where you are.
Your new vehicle won’t have a slot for “can’t do.” Your vehicle stepped out of time at the age it was
when it left the world.
87 min.

222 AB
07/14/1985
07/17/1985
07-14-85
The energy of the force of the pure knowledge; true knowledge = love. Sex is love distorted and
destroyed and thrown away, it has always been the lesser option. Love the lord with all your heart, all
your soul, all your mind. Vehicles where reproduction is from pure energy and knowledge. Talking to
the lord as the lord talked to you in the beginning about love. Our prior vehicles domestic servants. Love
upwards.
07-17-85
Negative draw & negative thoughts, finding fault in the class design. When the words “can’t do” come
in, making a positive out of poor performance. Find your traps.
89 min.

223 AB
07/18/1985
07/24/1985
07-18-85
Old habits being replaced by new habits. Don’t trust the habit is not going to try to return. Laziness &
procrastination. ALL things work for those who love only the lord. I don’t have the judgment to see
flaws in an older member. The distance of TI. The ring game.
07-24-85
Old terminology “spirit of…” Fertilizer & insecticide, cleansing bugs, the gardener is in charge. Next
Level family structure. A computer chip in all living creatures to express themselves. Examples from
older member not peers. An older member’s love.
88 min.

224 AB
07/28/1985
08/02/1985
07-28-85 : Respect of Classmates: Pushing
Game lessons, pushing, pushing is the opposite of separateness, one crew member with a momentary
sickness, everyone here wants to do everything right all of the time. Talk to DO in your committal.
08-02-85 : Staying happy
DO stays happy, DO’s response to how vehicles vibrate, genetics and chemistry, Next Level mind power
to secrete the chemistry that can convert a poor attitude.
93 min.

225 AB
08/02/1985
08/09/1985
08-02-85 cont.:
There’s no excuse for getting less than happy. Burn out the aspect that wants to slip into leadership,

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          36/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

psychicUSDC
        interference. The one
              IN/ND case      who doubts his own
                          3:22-cv-00395-MGG         trustworthiness
                                               document   132-8 filedis 07/24/23
                                                                        the one who
                                                                                 pagecan
                                                                                       38be
                                                                                          of trusted
                                                                                             147     the
most.
08-09-85: Old & New Breath
The breath of our Older member, analogy of I.V.s. From species to species. The mind of the species we’re
moving into is pure and holy.
75 min.

226 AB
08/16/1985
08/31/1985
08-16-85: PETITIONS
Learning to stop the draw, control of the valve. Petitions: Example – Given me the strength to complete
my task to the best its possible accomplishment. You can’t take an Older Member for granted.
08-31-85: TE & DO BEFORE THIS PLANET
Our teachers have tended this planet for some time. We also have been here before. For some time (earth
time) DO’s association with us will continue. Good committals take a lot of effort.
83 min.

227 AB
09/04/1985
10/08/1985
09-04-85: CRAFT KINDNESS
Those vehicles with whom you have had a history of conflict, there’s where you really need to vibrate
understanding, kindness, and fondness. A sense of pride and closeness.
10-08-85: REINCARNATION, EVOLUTION, 12TH GRADE
Reincarnation, soul is what humans talk about, vegetable state “vehicles”, retarded vehicles. You don’t
have to experience something to see that it isn’t an option for you.
92 min.

228 AB
10/11/1985
10/19/1985
10-11-85: IDENTITY & MIND
Identity: Package of lessons learned and needing to be learned. Mind: Anything an individual expresses
through its brain.

10-19-85: PRIMARY CONCERN
Remember how primitive these people are, humans making comparisons, The Stream, my best effort,
My Primary Concern: pleasing my Older Member.
88 min.

229 AB
10/27/1985
10/28/1985
11/25/1985
10-27-85: BE WHO YOU ARE
Two witnesses from the Kingdom of Heaven, being who we are, priming, Church of the Next Level.
Whatever time we have left we have to devote to getting the word out.
10-28-85: RESULT OF BECOMING PUBLIC

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          37/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

Two witnesses/the
       USDC IN/NDlighthouse,     Why do peopledocument
                     case 3:22-cv-00395-MGG        react in an   extreme
                                                              132-8        to us? Thepage
                                                                     filed 07/24/23    preacher    in Venice,
                                                                                            39 of 147
redefining the lower forces, higher forces never pull, the lower forces pull, Going public.
92 min.

230 AB
11/25/1985
12/19/1985
11-25-85: UMBILICAL CORD/SENSUALITY FROM THE HEART – Dr. Littlegreen, Sensuous from the
heart. The only thing that can disturb you is not pleasing your Older Member and he would have to tell
you. Hurt and a downer do not have to be the same thing.
12-19-85: DESIRE TO KNOW YOUR OLDER MEMBER.
Adam took his mind off his Older Member. What is it that human’s want when they fall in love. You
can’t know your Older Member, so your love for your Older Member, your wanting to know your Older
Member is your constant acceleration for growth.
92 min.

231 AB
12/21/1985
12-21-85: SUSTAINING HAPPINESS
Lack of selfishness, positive attitude, gender, and prejudice (1) Keeping my eye on my Older Member (2)
Observing (3) Doing as my Older Member does. Being happy doing anything. (4) Going through
channels. (5) Loving all of the procedures just as they are.
82 min.

232 AB
12/23/1985
12-23-85: REINSTATING LUCIFER
Be happy and knowing your committal is real, developing more sensitivity to how you effect others,
conversion = translating receiving into giving, sensuality is wanting to receive, reinstating Lucifer.
93 min.

233 AB
01/14/1986
01/26/1986
04/13/1986

1-14-86: THE KEY TO THE KINGDOM
Direct conscious thinking in relation to my Older Member, Rising up to tuning into the frequency of
your best next Level Mind consciousness. A cleansing process each time you do it.
1-26-86: TIMETABLE OF REAPING BENEFITS OF OUR WORK
Being of one mind.
93 min.

234 AB
04/13/1986
04/17/1986
4-13-86: Q & A ABOUT THE CHURCH OF THE NEXT LEVEL.
4-17-86: DISCARNATES
Lucifer could never have a rightful ownership of a vehicle, discarnates, “being saved”, mediums, we are

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          38/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

in pursuit
       USDCof IN/ND
               man’scase
                     relationship to heaven, prayer,
                         3:22-cv-00395-MGG           selfishness,
                                              document            being
                                                        132-8 filed      an apostle,
                                                                     07/24/23 page 40deterioration
                                                                                       of 147      of
information.
93 min.

235 AB
04/19/1986
4-19-86: OLDER AND YOUNGER MEMBERS
All minds didn’t start at the same moment, you are never old enough to be secure, willing to accept a
positive attitude of where you are, Qumran.
88 min.

236 AB
04/20/1986
4-20-86: PREPARING FOR GOD
How different levels are receiving their best forward motion, We are urgent to offer what they are
waiting for, prophesy, idioms, being in the wilderness, when is the best decision made.
79 min.

237 AB
04/27/1986
04-27-86
There are no little or big procedures, there are only procedures in the Next Level – Accuracy – Going
over notes – Retreat Lessons – Demonstrating that you care – DO being our friend – Hyperness –
Developing Responsibility – Your relationship with your Older Member is more important than
anything you leave behind.
93 min.

238 AB
05/17/1986
05-17-86
What to concentrate on during meditation – Why we can’t go public – Most important things: Being
more of the same mind & experience what it is to know your Older Members mind. – Static –
Accomplish the task more quickly – Stopping brains from putting interference in the transmission –
Getting our pipes clean – How to listen. – Churches –
85 min.

239 AB
05/21/1986
05/24/1986

5-21
Back on Track – Why we can’t do a church or relate to the public – Keeping veh. healthy to complete this
task – Put Committal into action – Being Accountable. Te didn’t have to go through the pain.

5-24
Exorcism – Treating personality as if an influence – Recognition Vote – Discouragement weakens you –
Becoming a Pocket for Older Member’s Mind – Mature Controlled Behavior – Lucy’s Heaven.
95 min.



https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          39/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

240 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 41 of 147
05/31/1986
05-31-86
Cocoons for humans – Explaining in non-religious terms about the Next Level – Is there a niche we can
fill with the humans that doesn’t expose us, yet lifts us up?

[Note: Much of this tape is heavily damaged with buzzing.]
94 min.

241 AB
06/07/1986
06/14/1986
06-07-86
(begins on 241) Not being embarrassed about our ways Maintaining a pleasant vibration – Pushing
yourself – Classmates as real friends – Taking DO on a human level – Safest Options in Conduct.
06-14-86
Getting chemistry in balance – DO felt Te’s presence in his quarters – Diet effects susceptibility to sensual
feelings – Different diets – Frame of mind to move ahead without physical presence of Ti.
93 min.

242 AB
06/21/1986
06/24/1986

[Note on side B of cassette: 7/24/85 243]
06-21-86
Meditation: Focusing – Awakening Next Level Gland.
06-24-86
Links no longer can bail us out of troubles – Learning to exert your own effort to get through & past it –
Temptation of relationship with someone else – How do you want to live? – Where would you be
happier? – Go with it – DO’s vehicular discomfort – Spirits of Illness – The Next Level is in charge, even
of the negativity – How Families grow & are structured in the Next Level.

[Much of side B is a duplicate recording of material on another tape.]
93 min.

243 A
08/17/1986




08/27/1986

245 AB
12/05/1986
08-17-86
DO no longer able to tune down to certain subjects – The pipe analogy compared to amount of Next
Level mind.
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          40/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

08-27-86USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 42 of 147
Unhappiness – Seriousness – The new structure of Crafts – not diminishing responsibilities – A place for
Links.
12-05-86
Control of Thoughts – Permissiveness – DO’s challenge to us – Wanting help – Help Sessions – New
Vocabulary.
31 min.

244 AB
10/28/1986
The Sensuous Force – Not to spend but redirect it to higher thoughts – want no part of that energy –
Partnerships – Craft falling through – Help Sessions – Loss of Confidence – Suspected Strikes
Links at a distance lets us practice using Older Members Mind – Where does this information come
from?
55 min.

245 AB
12/05/1986
(see tape 243 | 245) Control of Thoughts
58 min.

246 AB
12/06/1986
12-06-86
Trying to fill mind with sayings & phrases from Links – Talking to Te – Finding times of lesser thoughts
& vibrations – Feeling Te’s presence – Asking Older Member to be close to you – Next Level uses partner
to help you – “I maybe wrong but I thought procedure was…” – Diseases in partnerships – Good
partnerships – Functioning as a Unit – Sensitive to Te’s presence at the meeting.
77 min.

247 AB
12/08/1986
12/18/1986
12/20/1986

North Craft Only
12-08-86 Do’s Experience – Lvv/Jwn as checks – Relating to Te Better – Do’s closeness to TI.
12-18-86 Harbor Influences – Help Session Reports – Influences interfering with Health
12-20-86 Rules of the Game – Being out on Limb Motivated by what we believe is true – Grape Diet – the
Lord’s instruct. on consuming – Rejecting weakness.
93 min.

248 AB
12/20/1986
12/31/1986

North Craft Only
12-31-86 Our Structure loosening some – Tasks Links used to handle not handled as intended – Tighter
structure the more you grow – Checking with Links before taking an action – Cheating on Time
95 min.
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          41/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

249 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 43 of 147
12/31/1986
01/13/1987

North Craft
Only
1-13-87 Better Picture of a Demon – Being an Extension of Older Member – Demon’s characteristics 1.
Migrates to certain ones 2. Preoccupied with physical Health 3. Secret Judgments 4. Blames Links –
Dealing with giving up – Demon can’t think without a house – Don’t have to feel the pain or the
unhappiness.
88 min.

250 AB
01/18/1987
01/20/1987

North Craft
Only
1-18-87
Biggest cause of unhappiness is Self – Centeredness – Treat vehicle like a suit of clothes – No desires of
its own – Only concern is for the task – Make a list of “feelings you see during the day – List of what you
did for others – clothing – Addiction of needing affection – Feeling desperation – Convince Links
1-20-87 Out on a Limb – Channeling – How Te’s mind came in as Brother Frances
94 min.

251 A
01/20/1987

North Craft Only
1-20-87 Channeling (con’t) – Learning to stay in our vehicles – Diluting or Editing info. for us – Craft in
Next Level busy with the next step – New step alters class’s relationship with Do – Time to solve our
own problems.
8 min.

252 A
02/28/1987
2-28-87 Purpose of Separation – Both Crafts separation from Links – Working things out in your craft –
How to work out different understandings – Go with the majority – What happens when conflicted
inside – Not imposing your rate of growth on others – Assessing where you stand – Using a partner –
Happy when unhappy – Compatible lists – Excuses for trouble
37 min.

253 AB
03/30/1987

North Craft Only
3-30-87 Vote of No Confidence – Fight within yourself – Pulling away to avoid embarrassment of shame
– Power of Belief – How conflict shows in physical breakdown – Chemistry is affected – Accelerated



https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          42/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

Recovery – Being
       USDC   IN/NDprime
                      casetargets – The Challenge document
                            3:22-cv-00395-MGG     – Do having a visit
                                                           132-8      – Nothing
                                                                   filed 07/24/23is page
                                                                                    bad enough  to keep it
                                                                                         44 of 147
hidden and let it build – Expose it.
68 min.

254 AB
06/09/1987

North Craft Only
6-09-87 Being in Unison with Older Members Mind – Helpers Experience in Austin – Benefit from
Isolation – Meditating with Links – Trying to think like you Older Member – Handling an OOC task –
Wasting time – Learning to be Quiet with a strong thirst – The right kind of Closeness
70 min.

255 AB
06/18/1987

North Craft Only
6-18-87 Conduct with Links – Helping vehicles learn caution and carefulness – Keenness (seek & scan) –
Keeping Links informed – Security – Being attacked – Streiber – Bridging the gap to the Next Level
82 min.

256 AB
06/21/1987
6-21-87 Spheres (poor sound) – A tool for being aware of Older Members Presence – No private
moments
69 min.

257 AB
06/29/1987

North Craft Only
6-29-87 Accelerated Time – Recognizing Te’s mind – “I could be wrong” used when any judgment,
assessment, analysis or memory is exercised – Faith and Trust in Older member – Being a tight knit
family – Prophesy (Revelation) Re: The bride – Evaluating What’s real – Strieber.
88 min.

258 AB
07/03/1987

North Craft Only
7-03-87 Being all of one Mind – Being satisfied – Dali’s “Crucifixtion” painting – Te’s mind a part of Do’s
– Keeping a section of our mind on presence of Older Member – Boogers and doubt will interfere with
being of one mind – Not acknowledging the negative Influences.
94 min.

259 AB
07/07/1987

North Craft Only
7-07-87 Trusting Older Member – Contra hearings – Parallels to us – Not acknowledging violent
influences – not right to prompt someone to say something – Individual must exercise the thirst and see
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          43/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

the value – Our
       USDC      lunacy
             IN/ND  caseor3:22-cv-00395-MGG
                            fantasy – Seeing thedocument
                                                 darkest side – Better
                                                          132-8         than otherpage
                                                                 filed 07/24/23    options
                                                                                       45 of–147
                                                                                              New Age
Philosophy – Rth Experience – Trusting Do- “Self Examination” – Asking for Te’s Presence
94 min.

260 A
07/16/1987

North Craft Only
7-16-87
Astronod Training Manual – Mind’s Development – Vibratins – Writing Strategy – Adam & Eve
situation – Manuel Names – Changing Phrasology – Kingdom levels – The term “Chief” – Chemical
Addictions – Taking another vehicle – Writing: Scientific, sterile & vernacular used – Lucifer – Proposed
News Release
35 min.

261 AB
07/16/1987

North Craft Only
7-16-87 (con’t) Ages of Minds – What our task is – Being Saved.
94 min.

262 A
07/17/1987

North Craft Only
7-17-87 Space Life – What is Magnetism – Knowledge is what reproduces & attract in the Next Level –
The knowledge of the class before we came – Writing and Title – Human terminology – Many
Membered
43 min.

263 AB
07/21/1987

North Craft Only
7-21-87 Whether to Surface – Writing: Tell it the way it happened – Whether Do should surface –
Information Back of Energy – Colonel North example – Outside chance they may respond positively – Be
prepared for the worst – Writing & Packet info. to leave behind – Biblical parallels – The force we feel –
How surfacing affects the class.
86 min.

264 AB
09/10/1987
9-10-87 Channeling Love – Force – We learn how to love from our teachers – Love for these we visit
comes from Te’s mind – Love through you as a conduit – Lucy tries to have us leak that force
88 min.

265 A
09/10/1987
9-10-87 Channeling Love (con’t) – Higher quality Love – Healing love – Learning to be a tool. – The force

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          44/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

makes us feel so
       USDC      charged
              IN/ND  case–3:22-cv-00395-MGG
                           Letter to Strieber – Communion
                                                  document –132-8
                                                             “Living  presence”
                                                                   filed 07/24/23 page 46 of 147
37 min.

266 AB
09/13/1987
09/14/1987
09/15/1987
9-13-87 Hugging – Understanding what is happening to us – Hugging our classmates
9-14-87 Receiving Older Member – Visits – Inhibiting Factors to receiving Older Members mind – Too
enthusiastic hugging
9-15-87 Drain from human Ties – Task of visits was to free us & become recipients of a higher bond –
Embellishing Instructions – Clipping Ties
64 min.

267 AB
09/23/1987
09/28/1987
09/29/1987
09/30/1987
9-23-87 Mind Evolution – Adam’s mind diluted through offspring – Ministering to the Sinners – Possible
move
9-28-87 The Church is Happening – Don’t really need to do anything – Smelling Salts
9-29-87 144,000 were the church 2000 yrs ago – Aids Victims
9-30-87 Statement of beliefs for Church
73 min.

268 A
10/20/1987
10-20-87 Habit of Checking with Older Member – Being a house for them to perform through –
Defensiveness – Asking partner for help – Security Blanket – Countenance – Don’t count on memory
17 min.

269 AB
11/06/1987

North Craft Only
11-6-87 Church Strategy – Diluted info. in our pillow case – Class organization to get maximum service –
Holding up the works – Awakening the captives (Sexaholics) – Funding – Using our techniques to help
break them of their addictions – Keeping things surfaced – Srr lesson on sharing too much – Singing in
the Church – Do’s dream.
94 min.

270 AB
11/06/1987

North Craft Only
11-6-87 Church Strategy (con’t) – How to relate to the church – Singing in the Church – Do’s Dream.
65 min.



https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          45/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

271 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 47 of 147
11/10/1987

North Craft Only
11-10-87 Sinner’s Church – This environment makes it harder to maintain a proper relationship with
Older Member – Being closer to Older Member – If anyone else was here from the Next Level – Fears of
being who we are – “Sinners Celibate for His Second Coming” – Natural to want to be celibate – Having
a church service – Mormon Beliefs – Details of S.A. Mtg.
93 min.

272 AB
11/17/1987

North Craft Only
11-17-87 Interfering with Links – Strieber’s call – LA convention for Sexaholics – Pamphlets – Te’s mind
in their literature – Paying Taxes – Believing who Te & Do are
94 min.

273 A
11/17/1987

North Craft Only
11-17-87 Interfering with Links (con’t) – Let Older Member flow through you – Smelling Salts – Hoping
to get past needing OOC tasks – Streiber call details – Turning mistake into pos.

31 min.

274 AB
11/20/1987

North Craft Only?
11-20-87 Virile Vehicles – Our relationship to Te $ Do – Taking ownership of a vehicle – Anything less
than a positive is alien – How influences attack Do – South Craft stronger when separate – Return to
elementary discipline – Te is our Father & Do is Te’s son – Calif. Outpost – Giving & Reception – OOC
tasks – Sexaholics
94 min.

275 AB
11/22/1987

North Craft Only
11-22-87 ASCC – Next Level Mind – Just say “No” – Vehicle housing enough mind – Corrections made
in a “twinkling of an eye” – Aids Victims losing their vehicles – Being on ice until time to do this task –
Mind’s looking for vehicles – Lucy’s hold – Routine to protect us – Affection.
61 min.

276 AB
11/24/1987
11-24-87 Back to Basics – OOC tasks & staying within the guidelines – North having more control –
Lesson on giving notice at OOC task – Knowing how to listen – Being Quiet – Taking higher side –

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          46/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

Partnerships
        USDCworking     things
               IN/ND case       out & getting helpdocument
                            3:22-cv-00395-MGG       – Presence Roomfiled
                                                            132-8     – Asked  to leave
                                                                         07/24/23  page if48can’t maintain
                                                                                             of 147
sufficient control – Hotter Fire when closer to Older Member
90 min.

277 A
11/24/1987
11/26/1987
11-24-87 Back to Basics (con’t)
11-26-87 Committal – No limits – Rkk & Wnd coming closer to us – Keeping on a positive – “All things
work together for good for those that love the Lord” – Fears come true – Came here to strengthen our
minds – Next Level forced to put individuals in circumstances to overcome fears – Only you can cut
yourself off – You must ask & insist for the pos. answer.
44 min.

278 AB
11/29/1987
11-29-87 Reality of Spiritual Bodies – Ministering to spirits – Spiritual Body is perfect & if totally in
control of the vehicle it would be healed completely – How to apply this understanding – Healers –
When to say “I” – Change how you think of yourself – How far we can heal these vehicles.
88 min.

279 AB
12/06/1987
12-06-87 Halfway House – No Time Share – Sexaholics mtg. – Shiny faces – Wnd’s first mtg – Crafts
broken into 3 parts – Rkk & dealing with independence – Not a great response at the Sexaholics mtg. –
Mll encounter with a human – How to relate to humans interested – Putting ourselves in a circumstance
where the situation forces us to change – How to handle those who lose significant Control
93 min.

280 A
12/06/1987
12/09/1987
12-06-87 (con’t) – Prove we can be 100% – May be right for some to choose to take separate quarters –
Lucifer believes he is right & methods good – Mormons
12-09-87 Exorcising Negative Thoughts – Influence that says “I’m a second-class citizen” – Keeping
negative thoughts out of the craft – Hang onto cooperative pleasant, high vibrations – Reshuffle Crafts –
Vibrate Joy – We are lucky
43 min.

281 AB
12/14/1987
12-14-87 Strong Last Shot – Influences can no longer share your vehicle – Committal notes – Would not
direct our asking to Te’s Older Member – Slippage mtgs – Send notes on Sensuality to Links –
Communicating with partner – Consistency responsibility for our control – Do’s help when in trouble –
Build Muscle – Do thinking of us – Movies – Don’t set yourself up for a Challenge w/Influences
76 min.

282 AB
12/20/1987
12-20-1987 Becoming Clones – Special Gift – Responses about move from Links – Trusting Older
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          47/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

Members   – Appreciate
       USDC            & Accept
              IN/ND case        change – Misusing
                         3:22-cv-00395-MGG        “I” – Indv.’s
                                               document  132-8 Influences  – On again-Off
                                                                 filed 07/24/23 page 49 ofagain
                                                                                           147 Neg. –
Inconsistency in Committals – Astronaut training compared to our task – Sustaining Craft vibration –
BodySnatch
90 min.

283 A
12/20/1987
12-20-87 (con’t) Forgiveness – Snn’s Lesson on not hanging on to old influence – Pyramids – Next Level
will help us close up the dike but we have to gain enough muscle – When we’re ready may give us the
secrets – must be on solid ground first – forget about yourself.
35 min.

284 AB
12/26/1987
12-26-87 Understanding Lucy – Male & Female Karma – Male Vehicular Flaws – Significance of buying
gifts – Lucifer & the chain of command – What happens to the minds of the vehicles that are wiped out –
Anna Lee Scarin.
63 min.

285 AB
12/27/1987
12-27-87 Desperation
89 min.

286 A
12/27/1987
12-27-87 (con’t) War with Influences – Te relating to this task – Becoming experienced fencers – Feeling
Inadequacy helps sustain lack of confidence & looking to Older Member – No Trust in anything we
come with – Don’t check if influence still there; could be inviting him back.
6 min.

287 AB
01/03/1988
1-03-88 It’s up to Me – Consuming – New Diet – Task priorities (movies) – New Year’s Resolution –
When task is over if you haven’t learned control nobody will correct you – Be sincere when asking for
help – Helpers in both crafts – Taking your own initiative to maintain your forward motion – Next Level
Connection – Eyes off “I” – Exert muscle to catch up – Do’s running!
68 min.

288 A
01/14/1988
1-14-88 Our Spiritual Bodes Becoming Closer to our Older Members – Finding a place closer to Te –
Class needs more time separate from Links – Helping those who don’t think they are loved – Drop
writing Committal Notes – When to bring things up to an indv. – Accelerated Preparation – Possible TV
relationship to the public – Primary Communication is with Older Member.
59 min.

289 AB
01/24/1988
1-24-88 Addiction to Older Member – How to get closer faster – Pangs are good as long as doesn’t cause
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          48/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

a pulling away
       USDC     – Adam’s
              IN/ND      addiction – Becomingdocument
                    case 3:22-cv-00395-MGG    one in spirit
                                                       132-8– Do  could
                                                               filed     do 2 things
                                                                     07/24/23        thatofwould
                                                                               page 50     147 stop
breakdown of vehicle but it would effect the addictive relationship we have with Links – Totally
eliminate neg. in how we bring things up – Asking check more frequently – How power of healing
works – What degree to sustain addiction.
65 min.

290 AB
01/30/1988

North Craft Only
1-30-88 Continuing the Addiction – While Older Member is separate – Being closer during separation
(don’t trust it) – If get a message or inst. when not with Older Member (don’t trust it) – Feeling love and
closeness with Older Member – Picking up on Links thoughts – Being 1/2 of a person – Healing –
Negativity – Destructive Evaluations – Influences attachment to the vehicle
90 min.

291 AB
01/30/1988
01/31/1988
1-30-88 (con’t) Continuing the Addiction – Learning who “I” is – Links relationship with us – Not
needing to turn to another source – Transition to a diff. Older Member – Large Angels – Jesus Making
disciples believe – Whether to do Demonstration – Links travels –
1-31-88 Demanding the Next Steps – Thanking the Next Level because they are already in motion –
Bringing things up to partners on the spot (immediately) – Join forces to demand next steps
84 min.

292 AB
02/06/1988

North Craft Only
2-06-88 Chinese Diet – Nor Bu Chin – Using a Chinese Doctor – Updated concept on the Human
Kingdom & Lucy’s Role – Seedbearing & non-seedbearing Plants – Essene Discipline – Rkk leaving –
Putting out best effort – Influence of medical problems – S. Craft neighborhood
94 min.

293 AB
02/11/1988
2-11-88 UFO Crashes & where our minds came from – Back up Vehicles – Theories on what changes
need to occur in these vehicles – Humanism in how we express Love – Metamorphosis – Present day
Essenes – Preparation for our Changeover – New Mexico.
65 min.

294 AB
02/11/1988
2-11-88 (con’t) UFO Crashes – Our Minds – Metamorphosis
67 min.

295 AB
02/18/1988
2-18-88 UFO Crash Book – Gift from the Next Level – How this relates to us – Overcoming addition to

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          49/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

Food – USDC
         40 dayIN/ND
                  fast –case
                          Going  on Pwd. Drinks – Our
                              3:22-cv-00395-MGG            consuming
                                                     document    132-8 interfering  with page
                                                                         filed 07/24/23  metamorphosis
                                                                                              51 of 147 – The
proof of their existence coming out – Our tasks in Space Crafts – Sleep is recovery & repair – Raising
sticks for the class (i.e. Rkk and Tll) – Zap – Realities of the Next Level.
94 min.

296 AB
02/20/1988
2-20-88 100 min Accuracy – Liquid Diet – Experimentation – Cutting Expenses – Finding a Remote Place
– What might be left for us to do – Immortal Bodies – Sustenance from another Source – Using Credit –
Breathairians – Trailers – Keeping mind on the meeting – Next Level Vehicles – Essenes – Fasts – Job
situation
94 min.

297 A
02/20/1988
2-20-88 (con’t) 100 min Accuracy – Airians – Trailers
14 min.

298 AB
02/21/1988
2-21-88 Influences that still use our Vehicles – Stl & Glasses – Accepting an influence & its problems –
Allergies – Doing things our own way – Mass or Parasite Influences – Aids influence – Next Level
Immortality – Any dependency here won’t change on a Space Craft – Examine Private Moments –
Historical Essenes – Keeping Focus – UFO book changing our perspective – Acting OOC Tasks – Lq Diet
94 min.

299 A
02/21/1988
2-21-88 (con’t) Influences that still Use Our Vehicles
47 min.

300 AB
02/23/1988
2-23-88 How to handle presentation to UFO Society – Cautious with our Security – The Coverup by
humans – How will things unfold for us – Getting rid of naivete – Prep for boarding – Can’t take
influences with us on board a Space Craft.
79 min.

301 AB
02/27/1988
2-27-88 Taking responsibility with Security – Reptilian vehicle in Next Level – Robot type vehicles –
Humans keeping a N.L. vehicle alive in captivity – Possible mistakes in N.L. security – Earmarks of a
Member of the Next Level – Inner Earth – Sum Total or our Desire – We now have evidence – the test of
faith has ended – Diet adjustments – Swaggert – UFO meeting – How to handle the situation Rkk has
put us in.
94 min.

302 AB
02/27/1988
2-27-88 (con’t) Security – Misconceptions of N.L.
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          50/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

69 min.USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 52 of 147

303 AB
02/28/1988
2-28-88 Working out how to relate to Rkk – Dropping UFO etc. Business – We will initiate contact with
RKK – Move for our security.
59 min.

304 AB
03/02/1988
3-2-88 How to solve some Dilemnas – Indv. with problems – Flx – Next Step – Meetings around the
country – Topic: UFO Occupants are the Evolutionary Link to Humans – Sponsored by UFO etc. (Rkk) –
Not answering questions at meetings – Outlining each groups format at mtgs. – What is a discipline? –
How to set up the groups and meetings – Using information in the UFO Crash Book. – Diet Adjustments
94 min.

305 AB
03/02/1988
(continuation of tape #304)
94 min.

306 AB
03/25/1988
3-25-88 Next Level Nutrition – Glandular Tablets – Repair organs – Sexual Responses – Lear’s
Connection with the Next Level – Different aspects of the Cover-up – Te’s relationship to the Genetic Lab
– If Humans could understand the mind doesn’t die with the termination of the vehicle – Animals as
plants & those that house minds – DO as a transmitter.
94 min.

307 A
03/25/1988
3-25-88 (con’t) Next Level Nutrition – Next Level getting the information out – Streiber’s relationship to
the info.
6 min.

308 AB
03/31/1988
3-31-88 Idea of putting our own Debunking of their (Lear’s) Hypothesis on Paranet – The interference
with our connection when too much emphasis on viewing UFO material & Subliminal Tapes – Humans
on different “Times” from each other even though they live in the same world – / Which UFO material
worth our time to read. – Refocus.
91 min.

309 AB
04/02/1988
4-2-88 1. The task of waiting. Rkk/Wnd Situation 2. Over-riding the Genetic Love Addiction – Care for
replaces “Love” – Don’t Back Away – Getting our relationship in the right place w/Links & N.L. 3. No
task is more important or sign. than any other task e.g. OOC tasks vs. In-Craft Tasks. – Links being able
to “take us for granted” & not worry about us. 4. Inappropriate Curiosity
95 min.
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          51/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

310 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 53 of 147
04/02/1988
4-2-88 (con’t) 4. (con’t) Pettiness. – Next Level Implants – Essentials contained in UFO Material – Pro
EBE’s (Prebe’s) & Con EBE’s (Conebe’s)
59 min.

311 AB
04/16/1988
4-16-88 We know a lot about what is happening with UFO’s – Investigators playing it safe – Judgment
day is … – Damaged Ionosphere – Whether to put out info. – Using a different Synopsis’s & distributing
them – Scientists believed to have committed suicide – Wnd/Rkk Situation – Strieber plays it safe by not
committing himself to physical reality of Next Level – Links travels in New Mexico
94 min.

312 AB
04/16/1988
4-16-88 (con’t) Drunk Individual attacking Links for no reason – Felippe in Santa Fe – Next Level
determines which boxes humans go into by how they respond – Who to send info. to (e.g. Turner &
Queen) – Weening ourselves from Speech, Food & Reproductive systems – Computer Bulletin Boards
92 min.

313 AB
04/17/1988
4-17-88 Rock music & lyrics – Looking for a retreat – Setting up a camping situation – T car Windshield –
Inside Earth Experiments – Hell is the Discarnate Condition – Indv. who we might share this info with –
not Shirley McClaine – Maybe Michael Jackson, writer who made Travis Walton movie, producers of
“hanger 18,'” Gene Scott – not going to people who know us personally
94 min.

314 A
04/17/1988
4-17-88 (con’t) If the Next Level would just tell us to do it we would have the strength & the power.
15 min.

315 AB
05/14/1988
5-14-88 Links is troubled by the class getting off the track in several areas – Also a concern of his
connection with Te – Tightening up our procedures – Improving our connection with Do will help him
with his connection with Te’s mind – Dr. Stranges “Truth” limits him to never knowing who God is – He
feels the smaller EBE’s that don’t look humanoid are from Lucifer – The others are from God
94 min.

316 AB
05/14/1988
5-14-88 (con’t) Those in the Next Level who still have humanoid vehicles are more like “pets” doing
tasks for those more evolved members of the Next Level – Can’t do things in Obedience – it’s worthless –
If we help Do we are also helping ourselves – Doing Everything as Te & Do would do it.
66 min.



https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          52/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

317 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 54 of 147
05/22/1988

North Craft Only
5-22-88 Next Level Intimacy/Bourne Iden. Parallels – Inst. on Consuming – Links response when getting
close to us – Closeness with Te coincided with times when Do was close to us – Why Links would back
off – Controlling the vehicles response to closeness – Links at times wanting to drop the vehicle – What
happens when not thinking the same as Links – What being in Love means – Importance of checking –
How EBE’s can relate to humans.
77 min.

318 AB
05/30/1988
5-30-88 Links trip to near a Vortex. – Links pain in trying to find next step – Not paying any attention to
Vortex charts – Rkk wanting to be preoccupied with UFO’s – Links going on a trip – Becoming of One
Mind – Next Level letting humans become more aware of them – Humans taking the neg point of view –
Gov’t supporting Lear – Te relating to us – Influences use our Desperation against us – Concentrate on
Restraint & Caution
57 min.

319 AB
06/11/1988
6-11-88 Talk with Rkk in Portland – We are still not ready – Death of the old self – Boxing Matches with
Lower Self – Plead for Purity & Sterility – We must take the responsibility from now on – We must make
the choices – Mind over Matter.
94 min.

320 AB
06/12/1988
6-12-88 Game for Breaking Habits & Being Flexible – To be upset by any circumstance is inflexibility –
Must be what you want to do – Pollen Pollution (vie thoughts) – The realism of thoughts – Static in the
air – Feelings for Older Members – Quieting the mind and & Listening.
89 min.

321 AB
06/17/1988
6-17-88 How to play the game of Breaking habits & learning flexibility with a partner. – Clarifying the
rules.
94 min.

322 A
06/17/1988
6-17-88 (con’t) How to play the game of breaking habits & learning flexibility with a partner – Clarifying
the rules.
18 min.

323 AB
06/18/1988
6-18-88 The influence that affects Snn has these characteristics: Impulsive, Feelings of Failure, Threatens
Snn & others, Wants to hurt Snn, Exaggerates. – Listen to Links not the Influence – Restraint works –
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          53/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

Aggravation
        USDCisIN/ND
               the influence – Influence has indvdocument
                     case 3:22-cv-00395-MGG       believing132-8
                                                            he is them
                                                                    filed –07/24/23
                                                                            Help is there
                                                                                      pageif55
                                                                                             you
                                                                                               of really
                                                                                                  147 want
it – Brn deals with influence of neg. so others don’t listen – Changes the Chemistry by the level you
permit Neg. & Sensuality – Lingo of Positive Thinking.
81 min.

324 AB
06/21/1988
6-21-88 No more catering to influences threats – Snn example & why it happened – Consuming influence
& how to combat it – Need to make progress or circumstances will present themselves to bring change –
Humbling yourself to the Lord – You must call the shots – Knowing who you are – Recognizing the
Negative – Sustaining happiness is a clue.
72 min.

325 AB
07/02/1988
7-2-88 Vows – Some not playing the “Game” 100% e.g. Consuming what partner gives you –
Subconscious Permissiveness because no real consequences – Necessity for Vows – Hvv’s schizophrenia
– Step of moving into one craft – How to seek a task – S. Craft move necessary – Getting rid of duality –
Quieting brain & Meditation – Power of Negative Thinking.
94 min.

326 A
07/02/1988
(con’t) Vows – Duality – Power of Negative Thinking – Must know “Old Friends” as liars – Effort to
copy Older Member.
33 min.

327 AB
07/13/1988
7-13-88 The Game’s effectiveness – Vow Breakages – The most important factors: 1. Allegiance 2.
Eagerness to Perform – Practice to develop skill – Coasting – What causes Older Member to like me –
Fluctuating performance – Consistent Readiness – Skill in the Ways – Hidden aspect of independence in
thinking – Subconscious Discouragement – No other game interests me – Repentance – Remorse
78 min.

328 AB
07/16/1988
7-16-88 Having Older Member mind come through us – Catching up to Older Member – Dryer Hose
analogy – Running around a track analogy – Expressing ourselves like our Older Member – Not acting,
thinking or speaking too fast – Consciously asking how Older Member would act – What becomes part
of your mind – Tearing down the walls that separate you from your Older Member (con’t)
61 min.

329 AB
07/16/1988
7-16-88 (con’t) Catching up to Older Member – Tearing down the Walls that separeate you from your
Older Member – Am I willing or afreaid to be a clone? – How to handle Lessons – Consuming
Guidelines – Who Links would pick for tasks – A Fresh Start (con’t)
94 min.

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          54/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

330 A USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 56 of 147
07/16/1988
7-16-88 (con’t) Catching up to Older Member – Consuming Guidelines – How to handle lessons – Being
reliant on the system – Who Links would pick for tasks – A Fresh Start – Deceit – Exposure makes you
feel better.
20 min.

331 AB
07/20/1988
7-20-88 Father & Son Relationship – Tim Good Book – Mrc & Srf Bitterness – Do Apologizing for at times
doubting who he is – It was not by his choice he is Te’s Son but he had been chosen – Sonship’s meaning
– Denying your Father – Cutting yourself off – We are in the Next Level – Sustaining knowing who we
are – The literal Vine – Looking to one source – Commonness – Crafting to the right Vine
62 min.

332 A
07/20/1988
7-20-88 (con’t) Father & Son Relationship – Downings understanding of Faith – Physical Evidence only
given to those who don’t need it or to those so young to not be able to really comprehend it – Sonship
doesn’t come by just sticking it out – Grafting each Vein in your thinking – You can loose Knowing.
39 min.

333 AB
07/23/1988
07/24/1988
7-23-88 Finding our Place – Rth suppressing thoughts – Hvv being divided – Help for Rth before his
departure – Our Undercover life – Be careful in how much we share – Clarification of who greys are &
who others are that are seen on Space Crafts – Being eaten by guilt – Flx happier where she is – Reasons
for aggravation & Upset – Faithfulness
7-24-88 (Side B) Teetering – What is next for someone else – Mrc & Srf may not have been ready –
Working out personnel for Project of putting out info. on Next Level
85 min.

334 AB
07/26/1988
7-26-88 Different Groups of Participation – Importance of Service – Group 2 guidelines with no guilt –
Courtesy to others in the craft – Bucking the Structure – Loyalty to the Next Level – No Partnerships –
Consuming Changes – Groups 3 & 4, North & South Crafts – Group 1 being totally on their own –
Selfishness – How no partnerships works.
68 min.

335 AB
08/07/1988
8-7-88 Trustworthiness – Links Travels – Who would like to go to work on a project – Why proof is not
shown to us – Those that left having lost their trust & faith – What threatens our stability – Next Level
must be able to trust us as a unit – How we handle attacks from boogers is our ticket – Resilience –
Getting experiences behind you – Bottom Line is nothing could shake your Allegiance.
94 min.


https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          55/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

336 A USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 57 of 147
08/07/1988
8-7-88 (con’t) Trustworthiness – Allegiance – Giving into things reduces your capacity – Clarifying the
Butter – Not accepting agony.
24 min.

337 AB
09/02/1988
9-2-88 The movie “Last Temptation” – Some parts not right but some insights good – The timing of the
movie important – Our thoughts come through in parts of the movie – We don’t have to formally make a
statement – Partnerships & need for them – Magic of how to use a check to come to a right decision –
Mundane Subjects even in presence room – No spirituality – Using tools given – Doing the best we can
do.
56 min.

338 AB
09/08/1988
9-8-88 Light – Sacrifice – Bus Stop – How to respond to Older Member in the presence room – Keep eyes
open while meditating – Conduct in presence room – Can this be a Bus Stop? – What can be my burnt
offering – Destroy my desires & humanness – Show me what is my sacrifice – I am willing to destroy my
desires.
60 min.

339 AB
09/18/1988
9-18-88 Strata’s of Understanding – Using the small house – Decontamination Chamber – ½ way house –
Streiber & Next Level – Next Level plan to show themselves – Religious Games
94 min.

340 A
09/18/1988
9-18-88 (con’t) Stratas of Understanding – Next Level may play out each religion’s idea of the second
coming – Two Witnesses – Who runs the World – Silly look at Human reality.
30 min.

341 AB
09/19/1988
9-19-88 Rkk moving to Denver with Any & Pyp – Possibly getting a house for others to stay in –
Decontamination Hs. – Lessons for Indv. – How to act around Older Member – Applying priorities –
Knowing who “Do” is talking to – Asking through channels – Why people “like” others – Break habit of
thinking negative thoughts of others.
78 min.

342 AB
09/21/1988
9-21-88 We Have No Magic – Trying to focus on how to fit pieces of puzzle – Do some research on what
the preachers are saying – Those waiting for the Second Coming – We need to know how to tell them
their interpretations are off – Possibly setting up a transmitter satellite – We may have to surface again –
We have no magic to sell the truth – Must be perceived on Faith – New Menu.
62 min.
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          56/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

343 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 58 of 147
09/28/1988
9-28-88 Time for Exposure – Links travels in New Mexico area – Another look at UFO materials –
Information coming in like a statement – Links will be at the forefront of exposure – Items to be covered
in the statement – Getting out of spirituality in asking to be a tool for the Next Level – Exposure won’t be
a “bed of roses” – Next Level may bring in support troops – (Be prepared for)
94 min.

344 A
09/28/1988

9-28-88 (con’t) Time for exposure – Be prepared for anything – Weekend convention with drop outs –
Jim Jones & the government involvement – Individuals who believe this will be encouraged to change
where they are & in secret – Physical war against the Next Level a possibility – Who participates in Total
Disclosure.
39 min.

345 AB
10/02/1988

10-2-88 Diet & The Statement – Snn, Pyp, Rkk, Any & Rth visit – Digestive systems & trying to overcome
them – Snn being outside the class – Her love for her Older Member – Lucifer’s Camp & Ascended
Masters – How the world will see us when we put out the statement – Ideas on what information to
cover – The day the Next Level plows under the planet – We are just waiting.
83 min.

346 AB
10/07/1988
10/09/1988
10-7&9-88 Response of those in spirit – Clarification of Soul – How to handle those ready to leave
everything – First to respond will be those in spirit – Jesus the Living Word & what that means – How to
get significant coverage – What the 1st, 2nd, & 3rd resurrection might be – Cassas Show – No soul owns
a body – Vehicle only goes to sleep without a soul – Lucy’s concept of Reincarnation – (con’t)
89 min.

347 A
10/07/1988
10/09/1988
10-7&9-88 Clarification of Soul – Only one mind per body in the Next Level – Lucy knows how to go
from body to body – The ones ready for this may still be in spirit – Just because God is spirit does not
mean that when you are in spirit you are with God – Soul is a composite of interests – Capital
Punishment – We are looking for the right souls & helping them find bodies.
42 min.

348 A
10/10/1988
10-10-88 The Bottom Line regarding the statement – the way a non-seed bering kingdom reproduces –
Overcoming seed bearing characteristics – What it means to be a “medium” for the Next Level – The
movie “Cocoon” – Evangelists predicting events & how close & how off they are. – How do we fit in?
35 min.
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          57/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

349 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 59 of 147
10/23/1988
10-23-88 Crew in the Next level waiting for us to reach certain plateaus – Speaking on 3 levels (1.)
Vehicle’s (2.) Composite – mixture of our mind & Older Members (3.) Older Member’s. How to respond
to Humans – How to ask for Older Members’ mind by asking for the specific characteristics – Restraint,
Patience, etc. – Diet.
90 min.

350 AB
10/25/1988
10-25-88 3 Levels of Communication – Changing your conduct, then the argument of the influence
dissipates – Not fencing with humans – “Who is speaking” using your part of Older Member’s min –
Affairs with those younger minds, giving attention to them which takes away from attention to Older
Member – Appropriate & Procedural ways to ask from Older Member – Being out of the class could be
one of the best ways to learn tardy areas – Mentally preparing to face Lucy more than we have ever
faced him.
87 min.

351 AB
10/27/1988
10-27-88 40 Day Fast & the feasibility of it – Why we feel our minds are off doing another task – Putting
out our statement & what could happen – Jesus temptations during his 40 day fast
89 min.

352 A
10/27/1988
10-27-88 (con’t) What accomplishing a 40 day fast could mean – Lucy would no longer have any power
over the vehicle.
24 min.

353 AB
11/22/1988
11-22-88 Links return from travels – Lessons for individual & for Class about negativity & incorrect
attitude about diet – Links experiences in a Spiritualist Church.
94 min.

354 AB
11/24/1988
11-24-88 Do’s Experience during the night of being taken on a spacecraft – Negotiating in a partnership –
Better percentages – Purpose of our being here is to make better choices – The movie “Cocoon 2” –
Examining the details of Do’s experience.
94 min.

355 AB
11/24/1988
11/25/1988
11-25-88 Lesson on sloppy procedures – Sticking to procedures more when Older Member not here –
Our power & authority comes from our knowledge so we can’t compromise it – Focus on the Bottom
Line – The bonding that has taken place within us – Lesson on working out OOC timing & pick up.
94 min.
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          58/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

356 A USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 60 of 147
12/05/1988
12-5-88 Meditate on thanksgiving – Express the details of our thanks to the Next Level – Forgiveness –
Removing any feeling of bitterness or resentment from the past or towards any particular individual –
Cdd & Brn progress.
22 min.

357 AB
12/11/1988
12/12/1988
12-11-88 Links needing a retreat – Not going on a downer – Noise restraint – How to Ask.
12-12-88 Know an influence like you would know a scent & don’t even allow the recognition of the scent
– Know how to keep the doors shut – Being slow to expose is like a poison – Deceit can eat you alive –
What it means to be devoted – Responsibility – No “I”.
93 min.

358 AB
12/14/1988
12-14-88 The need to expose & how harboring something will eat at you – Expose the specifics – Growth
outside the classroom can alleviate stress – Brn & Rkk as examples – Links retreat – Making a
cooperative piece of machinery – Dream Do had about class peddling a book called “New or Updated
Bible” – Taking on a new M.O. – The premise based on having the right to be no-sexual.
52 min.

359 AB
12/17/1988
12-17-88 Lessons for Indv. in the Class – Prk: zeroing in to a problem – Indv. expressing the proper
determination – Mll: nervousness – Str: needing respect – How we dress – Oll: not being aware of things
around him – Deceit problem for some classmates – Sng: her task circumstances – Drr: OOC lessons –
Oll: regarding forms – Tll: OOC lessons – Wanting to follow instructions
94 min.

360 A
12/17/1988
12-17-88 Lessons for Indv. in the Class – Wanting to follow all instructions – Getting rid of things hidden
28 min.

361 AB
12/18/1988
12-18-88 Lesson on speeding – Who you are – When influences are threatened they can make you feel
you don’t know who you are – You are the pillowcase & the will – not a composite of previous vehicles –
Being a house for the mind of the Next Level – Next Level mind will bring in lack of confidence –
Keeping anything in secret, in private or doing anything against procedure is an Influence
68 min.

362 AB
12/24/1988
12-24-88 Next Level Crew Requirements – Where the craft was that Do went on – Reason for choosing



https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          59/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

the Bridge
       USDC(loyalty)   – Staying
              IN/ND case          exposed – Having
                           3:22-cv-00395-MGG       no “Affairs”
                                              document           – 07/24/23
                                                       132-8 filed What willpage
                                                                             it take
                                                                                 61 ofto147
                                                                                          please –
Responsibility for being clean.
86 min.

363 A
12/25/1988
12-25-88 Marriage – ideological, harem/crew relationship – Giving all to Older Member – No likes or
dislikes – Force ourselves to get past our differences – Getting relationship with Older Member what it
has to be – Helping Brn/Cdd communicate.
37 min.

364 A
12/28/1988
12-28-88 Trust – Slippage Meetings – Influences can set you up by being so intense about where you
stand – Just look to the Next Level – Brn/Cdd being out of the class gives them opportunity to gain
strength.
33 min.

365 AB
01/05/1989
01-05-89 Positive response to class levels – Offer of funds to get started if want to leave class – Response
to Levels – Possibly opening an office in what area.
81 min.

366 AB
01/21/1989
01/21/89 Getting Rid of Space Between Us – Influences that can exaggerate vehicular problems – Leaving
things where they were found – OOC Tasks – Check partners – Next Level in constant change & forward
motion – EBE’s pausing before responding – Taking these vehicles back with us.
71 min.

367 A
01/21/1989
1-21-89 Our Recall of the Next Level – Recognizing the ways & procedures of the Next Level – Looking
at the Next Level in a more real, physical way – How we prepared for this task – Classmates personal
experiences.
45 min.

368 AB
01/22/1989
1-22-89 Can we keep Next Level Secrets – Understanding & redirection feeling of love & family – What
can cause death & the Next Level controls – The mind & the pillowcase – Do we recall knowing the Next
Level – Experiment with Jesus didn’t yield – How it may yield.
89 min.

369 AB
01/24/1989
1-24-89 Drawing from Older Member – Riddles – Being sensitive to appropriate questions to ask –



https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          60/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

TroubleUSDC
        in partnerships
             IN/ND case– 3:22-cv-00395-MGG
                          Good & Bad EBE’s – document
                                                  When imaging
                                                          132-8Links,  only what page
                                                                 filed 07/24/23  you’ve
                                                                                      62 experienced
                                                                                          of 147     –
Next Level Guts – Getting closer to what is real.
53 min.

370 AB
01/28/1989
1-28-89 What Are We Waiting For? – I Could Be Wrong & meaning it – Brn & still dealing with “can’t” –
Teacher & classmate should be able to bring anything up to you & you wouldn’t be offended – Waiting
24 hours to send personal notes – Partner to check exposure notes – Learning from each others’ pluses –
Conquering Vehicular Discomfort.
94 min.

371 AB
01/28/1989
1-28-89 What Are We Waiting For? – Learning from each others pluses – Conquering Vehicular
Discomfort.
47 min.

372 AB
02/18/1989
2-18-89 Being Real – Ways & Behavior Dept. – Automatic sorting happening in the class – Los Alamos
Visit – Service Levels – Some being overcome with schizophrenia – (con’t)
89 min.

373 AB
02/18/1989
2-18-89 Behavior & Ways Dept. – Sorting – Being Real – Unconsciously being of different mind – Do’s
relationship with Te – Karmically resolving things – Being honest & real as to where you are (con’t)
94 min.

374 A
02/18/1989
2-18-89 Behavior & Ways Dept. – Sorting – Being Real – Duality – Consciously being where you are & it’s
okay – Refusal to disconnect – Tightening Security.
31 min.

375 AB
02/19/1989
2-19-89 Being a Better Servant – Service is secondary – Help me find the better circumstance – Asking
about everything – How should I handle this? not What is the solution? – Direct communication with
Older Member 24 hours a day – Don’t sell yourself short – Know the working s of the craft – Not to pick
& choose – Don’t say “ lead me” say “Use me.”
54 min.

376 AB
03/09/1989
3-9-89 Conflicts not resolved from the past – Residual of conflicts that are vehicular or karmic –
Rottenness unconsciously will destroy itself – Next Level is communistic with liberty – Consuming &
how the vehicle responds – Becoming less dense.
88 min.
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          61/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

377 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 63 of 147
03/10/1989
03/11/1989
3-10-89 Next Level Grades 2 things
1) Our Committal
2) Procedures & Ways
3-11-89 Influences are more than the discarnates but aromas & deposited thoughts – Putting on our
armor – Our addiction to the influence – Being sensitive – Forethought – Blocked Permissiveness is
indulgence of the mind more than vehicle – Withdrawal Symptoms
88 min.

378 A
03/12/1989
3-12-89 2 Kinds of Familiarity – 2 meanings of familiarity – How to handle familiarity in a partnership.
3 min.

379 AB
03/18/1989
3-18-89 Time for overcoming Selfishness – Wrong kind of Love – List of “MY” Selfish needs – Negative
side effect of closeness – Needing to be “special” – The right way to get beyond addiction
90 min.
380 A
03/18/1989
3-18-89 (con’t) Major step in Maturity – Devotion to the Chief & Next Level – Not question the Pipe the
information comes through – Examining our desires for selfishness – Tightening our Budget
15 min.

381 AB
03/19/1989
3-19-89 Being helpful to your partner by bringing up their inappropriate responses – Lessons on
preoccupation with “I” & over riding Links inst. – Examining our responses at a meeting – Strength of
our thoughts & how they affect the vehicle – Examining whether to take a house in New Mexico.
89 min.

382 AB
04/01/1989
4-1-89 Becoming Secure – Listening to Preachers – 1st & 2nd Resurrection – Physical resurrection at the
end of the age – Links to be Rth friend. – Whether or not you want to wait with Links – Do you feel
restricted – Some have to deal with in-security.
85 min.

383 AB
04/06/1989
4-6-89 Security Lessons – Drr & Dnc interaction between OOC tasks without checking first – Lesson on
following through with Links inst. – Observing your Older Member – Alx/Prk OOC task situation –
Looking alike to humans – Reasons to relocate – Not looking “Joe Vanilla.”
89 min.




https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          62/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

384 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 64 of 147
04/14/1989
4-14-89 D-Day – Upgrading Standards – No more affairs – playing the game is what matters – An
exercise is just a tool – Deciding to control the vehicle in the areas of consuming & sensuality – Deceit is
just as important to conquer – Vow Breakages – Paying the price for having affairs.
54 min.

385 AB
04/15/1989
4-15-89 The Company & it’s rules & departments – Signs of the times re: Murray’s tape – EBE’s relating
to the humans – Distraction during meeting – Careful what is said at OOC task – Reincarnation
misunderstood – What Angels are – (con’t)
59 min.

386 A
04/15/1989
4-15-89 (con’t) The Company – The kind of devotion that makes you trustworthy – Being “R.A.” (regular
army) – Whole new department can open up to you – Quieting the mind.
30 min.

387 AB
06/12/1989
6-12-89 Being a good tool – Not really right to think you want to be just “putty” – Being a keen
functional tool – Sensitivity to what Older Member is thinking – Not allowing a “settled in” feeling.
52 min.

388 A
06/13/1989
6-13-89 Maximum Effort – Prior to these vehicles we were not from a common background – Breaking
the patterns of your strain – Looking for another craft.
17 min.

389 AB
06/16/1989
6-16-89 When the heat is on – Accelerated pace for physical contact – Not fighting the fretilizer –
Learning to meet the challenge – Trust in Older Member’s Inst. – Specific lessons for different
individuals.
89 min.

390 AB
06/17/1989
6-17-89 Stability & Trustworthiness – Rkk & his endeavors & pitfalls – Stable enough to sustain a proper
interpretation of what is truth – Testing stability & trust – Destroy instability & doubt in qualifications –
Find what is the root & cause & don’t drop it.
89 min.

391 A
06/17/1989
6-17-89 Stability & Trustworthiness
12 min.
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          63/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

392 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 65 of 147
07/05/1989
7-5-89 Asking “what’s next” & not being preoccupied with the tasks at hand – Need to help Do in
pulling – Don’t let exploring & new projects interfere with our pulling – Lesson on coming up with
things – Asking Te for the next step – “Your will not mine” – Monastery question
59 min.

393 AB
07/09/1989
7-9-89 Brain, Evolution & Environment – Smoking – Humans maturing very early due to hormones in
foods – How genes & influences work in human behavior – Evolution – Water & environment pollution
– TV viewing purpose – Using Lucy’s disguise.
93 min.

394 AB
07/15/1989
7-15-89 Pro-choice, abortion question – The family – abstinence – The Unicorn representing celibacy –
Encouraging non-sexual groups – How to present this to the public.
89 min.

395 A
07/15/1989
7-15-89 (2 of 2) Pro-Choice & Abortion question – The Family – Encouraging non-sexual groups.
30 min.

396 AB
07/17/1989
7-17-89 Urgency of keeping the Next Level on your mind. – New Diet guidelines – What the Kingdom of
Heaven requires by what is said in the Bible – What is entering the Kingdom of Heaven? – When we are
able to see & work with the ones in the Next Level.
93 min.

397 AB
07/17/1989
07/19/1989
7-17-89 (last 5 min) Next Level on your Mind
7-19-89 Taking the Next Level for Granted – Playing Around – Influences sent to you – Ask Te to use Do
in the ways that will help correct things we are not seeing – Be keen to how the answer will come –
Talking about others – Getting beyond reason.
71 min.

398 AB
07/21/1989
7-21-89 Increasing Comprehension Level – reproductive Energy – Asking – Using “We” on partnership
tasks – Checking – Conversion – Next Level seed & genealogy through knowledge – Asking Te more to
be shown what we need to correct – Picking up more speed – Sustain your Love.
52 min.




https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          64/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

399 A USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 66 of 147
07/28/1989
7-28-89 What it means to Praise the Next Level – Recognizing the gifts (jewels) we have been given –
Absorb the essentials – Maintain keenness – Do your own prodding – Take the blame for everything –
Crave Service.
11 min.

400 AB
08/02/1989
8-2-89 Formula of Thankfulness – Pinching pennies – Rosh Hashanah – Lucy’s hold on the Christians &
New Age – Our Evangelism – Changing our vehicle with Diet – Praising the Next Level & what it means
– The feeling has to be real.
89 min.

401 A
08/02/1989
8-2-89 Formula of Thankfulness
7 min.

402 AB
08/05/1989
8-5-89 Nothing but a piece of pipe – Formula for Closeness – Using our Older Member’s mind more –
Movie “Parenthood” – Celibacy including thoughts – Examine our own restrictions & discipline again –
Being Humble – Admitting you are wrong – What our breath would be.
85 min.

403 AB
08/13/1989
8-13-89 Exercise in listening – Religions all looking for some type of Messiah – The “Fu-Fu” juice form
the Next Level – Not right to just conform – Not listening to anything in silence as well as audible –
Briefest way to help others – Te’s leaving & our tests & our tardiness – Getting Past the selfish thoughts.
93 min.

404 A
08/13/1989
08/16/1989
08/23/1989
8-13-89 Exercise in Listening – Briefest way to help others – Getting past selfish thoughts.
8-16-89 Vehicle has a mind of it’s own – How to handle vehicle’s programming – When it’s an influence
– The diet & how we’re responding.
8-23-89 Learning to use our partners properly – Respecting our partners.

405 AB
08/18/1989
8-18-89 Zero Permissiveness – Sustaining Readiness – Tightening the reins on our vehicle – Mantaining
our Countenance – Working things out in a Patnership – Rosh Hashanah & Jewish religion –
Whisenant’s predictions & using it as our dress rehearsal – Dnc & Snn reapplication.




https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          65/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

406 A USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 67 of 147
08/18/1989
8-18-89 Zero Permissiveness & Sustaining Readiness – Rosh Hashanah & the Jewish Religion –
Whisenant’s prediction.

407 AB
09/10/1989
9-10-89 Switching Gears – Appetite = Addiction – Sleep addictions – Affirmations & new programming –
Primary & Secondary weaning – Being a good “Vessel” or tool – Improving our percentage of looking to
our Older Members mind – Sustained craving (degree of separateness) – Getting off track should be a
catastrophe – Constantly using our brooms & asking – Next Level help at our OOC tasks – Being a
skilled asker-checker outer.

408 AB
09/12/1989
9-12-89 Asking Technique – Nightwatch & rest needs – Diet contributing to reduction of hormones –
Using “Mind” that flows through Older Member – Getting to the bottom line of your question –
Learning what to ask & asking it.

409 AB
09/15/1989
9-15-89 Asking Te & Zeroing in to our Primary Questions – Looking more into Jewish feasts & how they
relate to us – Call the names of our teachers & picture them – Lesson on Srr not asking Do for his
conclusions – Ask Te “If this is not a proper question to direct to you let me know.” – Ask to be shown
how Ti & Do do things.

410 AB
09/17/1989
9-17-89 Competing with Older Member – Trusting your own judgment over Older Member – Not
important to just excel as a good student but excel at eliminating your own mind – Higher priority to be
of the same mind – Good questions can get good answers without verbal answer or with pen – Check if
the words you choose are like Te’s – Not right to ask Te in ways that would by-pass Do – Problem with
zeal is influences can use us to come up with incorrect solutions not given through Links – A
subconscious & visual block.

411 AB
09/26/1989
9-26-89 Let go of our Reasoning – Sustaining Remembrance of our shortcomings – Clinging to old
judgment & structure of thinking – Those left behind may start a church & keep a record of offences for
each individual – Church of the Bridegroom – Older Member forgives but doesn’t forget for our sake –
Forcing the vehicle to stay awake mentally – Physically & in behavior bridge the gap from Older
Member – Confidence & stability is separateness.

412 AB
10/06/1989
10-6-89 Talking excessively & how to work things our with your partner – Inappropriate talk – Learning
not to take the lead – Staying on the edge – Methadone using consuming – Dnc/Snn visit – Asking
“What areas can Do give me that I seem to be tardy in?” – The possible MO of “no tangible evidence” –
Movie “Innocent Man” – Getting tired of the diet & tricks of the vehicle.

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          66/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

413 A USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 68 of 147
10/06/1989
10-6-89 (con’t) Methadone using consuming – Reproduction is destruction – Don’t think of the 2nd Bus,
concentrate only on the 1st Bus.

414 AB
10/22/1989
10-22-89 Raising Standards – Creating your own procedure or design – Learn new program of dialog
with others – Learn the earmarks of negativity – The sharp edges of negativity – Questioning what was
given by your Older Member e.g. names – Learning Maturity.

415 AB
10/22/1989
10-22-89 Raising your Standards – Learning the earmarks of negativity – Learning discretion and
maturity – Being a concerned partner.

416 AB
10/30/1989
10-30-89 Questioning the Diet – Indv. Readings – Difficulty with fruit & the diet – Tuning into Vehicular
Problems so that they are magnified – Partnerships working together – Changing hairstyle –
Relinquishing all of your self – Doing things differently – Uniqueness – Becoming totally a vessel –
Allowing an appraisal is separateness – Becoming accountable.

417 AB
10/30/1989
10-30-89 (con’t) Relinquishing all of yourself – Becoming totally a vessel – Becoming accountable.

418 AB
11/04/1989
11-4-89 Vessels (Visible & Individual) Genesis 1:29 Seed bearing fruit for consuming & Genesis 3:17 Toil
for your bread – Herbs bearing Seed – 7 Day Adventists – Paper on Behavior in the Last Days – Invisible
vessels in our visible vessels (bodies).

419 A
11/04/1989
11-4-89 (con’t) Vessels (Visible & Invisible) – Paper on behavior in the Last Days.

420 AB
11/05/1989
11-5-89 Liars until we change our Desire – You’ve got to really want it – Deceitful ways that creep in –
Our heads in the right place in the way we see the class & dealing with Parents – Using a check partner
in the right way.

421 AB
11/09/1989
11-9-89 Getting Diet Back on Track – Vehicular responses to diet – How Do responds to our addictions –
Our Metamorphosis – Only need the raw items, not necessary to have legumes & starches – Diet has
nothing lacking – It is even extravagant for needs – Sleep needs diminishing – Our Resurrection.



https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          67/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

422 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 69 of 147
11/11/1989
11-11-89 Letting bricks build of Deceit – The Diet – Completing a Links Task – Strieber movie – Being
more honest with our new partners – Learning to be a more helpful partner – Not ignoring conscience
but using this Next Level tool – Reasoning too much – It is a justification – Our slow pace and the
conflict it causes – Knowing it is possible to lick death & turning things around with vehicle.

423 A
11/11/1989
11-11-89 (con’t) Letting the bricks build of deceit – Staying in control – Learning from the ways you have
fallen – Lucifer’s iron door of the family – When Life begins (Abortion) – What the resurrection of the
Dead is.

424 AB
11/12/1989
11-12-89 Being “Saved” from recycling – What “Saved” means – Where those who have left the
classroom stand – We can’t judge – Losing a grade – Snn’s Influence – “If I don’t I’m lost” motivation
doesn’t work – Invisible Vessels – Siphoning – Going over major & minor topics for a paper.

425 AB
11/12/1989
11-12-89 (con’t) Going over major & minor topics for our paper.

426 AB
11/14/1989
11-14-89 Space = + + – There is both positive and negative in Space – Good Guys & Bad Guys in Space –
The giants of the bad seed – We may not be primarily dealing with discarnates but the physical realm of
Lucifer – We don’t know if they’re confined to this planet – Srf’s Influence & how it worked.

427 A
11/14/1989
11-14-89 Space = + + – (con’t) There is both a positive & negative in Space – Identifying factor: Seed
bearing or non-seed bearing – This humanity belongs to Luci – Luci can’t take away our inheritance –
Luci & the reptilian type of EBE (serpent?).

428 AB
11/15/1989
11-15-89 Realizing Te’s position & our position & how lucky we are – Te being our “Father” (not in the
religious sense) – Quiet Room circumstance – Theory of 3 Heavens.

429 A
11-16-1989
11-16-89 How to address Te – “Do” not just our Older brother – Being too Casual with your Older
Member – Quiet Room procedures – Suffering – Giving in a little bit establishes a harder habit to break –
Habit of Exposure makes you trustworthy.

430 AB
11/18/1989
11-18-89 Why are we still here? – Eliminating Conflict – Praise = Thankful & Complimenting – Blanket


https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          68/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

praise isUSDC
          worthless
              IN/ND – Permissiveness – The habit of
                      case 3:22-cv-00395-MGG        permitting
                                                 document      the influence
                                                            132-8             in at the
                                                                    filed 07/24/23      time70
                                                                                      page   ofoftemptation
                                                                                                   147      –
Getting real – Do you love all the rules – Not in theory but in practice – Luci’s Camp Characteristics:
Independence & Furthering Humanity or Humanism – Knowing on the spot of Temptation.

431 AB
11/19/1989
11-19-89 Restoration Requirements – Acknowledgement/Confession – Immediate Change – Serious Slate
Cleaning Notes – At the point of confrontation is the test of temptation – Prescription for Recovery –
Characteristics of the “7th Grade” – Using humans to help us in a problem area – What a judgment is –
Being honest with yourself.

432 A
11/19/1989
11-19-89 Restoration Requirements – Characteristics of the “7th Grade” – What a judgment is – Being
honest with yourself.

433 AB
11/20/1989
11-20-89 Overcoming your Likes & Dislikes & our Logic & Reasoning – Test of no desires of your own –
Asking for Forgiveness – Making a list of major overcomings – Examining the volume of your
consuming – Lightening our Load.

434 AB
11/22/1989
11-22-89 How to write a Slate Cleaning Note – Following the Format – not missing the little things –
Using the same terminology – It’s not you but your vulnerability to influences – A good check partner
doesn’t just follow along with the other but they take responsibility & keep an overview of the task – Sng
& Dnc notes – Compassion towards Humans.

435 AB
11/22/1989
11-22-89 How to write a Slate Cleaning Note – How to shut doors to past vulnerabilities – Sng & Dnc
Notes – Indulgence of pleasure turns to indulgence in Nausea.

436 AB
11/23/1989
11-23-89 Major Offenses List – Overlooking cleaning your slate – Establishing a track record – Little
things repeated can become serious things – Discernment from the Next Level – Understanding what is
serious – Our changing diet – Fermentation.

437 A
11/23/1989
11-23-89 Major Offenses List – Little things done repeatedly can become serious things – Next Level
Discernment – Our changing Diet – Fermentation.

438 AB
11/25/1989
11-25-89 “Major” & “Other” Offenses – Knowing the difference between these offenses – Major is



https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          69/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

threatening
       USDCyour  membership
             IN/ND           in the class – Repeated
                   case 3:22-cv-00395-MGG    documentminor
                                                      132-8offenses  are brought
                                                             filed 07/24/23  pageup
                                                                                  71 at a slippage
                                                                                     of 147
meeting – Becoming comfortable with precise timing – Grammar – Withdrawal from Sweets – Yeast
Problems.

439 A
11/26/1989
11-26-89 “Major Offense” Notes – Daily Exposure – No structure to major offense notes – Should be from
the heart – Honest commitment & promise – We have to set our goals (draw the line).

440 AB
11/27/1989
11-27-89 Promise Note – Mental Communication becoming clear & precise – Consuming – Influences
know we are at a crossroads – Back to the Future 2 Movie – Being advanced in time – Anybody wanting
to return to the class – Being in the right grade.

441 AB
11/30/1989
11-30-89 Things Changing Quickly in the World – Prophesies fulfilled – What you listen to can come true
if you listen to it – How to be a vessel without rebellion – Separateness is thinking of your own needs –
selfish concerns – Knowing you can’t do anything without your Older Member’s help – Extension of one
mind not harmony between many strong minds – Having “your” own opinion – Sustaining wanting to
know what your Older Member thinks.

442 AB
12/08/1989
12-8-89 Immune Diet – Sensitivity to Foods – Food designed to kill you – 4 day rotation diet – Building
the immune system by not having the same food item every day – Not snacking as much – New Quiet
Room Bell – Quiet Room Procedures – Breaking Habits & Routines – Possibly starting a clinic with us as
patients

443 AB
12/08/1989
12-8-89 Immune Diet – Quiet Room Procedures – Possible Clinic with us as patients.

444 AB
12/12/1989
12-12-89 What is Unhappiness? – Dnc’s vacillation – No longer appropriate to re-apply back into the
class by previous format – Unhappiness is an insult to your Older Member – Lines being drawn that
affect the next step – Getting to the point where we have no other desires except to be ready – Soul
searching in positive sense – Knock out blows – Degree of Consistency.

445 AB
12/13/1989
12-13-89 Sloppy Procedures – Inappropriate remarks to Dnc before leaving – Messages Dnc will give to
the ones in Dallas – Lesson on appropriate times to relax – Priorities – New name endings. You can lose
the mind that has been given to you if you have not used it properly – Those who have left have not
been cut off, they are just in a lesser grade – Time for us to start functioning as a Crew.




https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          70/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

446 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 72 of 147
12/23/1989
12-23-89 Older Member’s Bond to Us – New partnerships – Nothing can compare to our relationship
with our Older Member – Not sharing our attention – Nothing can distract you – How partnerships help
each other by “being on their side” – Respecting each other – The right kind of confidence.

447 AB
12/25/1989
12-25-89 Courage to take the Next Step – Ask that we don’t have any limitation or hesitancy –
Understanding multiple personalities of a human & the main computer bank – One soul with multiple
influences – The one we displaced in this vehicle – Being keen enough to be a good vessel – Learning by
what comes through you.

448 A
12/25/1989
12-25-89 Courage to take the next step – Being keen enough to be a good vessel – Learning by what
comes through you.

449 AB
12/30/1989
12-30-89 Who we would minister to – Immortal Body – Aborted trip to Calif. – The Poor, Black, Social
Misfits – Hazard of TV medium – Indestructible Soul & Immortal Body becoming compatible – Moore’s
conspiracy of misinformation – World Government – Vatican’s role – Lucy’s plan to have human’s fear
aliens – Reincarnation is a chance for a fresh start – Disciplines of Diet – Where to locate in order to do
this project.

450 AB
12/31/1989
12-30-89 Being happy in the craft – Exaggerating your circumstance – Not endorsing negativity – Not
taking the Next Level for granted – Setting up a Monastery – Giving up OOC tasks – Not telling the
humans what to do but proposing a hypothesis.

451 AB
01/03/1990
1-3-90 Improving Our Percentages in Being a Better Vessel – Possible Diet changes – Monastery – Quiet
Time changes – Learning to exercise our own thinking that is evidence of pulling in and exercising our
Older Members mind – Do’s paper about his Older Members Mind – Losing your own logic as you
become a better vessel – Seeing that that mind lives within you.

[Tape missing. Cassette in holder is an audio recording of Beyond Human, session 10]

452 AB
01/03/1990
1-3-90 Improving our percentages in being a better vessel for our Older Members mind – Examining all
the programming in your head – Plugging into the right source.

453 AB
01/07/1990
1-7-90 The gifts we receive – Writing task lesson – Diet changes – A way to better access our Older


https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          71/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

Members    mindIN/ND
        USDC     – Asking
                     casetoo broadly – Ask for specific
                          3:22-cv-00395-MGG             areas
                                                 document     of knowledge
                                                            132-8            – Focuspage
                                                                   filed 07/24/23    with73
                                                                                          clear labels that
                                                                                            of 147
identifies what you want to improve – Why don’t we have the power behind the things we say – When
you ask & mean it then the gifts may be given to you.

454 AB
01/07/1990
1-7-90 The gifts we receive – Knowledge & strength are gifts – Having the power of thirst to have the
knowledge at your finger tips – We may become teachers – The Kingdom of Heaven is at hand only
when you are ready to move into it – What going public might mean.

455 AB
01/08/1990
1-8-90 The 1st & 2nd Resurrection – The Trumpets – Holding public meetings – 24 Elders – The MO of
the Monastery – Moving into trailers – Next Level will not force us – It is our choice – What we will say
to the humans – The knowledge of how to make the transitions is what we bring – To purify a sinful
vehicle – Giving your soul form that makes it your true physical body.

456 AB
02/06/1990
2-6-90 Beyond Maintenance – Finding our Spark – Current Events – Lucy’s genetic experiments – Races,
Education, Bible – Black Heritage – Not being a submissive robot – Becoming vital & creative – Thirst
beyond having just good conduct – Getting Connected – Being more ready for what our task might be.

457 A
02/07/1990
2-7-90 Negativity “Stains” – Keeping our Guard Up – Homework is remembering slips & catching
yourself before slipping in that way again.

458 AB
02/07/1990
2-7-90 Negativity “Stains” – Keeping our Guard Up – Understanding Next Level experiment (human)
origins (Adam & Eve) – Not necessary to save endangered species – Next Level harvest of a “Few Good
Men” – Jewish & Christian Karma – Knowledge vs. Carnal Knowledge – Lesson on letting things out of
your mouth before catching them – Homework is remembering slips & catching yourself before slipping
again.

459 A
02/06/1990
2-6-90 Beyond “Maintenance” – Finding our Spark – Thirst beyond having good conduct – Getting
Connected – Being more ready for what our task might be.

460 AB
02/24/1990
2-24-90 Improving our Percentages – Video Task – Possible new craft – Our grades may be in – Evidence
of Next Level Mind in our actions – Creative Thinking (either influences or old programming) – Can’t
just be in agreement with Older Member’s mind – Don’t grab on to the 1st thing that comes into our
brain – Examine if from Older Member’s mind – New keys in Computer




https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          72/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

461 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 74 of 147
02/24/1990
2-24-90 (con’t) Improving our Percentages – Lack concern about self – Not getting tired of tasks –
Wanting to be in control of a situation – Being a tool – Not initiating – defense mechanisms towards
others – Examine before saying anything if Older Members have gone through that – Asking check
partner to help you – Graded on How you do things.

[Tape missing. Cassette in holder is labeled with the following: “6/9/93 61 MIN OLDER MEMBER
BEING OUT OF THE LOOP”]

462 AB
02/25/1990
2-25-90 Making Specific Significant Changes – Slate cleaning lessons for individuals – Not getting
burned out – Unconsciously taking the classroom for granted – Maturity – Keeping the Quiet Room
consciousness with you all day – Knowing you are the sons of your Heavenly Father – Conquering those
areas you still slip in – Can’t blame yourself for influences sent to you, only for giving in to them.

463 AB
03/29/1990
3-29-90 Conscious Asking – Video Project – The inadequacies of working through these antiquated
brains – Asking is not done on automatic – Imaging what Te was like to ask her questions – Recalling her
objectivity – Her Patience and her impatience (deserved).

464 AB
03/31/1990
3-31-90 The living answer is better than the record answer – Who Lucifer is depends on where you are in
your growth – Paying our dues (Karma) – Not trusting any of your responses – Always trying to
upgrade how we handle something – The Project will set the stage for promoting the Next Level reality
and our exit – Deceit in the world.

465 AB
04/07/1990
4-7-90 Different Stratas in the Next Level – Exclusive interviews with Do – Dreams – Information kept
from the Masses – Superstition.

466 AB
04/11/1990
4-11-90 Who really is in our Father’s house? – 90% of the aliens are part of Lucy’s forces – No addictions
or reproduction – The identity is preoccupied with its service – Our Father’s House is the Level above
the Level above human – Lower forces are counterfeiting – Gov’t preparing the humans for Aliens –
Skills are not important in our Father’s house only the Ways – Our Father’s house is very small in
number of members

467 AB
04/17/1990
4-17-90 Taking responsibility for our own conduct – E.T. Clearing House – Discerning who of the ETs are
from our Father’s house – Single Adult – Not using “Magic” nor self important – Non-sexual – No
digestive system – Lesson on our poor performance & not being honest with ourselves – Influences
taking a stand against us – Being held Responsible for our Subconscious actions.


https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          73/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

468 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 75 of 147
04/21/1990
4-21-90 This meeting occurred on the night of the flood – The Next Level uses diseases to regulate how
long minds stay in vehicles – Why Te left her vehicle – The Next Level’s main interest is not the vehicle
but the mind – The position we are taking may assist the government – Hostilities against us may
dissolve some – Any who want to be of service are still given the opportunity – (con’t)

469 AB
04/21/1990
4-21-90 (con’t) The Project & Te’s involvement in it – Separation from our Older Member comes in the
differences in behavior – Constantly examine how you differ in your behavior.

470 AB
05/02/1990
5-2-90 Not Seeing a Lesson Properly – Reasons for this project – Learning to diffuse influences –
Telephone procedure with a check partner.

471 AB
05/05/1990
5-5-90 Grey’s Recruitment Program – Thoughts on “Chakras” – Earning a grey vehicle by overcoming
specific areas of human function – Different Levels in the Next Level not knowing much about the levels
above them – Rapture & when it happens – Exposure is part of recruitment – Advanced humans from
another civilization.

472 AB
05/14/1990
5-14-90 The degree of reconnecting with your Older Member – How to speak to Te & getting our
relationship with her back where it belongs – Lucy to us is only what is less than what we should desire
– Examining for those thoughts that would be inappropriate – Thoughts separate or different.

473 AB
05/26/1990
5-26-90 Preoccupation with Our Problems – Rather than asking for improvement – Making time
available for Service – Rkk’s impatience & what will happen to the project – Feeling good being in the
state of readiness – Do we allow things to interfere with being ready for service?

474 AB
06/05/1990
6-5-90 Learning to be a tool by how you ask – Some ideas on how the Project will be set up – Not trying
to please your Older Member with your product buy by how you do the task – Set patterns of thinking
unlike your Older Member (addiction).

475 AB
06/22/1990
6-22-90 Do taking an Emeritus Position – Links travels – Antichrist seated in Israel 40 years ago when it
became a nation – no nation more antichrist – The knowledge of the Kingdom of Heaven will come
again not Jesus – Saints return to judge the world – Abomination that makes desolate – What you believe
is what will happen to you – The degree of our devotion will find us in dif. dept.



https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          74/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

476 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 76 of 147
06/22/1990
6-22-90 Do taking an Emeritus position – The degree of our devotion will find us in a different
department – Tapping the right mind – Day of greater Responsibility of staying on the Straight &
Narrow.

477 AB
06/24/1990
6-24-90 Anxiety for Change & Taking greater responsibility – Test of blocking negativity – We are now
trying to find the next step for ourselves – Unsatisfied with your rate of change – Developing a nausea at
falling off the wagon – This circumstance is unique & will not be offered the same way again.

478 AB
06/24/1990
6-24-90 Anxiety for Change & Taking Greater Responsibility for your own growth – This circumstance is
unique & will not be offered in the same way again – Learning to up your wattage.

479 A
06/27/1990
6-27-90 Starting a New Leaf – Winning Every Round (some of the meeting was not recorded)

480 AB
07/01/1990
7-1-90 Communication, Detail, Alertness & Reality – Rkk going the big money route with Spotlight –
Inevitable watered down version – John Paul Oswald & his awareness of the gov’t plan & how Spotlight
is getting in trouble – Oswald’s way of becoming perfect.

481 AB
07/01/1990
7-1-90 Communication, Detail, Alertness, Reality. [No label]

482 AB
07/08/1990
7-8-90 Overcoming Sleep, fuel & Speech – Benjamin Creme 7 Pastor Rod Parsley & their predictions –
Helping Do pull on the rope for our next step – Being uncomfortable without a partner – Reason for
needing fuel is connected with not keeping Next Level thinking in our head – Being seriously concerned
with our timetable – Relating to Public – Not just trying to maintain positive thinking but not having
inappropriate conclusion.

483 AB
07/10/1990
7-10-90 It is not what we consume but how we think about it – Allowing judgments about a consuming
item that is unlike our Older Members – Having likes & dislikes – There is still a significant amount of
bucking about consuming – Trust what we are doing is right.

484 AB
07/12/1990
7-12-90 What we desire (love) is what we will get – Reaching a point of no anxiety – Our desire to have



https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          75/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

Next Level
      USDC  Mind  occupy
              IN/ND  case our vehicles – The presence
                          3:22-cv-00395-MGG           of conflict
                                                document  132-8 means     there is absence
                                                                  filed 07/24/23   page 77 of
                                                                                           of Next
                                                                                              147 Level
Mind – How to increase our craving – You must convince the Next Level & increase your suction –
Walking in the Light means no “Shadows” – always exposed – keeping your house clean.

485 AB
07/12/1990
7-12-90 Walking in the Light – Seeing the negative in your point of view & finding a positive
interpretation – Depersonalization of your Older Member – By even acknowledging the influence
enough to fight him means you have not won the fight because you didn’t stop it within the first few
seconds.

486 AB
07/14/1990
7-14-90 We Are Clean – Forgive yourself & others of all things omitted & committed – Don’t recall past
“Shadows” – Who is part of our Father’s Kingdom & who is not – Technical advancement does not mean
a civilization is part of our Father’s Kingdom – Letting go or our old identity – Moving into & devouring
a chuck of Next Level mind given to us so it becomes part of you – Being able to hang on to it.

487 AB
07/22/1990
7-22-90 Do’s Dream of EBE Visit – Human equivalents – A desire to overcome is very unique – The
disciples, Essenes & Jesus’s rule – Unified Government – Remaining Single Minded – Energy fields of
vehicle.

488 AB
07/28/1990
7-28-90 Staying Within the Law – Diet Litmus test & PH balance – Pastor Murray visit – Geneva Bible –
How attitude can effect the vehicle’s PH balance – Paying the price for Sin.

489 AB
07/31/1990
7-31-90 What forgiveness means – Oxygen in the system & mind – Repentance – PH Balance – Finding
the purer laws of the Bible – Raw vegetable diet – Evolvement of the Human Diet – Negativity burns
energy – Judgment in consuming – Getting forgiveness does not mean an individual learned the lesson,
it means they will get another opportunity to prove themselves.

490 AB
07/31/1990
7-31-90 What forgiveness means – Getting another opportunity to prove yourself – Learning by
experience is the only way to regain your position.

491 AB
08/10/1990
8-10-90 To see my shortcomings as they really are – World events – Subconsciously buying your own
limits – Hold onto craving for change – Not taking a day off – Learn to stoke your own fire – Ask to get
yourself out of the mind set you are in & change your concepts.

492 AB
08/12/1990
8-12-90 Obedience vs. Desire – Lesson on responding without judgment but only with acceptance – OOC

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          76/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

procedures
       USDC& how
              IN/NDtocase
                      handle certain situations – document
                          3:22-cv-00395-MGG       Not going 132-8
                                                            along but  having
                                                                   filed      things
                                                                         07/24/23    become
                                                                                   page 78 ofpart
                                                                                              147of your
desire – Seeing the value of procedures more quickly – Not getting into consuming – Misplaced
standards – Disturbances with others really is caused by being disturbed with yourself – Needing things
because others needed them.

493 AB
08/18/1990
8-18-90 Asking the Next Level How a Task Should Be Done – Symptoms caused by the need for affection
or approval – Transference of problem with jealousy – Asking for help in the pursuit of finding items –
How to please the Next Level through asking.

494 AB
08/26/1990
8-26-90 Trusting Your Own Mind – Diet – Negativity – Understanding the intention of the instruction –
How having your own judgments interferes with having a clean vessel – Negativity as a disease – Desire
for Cleanliness.

495 AB
09/01/1990
9-1-90 Our perception of time in regards to our task – What Flesh & Mind may be – UFO news & World
events – The Uniqueness of our Knowledge which separates from the World – It demands more trust &
faith – Diet – Human Equiv. on this planet.

496 AB
09/03/1990
9-3-90 Assessment & Judgments – “This” Vehicle – Trying to eliminate false concepts we have – What
Jesus was or was not is not important – Negative thinking destructive – Judging things by appearance –
“Everything is how you are attempting to control your behavior according to the ways of the Next
Level” – Not letting things mount & keeping slate clean – Stop identifying with the Vehicle.

497 AB
09/08/1990
9-8-90 Trying to Get Better Judgment – Consuming – Working with a partner – Not what you do buy
now you do it – Talking more than necessary – Trying to be helpful in appropriately becoming an
interference – Getting note re: OOC Task more in the right place – Hidden info. & Levels of Human
Understanding – The Grey’s – different types.

498 A
09/08/1990
9-8-90 Trying to Get Better Judgment – Hidden information & Different levels of Human Understanding.

499 AB
09/23/1990
9-23-90 Organic Food – New MO re: Monetary – DST lesson on permissiveness – Standards of Progress –
Next Level pride of being a different person – Procrastination not just putting off ding a task – Anything
I can do right now but don’t – How to stay close to your Older Member.

500 A
09/23/1990
9-23-90 Standards in Progress – How to stay close to your Older Member.

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          77/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

501 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 79 of 147
09/29/1990
9-29-90 Improving Standards – Diet – Lessons on selfishness & deceit & poor responses – Forethought
not afterthought – Using procedures for your benefit – Getting the temple pure.

502 A
09/29/1990
9-29-90 Improving our standards – Diet – using procedures for your own benefit – Getting the temple
pure.

503 AB
09/30/1990
9-30-90 No Defensive Responses – Connecting at the Root – Diet Updates – Misplaced Standards – Can’t
protect the heart.

504 AB
10/04/1990
10-4-90 The Check Book – Personal Refinement – Causes of the brain malfunctioning – Not presenting
yourself in the right way at your OOC task – Keeping a positive in our assessment of what is happening
to us – The trap of boredom.

505 AB
10/05/1990
10-5-90 Quality of our Trust – Do’s Dreams – Do’s response to the check book entries – Lesson re: Diet
book – Our consuming should jive with where our thinking is – Repetitious lessons are part of learning
procedures – Unit Mind.

506 AB
10/05/1990
10-5-90 Quality of our Trust – Do’s Dreams – Repetitious lessons are part of learning procedures – Unit
Mind.

507 AB
10/21/1990
10-21-90 Learning to quiet the mind – Consuming & understanding how our systems respond differently
– Shift into a gear so that everything is OK – Where can we be comfortable in this country – Influences of
a “Heavenly Host” – Check book not being used properly – Conversations in the car – Overseers.

508 AB
10/21/1990
10-21-90 (con’t) Learning to quiet the mind – Stopping the parade in our heads – Check book not being
used properly – Conversations in the car.

509 AB
10/25/1990
10-25-90 All Raw Diet – Moving faster in all ways – Natural Hygenist philosophy – Cleaning our temple
– Is it something I want to do or be a tool? – Have Te & Do asked you to think this thought – is it
separate?



https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          78/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

510 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 80 of 147
11/02/1990
11-2-90 Listening – Sustaining the Positive – Making checkbook entries properly – Quieting the mind –
How to stay helpful – Thankfulness Prayer – Aggravation – Jealousy.

511 AB
11/02/1990
11-2-90 Listening – Sustaining the Positive – Aggravation – Jealousy.

512 AB
11/08/1990
11-8-90 Filling with your Older Member’s Breath – Vivian Vitrano & Dane Griffin – Being careful in what
is brought up in meetings – Diet – How to treat those outside the class – Interferences to Links.

514 AB
11/13/1990
11-13-90 Influences working between us – Taking classmates from a higher place – Learning to handle
stress by taking it to our Older Member.

515 AB
11/18/1990
11-18-90 Atonement – Partnerships – Do’s dream about a package – Anxiety destructive to fast – Mind
seeing beyond the brain’s limitation – Prod of the teacher not good enough motivation – Objectivity
when sustaining desperation – Having your partner’s interest at heart.

516 AB
11/21/1990
11-21-90 Handling stress & anxiety – Needing to be filled in inappropriately – Allowing dismalness –
Remarks of Neg. Classroom growing pains.

517 AB
11/22/1990
11/19/1990
11/22 (Side A)

   » Partnerships to help us fill more quickly with Older Member’s Mind
   » Stop functioning as an individual
     -Becoming more concerned about partners needs
     11/19/90 (Side B) Partnership commitment

518 AB
11/24/1990
11-24-90 Lifting Blinders – Purity – Programming re: consuming is breaking down – Assigning a
partnership to assist another partnership – Knowing how to commit to a partner – Understanding
restraint – Sharing more with your partner – Learning to expose even a momentary response – This not
done can cause pressure to mount – Selfishness in consuming – Screaming for Purity.

519 AB
11/24/1990
11-24-90 Lifting Blinders – Screaming for Purity – Knowing how to commit to a partner – Learning to

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          79/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

expose USDC
       even a IN/ND
              momentary  response.
                    case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 81 of 147

520 AB
12/18/1990
12/18/90 85 min. End Time Strategy [Note on spine.]

521 AB
12/24/1990
12-24-90 Father’s Seed – Concepts of other religions – Natural to Next Level Ways (Family) – Ignorance is
a choice – Taking on a physical as well as mental characteristics of your true Heavenly Father.

522 AB
12/24/1990
12-24-90 160’ Father’s Seed
(2 of 2) (original) [Note on spine.]

523 AB
12/26/1990
12-26-90 65’ Exit Advocate
The Advocate for us is Do. Do is pleading our case to the Next Level – Do’s relationship to Ti has
changed when she left.

524
1/26/91 40 min New thoughts on our Changeover

525
Empty

526 AB
3/10/91 35 min The Gift 3/15/91 35 min Going public – Monastery Protection/ IRS 3/15/91 11 min Being a
Vessel

527 AB
3/12/91 50 min Housing Older Members Mind

528 A
3/17/91 45 min Fountain of Youth – Gladness/Thanksgiving

529 AB
3/19/91 52 min Not by bread alone but by
every word from God / Going public explanations

530 AB
3/19/91 54 min Q & A on going public

531 ABC
3/19/91 113 min Going Public M.O.

532
missing


https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          80/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

533 A USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 82 of 147
3/21/91 41 min The will of the Father / Diet: It doesn’t matter

534 AB
3/21/91 88 min Next Level working through us.

535 AB
3/23/91 85 min Overcomers – Reparatory Classroom

536 AB
3/27/91 75 min Overcoming time dimensions

537 AB
3/29/91 85 min Follow the Leader

538 AB
3/31/91 60 min Maturity – Restraint

539 AB
4/03/91 60 min “Overcomers Monastic Church” – Copying Older Member – Direct ministry to oppressed
& misfits.

540 AB
4/05/92 80 min God’s Touch Issues – Rejuvenation – Going public on satellite – Diet foods – List of our
questions for the show. Who would be on the show?

541 AB
4/06/91 80 min Last Day’s Overcomers Anonymous

542 AB
4/08/91 103 min (Part 1) Adam’s Sin – Purity – Being a Vessel
Adam’s sin being repeated (Disobedience & Seed Bearing Ways) Death becomes Adam’s sin. Wanting to
be pure.

543 C
4/08/91 103 min (Part 2) Adam’s Sin – Habits that limit Next Level mind from entering vehicle.

544 AB
4/11/91 53 min Next Level doesn’t need anyone

545 AB
4/12/91 53 min Losing control because you choose to.
Indulgence in emotions – Downers are continuation of indulgence.

546
4/16/91 –26 min–Listening to Another Voice–No secret Thoughts

547
4/19/91 -109 min (1of2) Revelation CH 20 & 21- Relating to Class- Seventh Day close to truth in some
ways – Not disposed.


https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          81/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

548 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 83 of 147
4/19/91 (1of 2)109 min Revelation – Ch 20 & 21 Relating to Class- Soul is the pillowcase for Next Level
Mind.

549 AB
4/20/91 (Part 1 of 2)140 min Complete Submission

550 CD
4/20/91 (Part2 of 2) 140 min Nursing / Revelation 22

551 AB
4/21/91 92 min Ti – Holy Spirit The Right Source

552 AB
4/22/91 61 min There is no Truth – Jesus’s Father was there physically but no one knew it. Ti is close to
us.

553 AB
4/26/91 80 min Respect and sensitivity to Older Member. Punctuality – Titles for a booklet – Bible
Questions

554 AB
4/27/91 91 min The meaning of sanctification – Resurrection completion – No concern about human
hostility or disease. Only consciousness is within the unit. Care about accelerating our sanctification and
if I am interfering with Next Level’s plan due to fear.

555 AB
4/28/91 55 min Overcoming our sinful nature. Do seeing the trash in humans.

556 A
4/29/91 40 Min 3rd Coming. Snn returns to Class. Cdd response
Mono fruit diet – Jack Van Impe 2nd coming is closer than he thinks. Also Seventh Day Adventists.

557 AB
5/01/91 80 min Born into a Royal Kingdom – Respect Born again means to be reincarnated to new
parents. Applying to the minute – overcoming familiarity – Dignified Love.
Faith and Trust

558 AB
5/06/91 71 min Vessel purity and Holiness.
Involves a presence – Clearing things in a new circumstance – Not so much zeal, but being calm to listen.

559 A
5/17/91 15 min God, UFO’s and You-
We are the midwives as Ti and Do were for us – Overcomers through HIM – Hang on to the Graft.
5/18/91 25 min Sabbath, diet – Sabbath is everyday for us – taking guidance & help from the NL in the
way they give it. Consuming is whatever the Lord provides -Coming up to where the truth is according
to what the Next Level wants.




https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          82/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

560 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 84 of 147
5/22/91 45 min Tell it like it is . Whole package is pleasing to them. Let the dead bury the dead.
5/19/91 10 min What it means to be viable.

561 A
5/23/91 22 min The light is here – God’s Schools.

562 AB
5/24/91 128 min (Part 1of 2 ) Humans play creators – Initiate going public. What more is there for us to
do?

563 A
5/24/91 128 min (Part 2 of2 ) Everything in the human world revolves around sexuality. We must initiate
going public.

564 A
5/26/91 – 31 min – Set up 2-3 churches – There is a flock out there – Meeting in a town is not practical –
No debts or possessions.

564 B
5/27/91 59 min – Critique of filming – Clarifying our thinking – Ethiopian Jews – Ti forced us to go public
by forcing us to move.

565 C
5/27/91 90 min – Ti and Do had their addictions in order to show us how to get out of them. Human
characteristics uncommon to the Next Level. Discarnates and souls.

566 D
5/27/91 – Soul is the pillow case for Next Level mind.

567 AB
5/28/91 – 90 min – Starting Armageddon – Why monasticism?
Aliens vying for human souls – Charge for mtg – name tags

568 AB
5/29/91 – 90 min – Entry Requirements for other God’s School’s
Born of the spirit Monastics, Who are the elect, The trap of individual rights. They feel they are lost in
this world.

569 AB
5/30/91 – (1of 2) 105 min – The different God of School Candidates – Aliens relating to Humans.

569A Side C
5/30/91 – (2 of 2) 105 Min – Gos school candidates.

570 AB
6/01/91 – 80 Min – Cosmonastic Servants of the Most High
Selflessness – Part of the family – Phrase to identify ourselves.




https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          83/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

571 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 85 of 147
6/3/91 90 min – Who’ll fire the first shot – Clarifying what our message is – Disciples going through
death/resurrection. The aliens want us to surface to shoot us down. The degree of your desire/love is
what binds you – Lnks encounter at Mt. Shasta.

572 AB
6/05/91- 84 min – Approaching New Agers – Christians may not be ready for this. Level of
enlightenment is equal to your behavior – Perception is parallel to trust & Belief – Lucifer does most of
his work with the Christians.

573 A
6/06/91 – 49 min – Casting out influences – The influence that works on Snn – Pattern’s of high and lows
-Analysis opens door to negativity.

574 AB
6/08/91 – 126 min – Outline of presentation – Be of good attitude – Poor in spirits – Why celibacy?

575 C
6/08/91 – 126 min – Difference in midwife role.

576 AB
6/09/91 – 124 min (1 of 2)– Allergies, Overcoming, Intolerance
Mind is what fills the soul – 2 meanings of mind – (soul or brain)

577 C
6/09/91 – 124 min (2 of 2) – Compatible with lower fuel – EBE’s allergic to this planet – Sensitivity is not
critical of making the sacrifice.

578 AB
6/11/91 – 50 min – Purity – No Thoughts of my own – Our false starts have accelerated –
Experimentation of second coming – No reason to be disturbed – The gift of questioning.

579 AB
6/14/91 – 71 min – Death, Separation Formula – video project – Getting rid of an influence – Ask
forgiveness, that is grace – Format for talk show – Formula to get into Kingdom of Heaven – This school
is like a family – Jesus reincarnated because he pre-existed – imperishable body given to incorruptible
soul.

580 AB
6/15/91 – 121 min – (1 of 2) – Soul is like an overcoat – Not responsible for the demon, just to get rid of
him, – no reason for guilt- What I am is the chooser & the servant. Looking for a new parent (your
heavenly father)

581 C
6/15/91 – 121 min (2 of 2) – What is life – Soul is begotten – Our fathers kingdom only created Adam’s
strain.

582 A
6/16/91 – 43 min The Only Truth



https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          84/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

583 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 86 of 147
6/18/91 – 87 min Sorting it out/Rev 1,2,3 – 7 churches
God’s Schools and ET’s . Rev 1,2,3 are the first three churches of the 7 churches. 1st church, dropouts –
2nd church – Our Class
3rd church is Ascended Masters and New Age

584 AB
6/20/91 – Rev 1,2,3 – Last 4 churches – Celestial $ terrestrial bodies (Glorified) 4th – Claire Prophet / 5th –
Born Again churches / 6th – The one who would respond to us / 7th – Establishment (religious or
otherwise) – The meaning of the
Greek words to explain the physicality of entity in Next Level.

585 A
6/22/19 – 48 min – Souls in Animals – Accuracy of details – Knowledge is not static unless you’re static-
Many souls can occupy a vehicle at once.
6/23/19 – Souls – Traffic control of souls- We are trying to have only 1 soul in our vehicle.

586 A
6/24/91 – 48 min – Corporate Structure Analogy – Parallel in Robin Hood movie – Celibacy in religions
not done for the right reasons – Using the bible in our videotapes – stick to Jesus quotes -Urgency –
Corporate structure analogy – Thy will be done, not mine.

587 AB
6/25/91 – 81 min – Time Lock – Made of Lies
An influence that wants to succeed in the classroom – Extention can’t wait to be leader – The
Philadelphia Exp – Time and space are linked – Overcoming a time period – Real time only happens
when Next Level is present – your desire is your real place & time.

588 AB
6/27/91 – 90 Min – Overcoming Formula
Lucifer & his angels may be still confined to earth – Present age & age to come – How to approach
subjects on video- Using the lower force for healing – Next Level vehicle is flesh & bone (no blood) – The
two corporations (Our Fathers & Lucy’s)

589 AB
6/28/91 – 104 min – Progression of souls clarified –
Understanding Time – Souls from the previous age (saved) for this age – Fallen angels and aliens – plan
of salvation – Remnant go to a new earth and new heaven.

590 C
6/29/91 – short continuation of clarifying progression of souls.
(two short meetings) Listening & asking influence of wanting to do something well – Not needing or
wanting to do anything – Hiding from Older member in private thoughts.

591 AB
6/30/91 – Speaking on multi levels at once – Scenario that is non-religious or spiritual – Explaining the
Chief & how & why he created the planet – Explaining the son’s mission – Living life to the fullest is a
guarantee of death.



https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          85/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

592 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 87 of 147
7/01/91 69 min – The Word is the Mind of the Father.
Figures of speech – Man is appointed once to die (soul) – Reincarnation – God hardened their hearts.

593 A
7/03/91 – 62 min – Looking for clues in the bible
OLL’s lesson on flexibility and speed.

594 AB
7/04/91 – 180 min – Real Evolution – Missing Links
Asteroid destruction to end this age. Independence and individuality – Your polarity is what gives you
life – sublimating weakness from one area to another.

595 CD
7/04/91 – 180min – Real evolution – Missing Links.
Polarity propels you – Sublimating weakness, one area to another.

596 A
7/05/91 – 43 min – Say it like it is Re: Teachers
Saying teachers left – How to approach this on videotapes.

597 AB
7/05/91 – 83 min – Terminator II movie parallels
Jesus went back in time – official duty of resurrected saints.

598 AB
7/06/91 – 89 min – Subtle influences – Terminator II
Influence of familiarity with classmates. Our God is a jealous God – Working with a classmate as if a
teacher was there. How humans respond to when the Next Level comes can change the course of the
soul’s direction.

599 A
7/07/91 – 45 min – The Approaching Planetoid – It is nearing the end of a cycle for this planet – This is a
natural cycle & not a doomsday scenario – Heaven could be a planet – No pathways are predestined.

600 AB
7/10/91 – 82 min – Going public with MO of teaching them to ask & not telling them. The game of
thinking we may go public – The Lord giveth & he taketh away. Purity rights. Societies Stumbling
blocks, the ties that bind, Liberation- Teach restraint- Don’t tell others what to do- ask & we receive – Tell
& we push away.

601AB
7/11/91 – 60 min – God’s Extraterrestrials – Creator designing a a circuit board with positive and
negative sides – In our Older Members house 24 hours a day – Format of sorting out the good and the
bad. ET’s- Adam has a spiritual body & when he fell he has a flesh body – getting a celestial body.

602
Missing




https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          86/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

603 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 88 of 147
7/14/91 – 20 min – Posture, Nieve. Response to Armstrong
One of those who represent the force against the Next Level-
The Twisted Logic

604 AB
7/16/91 – 94 min – God’s Extraterrestrials/A Different approach
Concept of reincarnation in the bible. The cop out of “Being Saved” – The fantasy od what & who dwells
in the heavens- expressing thoughts in a meeting inappropriately – liking to express in your silence.
Lucy counterfeit – Judge Father first.

605 AB
7/19/91 – 85 min – Finding a slot to fit in with humans
What can we speak with authority on – Total Overcomers Anonymous MO – Hideous humans -Can’t be
intolerant – Knowing I can hang on even if I am alone.

606 A
7/20/91 – 40 min – Responsibility for children if we go public.
We should change their source of nourishment – We would only do this if we were forced to- Either by
being “compelled’ to set the record straight about the Next Level or the Next Level makes it clear we are
to do it. Lucifer doesn’t know the power of the Next Level. You can be tested even after you get to the
Next Level whether you choose the right side. The souls of different religions is their “race”.

607 AB
7/22/91 – 63 min – Why we are still here -N.L. Morality
No moral or immoral behavior in the Next Level – It is either an interference, beneath their M.O., it
doesn’t work or is inappropriate behavior. Pollutants (thoughts) – Lucifer saw no value to the Chiefs
rules & hygiene – Mediation is just clearing head & staying in a listening/asking state – Deceit is extreme
pollution – desperate seek & search.

608 AB
7/27/91 – 66 min – Not Compromising / Clean up Act
Urgency – Commit to Ti to no longer put on the brakes- Being understanding is like being permissive to
that vibration – Accountable for thoughtless actions – Ignoring instruction of exposing and examining.

609 AB
7/28/91 – 112min – (I of 2)How to get closer to Older Member –
Think of yourself and what things mean to you instead of what you are to them. JMM familiarity at
OOC tasks. In trouble if denying yourself of something you still want.

610 C
7/28/91 – 112 min – ( 2 of 2) Keeping things exposed. Doing a task each time differently. No opinions or
judging differently from Older Member. Current aware ness of Link’s intention – not doing something
out of habit.

611 AB
7/29/91 – 55 min – Extension of Classroom dragging feet –
Not aware when dragging feet – Diet- NRR’s exposure- Some individuals doing better outside the
Classroom.


https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          87/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

612 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 89 of 147
7/30/91 – 75 min – Value of Staying Clean –
Classmate’s Exposures. Chummy Influence – Deceit easier if “little” things not kept exposed – Deceit is
adulty if you really love someone – Love yourself more if you keep secrets – Take a stand to protect
yourself.

613 AB
8/1/91 – 105 min – (1 of 2) Sustaining an instrument of service.
Unquestionable magazines -Familiarity & touching at OOC task –
Being critical or encouraging- listening or verbalizing negativity – taking advantage of the truth-
accountable only for influences you permit, not those of others.

614 C
8/1/91 – 105 min – (2 of 2) Who does this should & vehicle belong to – Influences will keep coming
around.

615 AB
8/04/91 – 70 min – Copying Older Member is Getting Closer –
Less need to be expressive & more to be a sponge. Sharing negatives with Partner not constructive –
Volume – Countenance – Not what N. L. means to me but what I mean to them. Increase silent
conversation with Older Members.

616 AB
8/09/91 – 90 min – Last Days Survivors Respecting Others –
Lessons on liking others requires respect of others – To be “recognized” requires looking to the other
person – not getting “fixes” at OOC tasks – Liquid diet – You don’t really do anything because your
heavenly Father will start the process of weaning – Getting your house in order & waiting for him.

617 AB
8/25/91 – 19 mins – “Truth Searchers” – Going Public
Not identifying with biblical Characters
Our beliefs updating & changing constantly
Oxygenating the system
8/27/91 – 39 min – Losing Identity
SNN bypassing an influence – DST not initiating – Destroying your own identity.

618 AB
8/31/91 – 19 min – Positive results from every choice
Links trip & brake failure & how it was handled.
9/01/91 – 57 min – Thoughts similar to Links
Having thoughts that Links would have lesson on moving truck for Links return – Lesson negative
thoughts & diet – Checking notes. Repose – resting lightly.

619 AB
9/02/91 – 69 min – Terminology Re: Diet & Symptoms
Inaccuracy in communications & statement of beliefs – The father can choose anyone who has lost
identity to finish the task of Jesus – Controlling our food addictions.




https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          88/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

620 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 90 of 147
9/06/91 – 77 min – Sweeping out your closet daily
Go over every day any action or response that could be questionable – Develop a list with partner of
areas we should examine – Deceit and weakness – exposure ASAP – Independent thinking – suggestions
– no identity – staying updated in your thinking – lack of keenness is breaking procedure – stopping
domino effect – positive countenance.

621 A
9/07/91 – 45 min – Sacrificing the pure / The “I Am” concept.
Going public to tell the truth – Martyrdom is not a motive or task will fail – Addiction of clinging to
“Life” -The “I Am” concept.

622 AB
9/11/91 – 71 min – Red Letter Answers / Re; Diet & Public
Looking at the “Jesus Words” (red Letters) for answers on our diet & going public – Becoming part of
Lucy’s seed – Ending the fast – Class has proven their loyalties – Ti is our only source –
Waiting until tares are gathered first – Expression of the soul is the mouth.

623 AB
9/13-14/91 -62 & 33 min- Going back to Ti’s consuming
Who Do we think Ti is – Trusting what Ti chose to consume – Compromising our consuming – items Ti
consumed

624 A
9/15/91 – 29 min – Taking Advantage of Closeness of Older Member- Examine what Ti had us do before
leaving her vehicle – Showing Ti we want to mimic her – Struggles & rebellious we may deal with – DST
being on automatic – Being of your word – the fear of the Lord causes change.
9/22/91 – 18 min – Lesson on consuming – Knowing that we don’t need to consume – consuming what
you need – No craving for consuming or non-consuming – aging – choosing static.

625 AB
10/13/91- 95 min – Closer to Older Member through physical separation – Bouncing back from Lessons
Can’t play human games any longer – Going along with instructions for no good reasons or right
motivation.

626 AB
10/19/91 – 80 min – “New Core Unit” – Topics for TV show
Rejoining the family (N.L.) of soul. The true family is not the family of the plant. Adversity will increase
our thirst – Influence of separate analysis and judgement.

627 AB
10/21/91 – 115 min – (Tape 1 of 2) Overcoming Lucy & his Many angels
Separation from God – What to say & what not to say _ What Ti’s leaving taught us – Testing Likes &
dislike – Speed appropriate for Next Level thoughts.

628 C
10/21/91 – 115 – (Tape 2 of 2) Overcoming Lucy and angels
Appropriate speed of NL thoughts



https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          89/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

629   USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 91 of 147
Missing

630 AB
11/01/91 – 157 min (1of 2) Space aliens vs Our Fathers House
-Lucy’s seed transferred through reproduction
-Space aliens intoxicate humans through sensuality & religion

631 C
11/01/91 – 157 min (2 of 2) Space aliens vs our Fathers House
Tapering with dairy products and meat – Do your own thing & capitalism – missing link between
heavenly body & human body.

632 A
11/03/91 – 41 min – Ti’s Strong Presence – “I and Ti’s”
I have no fear – My metamorphosis is complete – Having the same head space as our Older Member.

633 AB
11/05/91 – 88 min – Glorified Body
Soul is spiritual body – Earth is only place for reproduction – Lucy and helpers came here to get bodies –
What our Father would look like. _ Understanding how we took over our vehicles – Building a spiritual
vehicle within the physical vehicle.

634 AB
11/10/91 – 57 min – True Meaning of believing on Him and being saved – Magic Johnson & AIDS. The
embodiment of lucifer in those trying for peace.

635 AB
11/08/91 – 63 min – Karma of the Jews
Karma regaining the land – Karma for regaining the land – understanding the Jewish position – Movie:
Homicide – returning as a thief in the night.

636 AB
11/10/91 – 85 min – Symbolism – Who has the truth / Karma being paid. When our last days are & end of
the age – our impatience with forces against us will lead us to overcome them-
Our separation from God – Help given in direct proportion to your belief & asking – Every wrong will
be made right – Next Level will regain Israel.

637 AB
11/11/91 – 127 min – # 3 Basic Requirements for entering the Kingdom of Heaven – Bound on earth,
bound in heaven – The physical nature of our heavenly Father – Overcoming done in physical body –
Your level of association with the Chief.

638 AB
11/13/91 – 102 min – (Tape 1 of 2) – Test of Truth – God’s Chosen – God’s sent – Lucy’s Has a hive
mentality – Understanding how soul enter a vehicle.

639 C
11/13/91 – 102 min – (2 of 2) Test of Truth / God’s Chosen


https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          90/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

640 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 92 of 147
11/14/91 – 82 min – Genderless Condition – Metamorphosis
Those put on ice – How to get the Next Level body – Satisfaction of the senses – ceasing the cycle of
reincarnation – correction to 11/13 meeting.

641 A
11/26/91 – 33 min – Becoming Flexible Teamwork
Going public in Southern California – For starters – learning teamwork – Limiting yourself by your
personal interests – Rigidity. Romance with your old identity.

642 AB
11/28/91 – 52 min – Prejudice / True Desperation
How we look at Older Member & Classmate & partner –
Disarming influence in conflicts – convincing others you mean it – Crew attitude – Addiction to
sensation.

643 AB
11/28/91 – 74 min – Looking to Others / Resolving conflicts
Convincing others you mean it – Prejudice.

644 AB
11/30/91 – 70 min – Beyond New Age – Last incarnation synonymous with “Last Days”- Breath – Basic
requirements for candidacy – Liberation from bonds.

645 AB
12/03/91 – 79 min – Looking for the right M.O. -The Soul’s Family – The rights issues – God’s soul clinic
where death can be cheated – Soul consciousness not Body consciousness.

646 AB
12/08/91 – 50 min – Last Days Overcomers – Grumpiness
Monastery or Total Overcomers Anonymous – Being up front – Heavens is a state arrived at –
Grumpiness is a slap in the face of the Next Level.

647 AB
12/09/91 – 55 min – I am the Way, Truth & Life – Meaning of life and Death – Corrected meanings of life
& death.
You are “born” when start to believe truth – Getting rid of identity- The speed element in putting truth
in motion.

648 AB
12/12/91 – 47 min – Strong Push mechanism – Genderless awareness – No Confidence in your mind –
Eternal life characteristic – Maintaining respect of Older Member by showing control.

649 A
1/1/92 – 27 Min – New Year’s Resolution – 19 Years later.
We are just visitors here.

650 AB
1/12/92 – 90 min – Putting on Armor – Human Perennial Nature-
Perishability of the Soul – tern “death” does apply to the vehicle – Second coming – When

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          91/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

metamorphosis takescase
       USDC IN/ND   place3:22-cv-00395-MGG
                           – Revelation is symbology – When
                                               document 132-8millennium  beginspage
                                                               filed 07/24/23   – Spirit
                                                                                    93 ofsynonymous
                                                                                           147
with soul.

651 AB
1/19/92 – 85 min – God Incarnate but Wrong God – Family Strain – Time to be sure we want to do this –
Our uniqueness in our behavior, baggage & what this task requires of us. Don’t waste time on
individuals who don’t recognize Fathers.

652 AB
1/24/92 – 78 min – Our Birthday Labor Pains –
The Next Level has entrusted us with a great responsibility.

653 AB
3/07/92 – 146 min – (1 of 2) Kingdom of Literal Heavens – Purity and Correction – Becoming an
appendage – Being a bride – The right committal – Convince OM of Loyalty and Trust.

654 C
3/07/92 – 146 min – (2 of 2) Kingdom of Literal Heavens-
Establishing new habits – No “little” differences – one righteous desire to please – Staying exposed.

655 AB
3/08/92 – 142min – (1 of 2) Yielding – Taking the Blame
Purity – Correction – Don’t Judge – Stop bristling

656 C
3/08/92 – 142 min – (2 of 2) Yielding – Taking the Blame
Be more flexible – Good concentration.

657 AB
3/12/92 – 74 min – Homeless/Addicts Monastery
Needing a physical place for those coming to go – becoming a shelter – Tell the world what we are & not
who we are.

658 AB
3/19/92 – 54 min – Boldly stating our task – Families response.
Souls from our families joining the Class – Uniqueness of our position – Overcoming influences is the
main task.

659 A
3/21/92 – 48 min –Not Bypassing Do–Understanding Committals
Not getting off track by directing asking only to Ti, but should also be to Do – Do is more our direct link
– Letting Links know where our heads are regularly. Understanding OM Committal.

660 AB
3/22/92 – 88 min – Let OM know your burdens – Family strain
Committal and response of families to our information.

661 AB
3/23/92 – 61 min – Time Perspective – A Blueprint
Understanding how the Next Level relates to a sequence of events and not time- Everything is just a
blueprint or a design.
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          92/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

662 A &USDC
          B    IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 94 of 147
3/26/92 – 96 min – Influences as Helpers-Evolution – missing links – How the vehicle responds without
letting the mind know – how others difficulty affects others – NL has no preconceived yield – capacity to
control involuntary response.

663 AB
3/30/92 – 64 min Launching an Evangelistic Team – Backsliding
Trusting older member – Holding your own. Testing of your will& Older Member will – FLX & ABL
task.

664 AB
4/03/92 – 69 min – Pyramind – Interacting with the public –
Recognizing how the next Level answers your asking – Loyalty & trust gained through battles won –
Determined not let things get you down. Got the “Goods” – New Poster.

665 AB
4/07/92 – 73 min_ Second wave has happened – its over.
Not delaying our overcoming by getting grandchildren – Next Level not interested in increasing their
numbers – There is religion and then there is reality – Being able to get closer to OM.

666 AB
3/28/92 – 96 min – Influences as Helpers – Seeing the NL
Clarifying how secret the Next Level way of making & doing things so that no one can duplicate.
Influences as helpers – seeing the Next Level – Humans asking for miracles – hot house analogy &
relationship to time – No such thing in real time.

667 AB
4/07/92 – 73 min – Repeat of tape 665 – 2nd Wave has happened.

668 AB
4/19/92 – Deaf ears to Influences – Going through the hourglass – Only listening to things that encourage
you. Can’t be structured in what you want to say to the public in a meeting. Alien & abductees and
offspring – Don’t know of NL involvement.(1 of 2)

669 CD
4/19/92 – Deaf ears to Influences. Taking advantage of your mistakes – balancing positive and negative.
(2 of 2)

670 AB
4/22/92 – Whirlwind of Change – Public Doors Close

671
This tape is missing.

672 C
4/24/92 – 49 mins – (Tape 2 of 2) Pleasing Older Member
Getting Personal Relationship with Ti and Do. Getting in a position where we would not be missed with
anyone if not there.




https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          93/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

673 A USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 95 of 147
6/19/92 – 49 min – Blocking Influences-Separating mind from Vehicle – OOC task looking – laugh at it –
Stop thinking about it – Mistranslation of signal – Can your thoughts be permissible.

674 AB
6/25/92 – 90 min – Change occurs when you want to change.
The diet & changes we’ve gone through – Partners soliciting correction – Still identifying with vehicle.
Inaccurate assumptions

675 AB
6/29/92 – 96 min – Reason/Justification degree in Older Member.
Both are lies -Thoughts trigger actions –Frequencies of humanism – you are not condemnable to the
degree that you are in your Older Member – The Significance of what you let occupy your mind – The
negative influence of no solution – Covering bets.

676 AB
7/03/92 – 116 min – Negativity like a computer virus –
Effects chemistry – Influences that use the chemistry to protect you – Recover from physical symptoms
by stopping listening to the influence.

677 C
7/03/92 – 116 min – Negativity like a computer virus – Soul must be keen to how to manipulate the
clothes it wears – replace old programming.

678 AB
7/10/92 – 95 min – Gifts / Dignity – Gifts from the Next Level – Ti’s dignity – Checking everything is
procedure – Verbalizing unnecessary thoughts – Not getting off track – Controlling volume of
consuming – Relationship with Older Member needs to be on more solid ground – Loose ends – Not
identifying with vehicle – Restraint – Speed in controlling vehicle.

679 AB
7/11/92 – 90 min – Being on the Front Line – Not thinking competitively – Task of parenting – Not
insisting what is right – Seeing Jesus in the Right Way – Quality of love that binds – Story Tellers.

680 AB
7/12/92 – 81 Min – BH#9 – Mastering Control / Getting Closer
Control in milliseconds – Change picture you have of your self – Expanding your asking – Play acting at
OOC task – Thicker skin.

681 AB
7/14/92 – 52 Min – Bonding to Do’s Mind – OOC task checking with boss – On sound footing – Test of
OM leaving you – Trust OM more than yourself – Fear that brings us closer.

682 AB
7/17/92 – 120 Min – (1 of 2) Increasing repertoire of asking –
Dst and why he was asked to leave the Class – The shoe can fit – learning self-examination- Can’t take
membership for granted Taking Links where he is coming from – Binding – Picture Ti’s way of handling
things – Gift of recognizing – Aborting thoughts.

683 C
7/17/92 – 120 min – (2 of 2) – No longer examining alternatives – Examining posture.
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          94/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

684 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 96 of 147
7/18/92 – 110 min – Keeping Older Member Happy with you.
Dst & Brn in Dallas – Perot – Selfishness – Getting Oxygen

685 C
7/18/92 – 110 min – Keeping Older Member Happy with you-
Things happening behind the scenes.

686 AB
7/22/92 – 90 min- Ex-Caretaker’s getting their Walking Papers.
Dst circumstance not working out well – Not relating in any way to the soul that was the caretaker of the
vehicle & convincing it to leave. Our minds have non-sexual orientation – taking on more of the
mannerisms of who we are in the Next Level. Alert team.

687 AB
7/24/92 – 120 min –(1of2)– Heaven, Hell, Purgatory & Limbo
Dst & Brn Situation – A non-sexual orientation – Treating all human thoughts a the presence of the ex-
Caretaker – Direct that soul to where it would like to go-taking a stern position.

688 C
7/24/92 – 120 min- (2 of 2) Heaven, Hell, Purgatory & Limbo.
Knowing what my Older Member likes – Overriding resistant –
Modesty – Physical closeness that is inappropriate – redesigning asking – Focusing our extra energy
upward- Particulars.

689 AB
7/25/92 – 76 min – Improving word processor – Does Ti like me?
Lack of confidence – understanding closeness – Ex caretakers can’t learn by listening only by doing-
remedial program.

690 AB
7/26/92 – 160 min (1 of 2) Understanding a Partnership
Resistance or hesitancy is an influence – applying what a partner brings up.

691 CD
7/26/92 – 160 min (2 of 2) Understanding a Partnership –
A mind grows very little on its own.

692 AB
8/01/92 – 148 min (1 of 2) Making the Team/Olympic Parallels
Pain & Correction – BRN& DST working things out – Can’t Cheat-Seeing those times we made a choice
differently that Ti – My preferences are only my Older Member preferences.

693 CD
8/01/92 – 148 min (2 of 2) Making the Team/Olympic Parallels
Joy of turning around a circumstance – No absolute truth – just follow the leader – my preference are
only my OM preferences.

694 AB
8/02/92 – 96 min –Total Non-permissiveness – Gender blindness
Raising standards – Olympic parallels – Restraint – Brn/Dst lessons – Exposure – Silent Asking.
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          95/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

695 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 97 of 147
8/04/92 – 141 min – (1of 2) Soul is a Physical Body
Physical container of the mind – This spiritual body is a gift that is given when overcoming the world –
Telling the truth in public but not taking recruits. Jealousy lesson – The object of going public is to get
back to Ti.

696 C
8/04/92 – 141 min – (2 of 2) Soul of the physical body –
Protecting our vibrations – Going public & not taking recruits.

697 AB
8/06/92 – 162 min – (1 of 2) Angelic Forces – Dealing with Aliens and Discarnates as we talk to humans –
Two souls vying vehicle.

698 CD
8/06/92 – 162 min – (2 of 2) Angelic Forces – NL judging souls – Confusion in trying to understand how
souls occupy vehicles.

699 A
8/07/92 – 34 min – Recognizing Ti – Influence trying to get us off track by going public – Not accepting
we may need to drop vehicles – Taking ne members would slow us down.

700 AB
8/08/92 – 123 min – (Tape 1 of 2) – Taking advantage of the Lesson – Older Member will rescue us – “Can
I see Ti doing this”

701 C
8/08/92 – 123 min – (Tape 2 of 2 ) – Taking advantage of the Lesson. Being too hasty to accept the bottom
line. No “what ifs”

702 AB
8/16/92 – 81 min – DC Intoning Task – Coming to a more realistic place in anticipation of reuniting with
Ti at a physical place – What you deal with shows where your head is at.

703 AB
8/19/92 – 109 min – Making Older Members Happy –
Illusion we have of where Ti is with our relationship with her – I must make the changes-

704 C
8/19/92 – 109 min – Making Older Members Happy
Do can’t make demands on us – Being too serious.

705AB
8/26/92 – 64 min – Talmud Emmanuel – Seed Bearing Planet
Billy Meir – This is a strong seed-bearing planet – Our knowledge is not based on Jesus’s Teachings.

706
Missing




https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          96/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

707A USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 98 of 147
8/31/92 – 41 Min – Directness in Asking – Dealing with humans at OOC task & handling human
attraction – Not needing to be liked –Taking advantage of opportunity to ask in silence – Asking for the
techniques to get rid of an influence – Asking to be given Older Members likes and dislikes –
Discernments. Asking is not a question – Please not always preface something an exclamation.

708 A
9/03/92 – 56 min – Letting joy wane while having our Older Member with us. Events happen in the
world – cashless society.

709 A
9/07/92 – 43 min – Not dwelling on the possibility of failure – Asking. Knowing how to ask in more
specifics – The expectation it will be soon.

710 A
9/07/92 – 43 min – Not dwelling on failure – Think in terms of taking this vehicle with us – The
expectation it will be soon.

711 AB
9/08/92 – 124 min – (1 of 2) The Identity of Being an Extension.
Saying and knowing we came from the Next Level – Genderless and have overcome the human level.

712 C
9/08/92 – 124 min – (2 of 2) The Identity of Being Extension
Container of data.

713 AB
9/15/92 – 110 min – (1 of 2) Knowing the Truth –
It will set you free. Lessons on Haircutting – Asking to expose repeatedly. Handling medical problems

714 C
9/15/92 – 110 min – (2 of 2) Knowing the Truth –
Becoming putty.

715 AB
9/17/92 – 51 min – Dan Fry Incident – Kundalini Force
Abuse of an unnatural force called Kundalini – Assignments for UFO Conference.

716 AB
9/18/92 – 52 min – Re: UFO Conference – Star Trek
The surveillance in the world – It wouldn’t be happening if it wasn’t right – Why instructions change.

717 AB
9/22/92 – 69 min – Time and Distance – Souls evolving Upward
Alien vary in stages of evolution – When do you want to go to?
Resisting clearly to human level.

718 AB
9/23/92 – 57 min – Alien “Boxes” – Adam & Eve from HQ’s?
Bound in heaven to what we we’re bound to on earth – Alien races not pure but hybrids – We were
chosen from alien races.
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          97/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

719 AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 99 of 147
9/25/92 – 52 min – Seeing through the illusion – Response to Al Bielek – Dropping all respect for human
intelligence – Burning Bridges.

720 AB
9/26/92 – 137 min – (1 of 2) Origins of Alien Vehicles
How much government knows – How Next Level handles tasks related to this planet. How Aliens
increase in numbers.

721 CD
9/26/92 – 137 min – (2 of 2) Origins of Alien Vehicles
The Next Level controls the “Gates” to move up.

722 A
9/27/92 – 37 min – Talks of Randy Winters tape on Pleidians

723 A
9/28/92 – 25 min – Response to Correction & UFO Videos
Response to losing control – Expressing separate thoughts –
When your curiosity goes beyond Older Members curiosity.

724 A
9/29/92 – 14 min – “Did Ti and Do tell me this?”-Worrying about things that didn’t – Being satisfied with
what comes from OM.

725 AB
10/1/92 – 95 min – Is this from your mind?
Crew consciousness- influence that would think Older Member is unfair – Influence of explanation –
How to make decision.

726 AB
10/9/92 – 64 min – The tests given to us. DNC visit with BRN.
Correction between partners. Is my interests, my OM interests.

727 AB
10/10/92 – 105 min – (1 of 2) Handling Correction – Movie “Hero” – less words in our direct asking.

728 C
10/10/92 – 105 min – (2 of 2) Handling Correction – investment in the Kingdom of Heaven –
Strengthening our immune system – Political situation.

729 AB
10/13/92 – 74 min – Getting on the same “Line of Thinking”
As Older Member – VP debate – Slippage meeting & individual lessons – Liberating ourselves from
presence around us – Living in a Dual Reality.

730 AB
10/14/92 – 65 min – Movie “Columbus” -Becoming a firm unit
Movie parallels – Learning to become a COG – Asking where and when this task will end.



https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          98/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

731 A USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 100 of 147
10/15/92 – 22 min – OOC tasks – An Extension of craft – Keeping mind on the same track – Holding onto
all things given to you by Older Member.

732 AB
10/17/92 – 120 min -Who was Jesus – Powers given to biblical characters from spacecraft – God is Creator
not creation (nature)

733 C
10/17/92 – 120 min – Who was Jesus – Humans and aliens must come to know of his existence – an I
hooked on time cycles?

734 AB
10/18/92 – 63 min – Jesus from HQ -Alien Manipulation of the planet – Doing things precisely as Links
would – World situation.

735 AB
10/22/92 – 52 min – Take it to Links – Handling OOC tasks

736 AB
10/24/92 – 91 min – Reprogramming Genes – How we assist Perot – Begging for acceleration – Death
syndrome programming – every cell has ears – antidotes to destructive programming.

737 AB
10/25/92 – 143 min – (1 of 2) Aborting Negativity Reprograming
Mind – Ask how to identify Symptoms

738 C
10/25/92 – 143 min – (2 of 2) Aborting Negativity Reprograming
Making a swift change.

739 AB
10/26/92 – 125 min – (1 of 2) Maintaining Positive and not listening to negative. Perot and the help he’s
getting from the Next Level – Follow through.

740 C
10/26/92 – 125 min – (2 of 2) Maintaining positive -Perot
Heavy Consciousness.

741 AB
10/27/92 – 64 min – I believe in Ti and Do. Strata’s of alien Groups – The world of political favors –
Different levels of Head Quarter’s activity.

742 AB
10/29/92 – 66 min – Deadline to get past Things – Getting more high-Tech – Sustaining knowing around
the clock –Connecting better with Older Member – Protecting ourselves from old tests.

743 A
10/28/92 – 32 min – Areas of vulnerability. Reduce and upgrade – Not knowing Older Member well
enough- Turning potential negatives into positives.


https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          99/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

744 ABUSDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 101 of 147
11/1/92 – 95 min – Next Level Relationships – Worrying about failure – Crew consciousness – Eliminate
“I”. Only source of nourishment.

745 AB
11/3/92 – 109 min – (1 of 2) No Eye Contact – Next Level Caring-
Liberal Democrats – Volunteering – Posture & disposition – Not saying I’m Sorry (John 17)

746 C
11/3/92 – 109 – (2 of 2) No Eye Contact with humans – Posture and disposition – Not saying “I’m Sorry”
– Glorify – Cleansing.

747 AB
11/5/92 – 121 min – (1 of 2) Why aliens are interested in humans.
Vessels – Not getting answers to questions in notes. Influenced by written word. Seeing through mis-
programming.

748 C
11/5/92 – 121 min – (2 of 2) Why aliens are interested in humans.
Aliens using discarnates to manipulate incarnates.

749 AB
11/10/92 – 72 min – Next Level Manners/Computer check partners – Influence can hide in the name of
restraint. Exposure- Not defending – suffering can be a very tolerable experience.

750 AB
11/13/92 – 52 min – Reasoning trap – Time in space craft. Religions enslaving people – Negative thinking
opens vulnerability – Selfish desires – Discriminating filter – Original thought.

751 AB
11/15/92 – 62 min – Theocrats / Time Travel can only be done by the Next Level – Humans just tune into
the blueprints – Metaphysical teaching can open doors but still has traps.

752 AB
11/18/92 – 70 min – Being a Good Check – Computers. Checking with LNKS before proceeding –
Malcom X – The influence that restricts others can also influence others to buy that limitation.

753 A
11/28/92 – 32 min – Only One Next Level

754 A
12/03/92 – 42 min – Control & Longevity – Putting yourself in the hands of the Next Level – Fear is what
you are afraid to lose. Stimulus that causes vehicle to respond.

755 A
12/05/92 – 46 min – Age of the Soul – Measured by thinking closer to Older Member – Accuracy –
Welcoming change – Conflicts of resentment & jealously – learning to listen.
Blank for 2 minutes at beginning.




https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          100/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

756 A USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 102 of 147
12/05/92 – 85 min – Generic Emissions – How we effect our OM Raising your frequency – USA’s true
desires in Somalia.

757 AB
12/07/92 – 73 min – Value of the Planet – Souls that don’t amount to much – Analogy of humans
compared to animals.

758 A
12/11/92 – 18 min – Feeling wired advancement of soul.

759 AB
12/13/92 – 56 min – Tested by Older Member says – Hygiene.
We are the control mechanism that allows which source of mind into our computer – Com Center
Duties.

760 AB
12/16/92 – 58 min – Back to Reality – Deprivation of information – Increased objectivity – Going forward
in human cycles – Overriding computer & computer & going back to where we were

761 A
12/18/92 – 28 min – Having a visit – Why we haven’t had it.
Matching who we are – how to think of Ti.

762 AB
12/19/92 – 27 min – Eliminating Uniqueness
12/21/92 – 69 min – Lower Life Forms – Concern for fishes –
Learning lessons as they are offered to you – Letting go of identity which is influence.

763 AB
12/21/92 – (con’t) – Lower Life Forms – Expectation stop decay.
12/22/92 – 27 min – Dealing with influences – Changing sensitivity and vocabulary. Knowing where you
stand. Hoping you can be acceptable.

764 AB
12/26/92 – 96 min – Working together / Vehicle match mind
Stubborn – Allowing influence to speak – Restraint and Higher perspective – Not getting down –
Bringing things up -= Computer living organism.

765 C
12/26/92 – 96 min – Vehicle Match Mind – Braking vehicle – Wiping out old program – Addiction to
sensation.

766 AB
12/29/92 – 110 min – (1 of 2) Can Soul Die? Mind Cleansing- Mind disintegrating due to negativity –
Concern for self

767 C
12/29/92 – 110 min – (2 of 2) Can Soul Die? Mind Cleansing
Concern for self in an influence.

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          101/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

768 A USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 103 of 147
1/1/93 – 19 min – Upgrading Standards / Tightening Belt
1/6/93 – 24 min – Alien Enemies – Upgrade Program – Sustain Next Level Consciousness.

769 AB
1/07/93 – 112 min – (1 of 2) – State of Desperation / Taking Correction – Not finding fault with partner –
Understanding limitations of aliens

770 C
1/07//93 – 112 min – (2 of 2) State of Desperation / Correction

771 AB
1/09/93 – 65 min – Old Programming / New Interpretation
Having a response to old programming. Not listening to your view. Influences just after sensations –
Sustaining optimism.

772 AB
1/10/93 – 68 min – Taking Older Member’s presence for granted
Casualness – Aliens on this garden – How minds move up – Human interfere with the design.

773 AB
1/11/93 – 65 min – Respect and Higher Standards –
Becoming more sensitive – not trust your assessment of yourself – Examining delivery & word choice

774 A
1/17/93 – 33 min – Soul = Containers = You
Degree of acceptance of Next Level mind – How to treat others

775 A
1/21/93 – 35 min – Planetoid & Getting Closer – Virgil Armstrong theories. Not retreating with hurt.

776 AB
1/22/93 – 75 min – Taking Full Responsibility – Theosophy
Responsibility for conduct and procedures. Not blaming others – hermaphrodite society? – Culmination
of the cycles of this planet.

777 AB
1/25/93 – 18 min – Standards you pursue- Degree of looking up.
1/26/93 – 42 min – Wanting to Talk – Vehicular cons – needing a position of responsibility – Asking too
many questions – Gender interfering with objectivity – Vehicular cons.

778 AB
2/08/93 – 81 min – Physical discomfort / uplifting to others.
Being late – When “option” is obliterated.

779 AB
2/09/93 – 50 min – Whatever happens is right – Getting rid of negative. I am care for by Next Level – See
others in more accepting way – Correction can be sweet.




https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          102/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

780 ABUSDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 104 of 147
2/10/93 – 23 min – Possibility of Going Public/Com Center Func
2/12/93 – 65 min- Getting Closer to Links/ Notes – Punctuality

781 AB
2/13/93 – 144 min – (1 of 2) Test of Strength – Sustaining closeness Coleman Papers – Using pain as a
protection.

782 C
2/13 /93 – 144 min – (2 of 2) Test of strength – pain as protection.

783 AB
2/14/93 – 50 min – Drawing the line on Standards.
Pride in our rules – Loyalty

784 A
2/16/93 – 49 min – The Weaning Process – Aborting negative thoughts – Addicted to physical closeness.

785 A
2/19/93 – 35 min – Making room for Ti. Becoming more aware of Ti’s presence. How a soul migrates and
learns.

786 A
2/21/93 – 20 min – Holodeck – Lessons keep coming around again & again.

787 AB
2/26/93 – 50 min – Links limited by our routine – Resisting change.

788 AB
3/2/93 – 60 Min – Soliciting Correction Personal Responsibility

789 A
3/5/93 – 48 min – Service to Older Member – assuming responsibility – Mentally lethargic.

790 AB
03/17/93 – 70 min – Soul Matching Next Level Reps – Not allowing caretaker to speak – Selfish point of
view.

791 AB
03/22/93 – 78 min – Waco Standoff – Becoming a Rep

792 A
03/26/93 – 27 min – Next Level Pride

793 AB
03/30/93 – 173 min – (1 of 2) Evolution / Going Public
Soul’s responsible for its action

794 CD
03/30/93 – 173 min – (2 of 2) Evolution / Going Public
Influences trying to tell us we’re worthless.

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          103/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

795 ABUSDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 105 of 147
03/30/93 – 76 min – How to go Public
Having property – AD in USA Today.

796 AB
04/02/93 – 114 min – (1 of 2) Next Level offers life. Worthless containers – To become a receiver. Quick to
criticize.

797 C
04/02/93 – 114 min – (2 of 2) Next Level offers life
Being a GOG in the wheel.

798 AB
04/03/93 – 70 min – What is life, death – Writing Zinger

799 AB
04/04/93 – 84 min – Zingers

800 A
08/14/93 – 36 min – Bonding – Ti’s Gift

801 A
10/18/93 – 10 min – I am the Lord your God

802 A
11/14/93 – 46 min – Discussion of Ti

803 A
12/01/93 – 11 min – Bus 1 & Bus 2 – Possible departure times.

804 AB
12/03/93-116 min-Suffering be honest/Do separating/reincarnate

805 C
12/03/93-116 min-Suffering be honest/Do separating/reincarnate

806 AB
12/04/93-170 min-Jesus hates Christian family values/being us

807 C
12/04/93-170 min-Jesus hates Christian family values/being us

808 AB
12/05/93-185 min-Classroom ends/Going to set record straight

809 CD
12/05/93-185 min-Classroom ends/Going to set record straight

810 E
12/05/93-185 min-Classroom ends/Going to set record straight


https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          104/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

811AB USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 106 of 147
12/06/93-126 min-Lessons going out-Souls w/deposits vs none

812 CD
12/06/93-126 min-Lessons going out-Souls w/deposits vs none

813 AB
12/08/93- 47 min –Next Level Conception

814 A
12/10/93 – 48 min – Creatures vs Souls

815 AB
12/11/93-126 min-(1 of 2) Lessons from Elijah Meeting- sponge

816 C
12/11/93-126 min-(2 of 2)Lesson from Elijah Meeting/Holy spirit

817 A
12/14/93- 105 min – (1 of 2) New Soul/Creature/Understanding

818 AB
12/14/93- 105 min – (2 of 2) New Soul/Creature/ Questions

819 A
12/15/93-16 min- RDD leaves Class/ Strategy of going out in 3’s

820 AB
12/15/93-96 min –2 Teams in a Town

821 AB
12/18/93 – 68 min – How to approach meeting.

822 AB
12/20/93 – 80 min – Offspring & Others

823 AB
12/25/93 – 70 min – Q & A Going Out

824 AB
12/27/93 – 77 min – Partnerships & Travel Strategy

825 AB
12/28/93 – 54 min – Where to go First.

826 A
12/30/93 – 30 min – Consider actions in grouping. Going out.

827 AB
01/02/94 – 75 min – Make it believable- Do all I can



https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          105/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

829 ABUSDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 107 of 147
01/27/94 – 45 min – Compound/Going – Public Strategy

830A
03/03/94 – 13 min – Relationship to OM – Misc. Strategy

831 AB
03/24/94 – 121 min – Tampa USF Meeting (1 of 2)

832 C
03/24/94 – 121min – Tampa USF Meeting (2 of 2)

833 AB
04/02/94 – 115 min – Meeting w/Links Group 2 & 4

834 AB
04/29/94 – 120 min – Not Judging, Not Denying – Who you are

835 C
04/29//94 – 120 min – Not Judging, Not Denying – Who you are

836 AB
05/22/94 – 85 min – Mt. Cross

837 AB
05/23/94 – 136 min – Inverness 1 (1 of 2)

838 C
05/23/94 – 136 min – Inverness 1 (2 of 2)

839 AB
05/24/94 – 120 min – Inverness 2 (1 of 2)

840 C
05/24/94 – 120min – Inverness 2 (2 of 2)

841 AB
05/25/94 – 53 min – Inverness 3

842 AB
06/14/94 – 74 min – Portland Group 3

843 AB
07/07/94 – 206 min – Control status reports

844 AB
07/11/94 – 146 min – Meeting w/Links – 2 Deposits (1 of 2)
Clicking
845 C
07/11/94 – 146 min – Meeting w/Links – 2 Deposits (2 of 2)
On tape

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          106/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

846 ABUSDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 108 of 147
07/17/94 – 126 min – Rockford

847 AB
08/06/94 – 65 min – Boston H.I.M. (1 of 2)

848 C
08/06/94 – 65 min – Boston H.I.M. (2 of 2)

849 A
09/23/94 – 40 min – Meeting w/Links – SWYODY Departure

850 AB
09/26/94 – 70 min – Soul, Karma, Judgement

851 AB
10/22/94 – 70 min – Crew minded, Positive

852 AB
11/04/94 – 94 min – Links Meeting

853
Duplicate of 852

854
Duplicate of 852

855
Duplicate of 852

856 AB
11/22/94 – 68 min – Hive Mentality – Conceptualizing / Controlling your Vehicle

857 A
11/23/94 – 48 min – Higher Perspective / India

858 AB
12/04/94 – 80 min – Ornery & Healthy

859 AB
12/08/94 – 95 min – As Fast as Possible

860 C
12/08/94 – 95 min – As Fast as Possible

861 AB
12/10/94 – 60 min – Te Lahson Application

862 AB
12/21/94 – 141 min – Being Conned (1 of 2)



https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          107/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

863 C USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 109 of 147
12/21/94 – 141 min – Being Conned (2 of 2)

864 AB
12/22/94 – 76 min – Links Meeting Strategy
12/22/93 tape- out of order

865 AB
12/25/94 – 85 min – Exit Puzzle

866 AB
12/27/94 – 80 min – Compound Strategy

867 AB
12/31/94 – 72 min – First half of meeting

868 AB
12/31/94 – 95 min – D- Year

869 AB
01/23/95 – 70 min – Compound Strategy

870 AB
01/25/95 – 100 min – Compound Strategy / Algae

871 C
01/25/95 – 100 min – Compound Strategy / Algae

872 AB
01/29/95 – 117 min – Moving Target Monastery (1 of 2)

873 C
01/29/95 – 117 min – Moving Target Monastery (2 of 2)

874 AB
02/04/95 – 95 min – Separating vehicle and mind/Leaving in 1995

875 C
02/04/95 – 95 min – Separating vehicle and mind/Leaving in 1995

876 AB
02/16/95 – 90 min – To leave without compromise

877 AB
02/17/95 – 65 min – Alien agenda / Departure questions

878 AB
02/26/95 – 110 min – Diet – NL has to like you

879 C
02/26/95 – 110 min – Diet – NL has to like you

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          108/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

880 ABUSDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 110 of 147
03/01/95 – 135 min – Mission to another country – India?

881 C
03/01/95 – 135 min – Mission to another country – India?

882 AB
02/19/95 – 90 min – Accelerated Change – Self Sufficiency

883 AB
03/03/95 – 47 min – Relationship to OM & Misc Strategy

884 A
04/12/95 – 21 min – Links Meeting

885 A
04/13/95 – 62 min – Getting rid of your own mind

886 B
04/15/95 – 47 min – Links Needs
“A” side is blank-“B” side has information

887 AB
04/17/95 – 90 min – Influences/Deposits – Increasing Thirst thru Asking

888 AB
04/21/95 – 95 min – Getting rid of Excess – Conservative with $ – Desperation

889 A
04/22/95 – 30 min – Acceleration

890 AB
04/29/95 & 5/01/95 – 70 Min – NL Determines Exit

891
Duplicate of 890

892 A
05/09/95 – 95 min – Redemption
This appears to be an out of order tape from 05/09/94
893 A
05/25/95 – 47 min – Shedding Influences – Becoming as Children

894 A
05/26/95 – 45 min – Links

895 A
05/26/95 – 47 min – Duty

896 A
05/26/95 – 45 min – Heavy Duty Influences

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          109/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

897 A USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 111 of 147
05/27/95 – 30 min – Lesson Re: STR – Stroke

898 A
06/06/95 – 45 min – Celebration

899 AB
06/27/95 – 60 min – Links Meeting

900 A
07/13/95 – 45 min – Doc & Intern – Judgement

901 AB
08/08/95 – 100 min – Individual Liberty (1 of 2)

902 C
08/08/95 – 100 min – Individual Liberty (2 of 2)

903 A
08/23/95 – 22 min – No Squabbling
Static

904 AB
09/02/95 – 44 min – Going up w/Do – Playing Lucie’s Game

905 A
09/14/95 – 45 min – Intro to the Final Chapter

906 AB
10/18/95 – 55 min – From Tire Pounding to Pounding Vehicles

907 AB
10/31/95 – 73 min – Making changes in costume – ET in making.

908 AB
11/08/95 – 60 min – Identifying Discarnates, Being a NL Match

909 AB
11/26/95 – 55 min – John is Vine & Branches – Respect and love Classmates.

910 AB
12/10/95 – 50 min – Not Anxious & coming up with things – Next Level presence.

911 A
12/14/95 – 20 min – Age & Growth

912 A
12/21/95 – 35 min – Turning off Influences

913 A
01/03/96 – 30 min – Getting Ready to Leave

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          110/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

914 ABUSDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 112 of 147
01/10/96 – 58 min – Ti’s Exit / Our Exit

915 AB
01/13/96 – 75 min – Discarding of Human Bodies

916 AB
02/23/96 – 75 min – No Time Limit

917 AB
03/13/96 – 100 min – Getting the Word out – Death & Human existence.

918 AB
04/18/96 – 75 min – LINKS returns after 20 days away

919 AB
05/04/96 – 63 min – What’s going on in the World

920 AB
05/26/96 -99 min – Eager students and Faith in the Next Level (1)

921 C
05/26/96 -99 min – Eager students and Faith in the Next Level (2)

922 A
06/30/96 – 35 min – More Regimented, Like Craft

923 AB
09/23/96 – 55 min – HEK & DVV – / New Craft. EBE

924 A
10/11/96 – 42 min – Influences

925 AB
12/04/96 – 81 min – LINKS Meeting

926 AB
12/23/96 – 66 min – India Prep

 Note from Carlan/Crlody – Tape 927/928 does not have any audio until the 55 minute mark.

927 AB
01/04 /97 – 135 min – “G” & Revelations to us (1 of 2)
Tape fades
928 C
01/04/97 – 135 min – “G” & Revelations to us (2of 2)
In & out

929 A
01/25/97 – 17 min – Class & JHN phone call regarding UFO Conference – Meeting with Lee Shargel.


https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          111/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

 Tags:God,
      USDC Heaven,
             IN/ND heavens  gate, Jesus, religion,document
                   case 3:22-cv-00395-MGG          revelations, spacefiled
                                                             132-8     aliens, Ti and Do,
                                                                           07/24/23   pagetwo witnesses,
                                                                                            113 of 147 ufo
 Posted in bo and peep, Christian, comets, cult, God, heavens gate, Jesus, Luciferian, Revelations, ti and
                      do, Two Witnesses, UFO, ufo cult, ufo two | 4 Comments »



Transhumanism, like the Religions and New Age Spirituality are Dead
Ends at this Time

April 22, 2021
Here is an article sent to me about this transhumanism history in the Soviet Union. It of course wasn’t
limited to that area of the world.

https://www.bbc.com/future/article/20210420-cosmism-russias-religion-for-the-rocket-age
(https://www.bbc.com/future/article/20210420-cosmism-russias-religion-for-the-rocket-age)

Here is my comment:

I believe the entire reasons people have been having these ideas about having eternal life and traveling
throughout outer space, especially in the late 1800’s and early 1900’s is because the physical, many
membered evolutionary Kingdom Level Above Human was preparing then for their Older Member and
student Souls return to take over human vehicles they deposit souls into, for those student souls to finish
their choice to evolve Beyond the human mammalian/reptilian condition. Thus their Minds were
literally closer to earth and even on the surface more and this is why science fiction writers grew all over
the planet but the US became a principal hub for with the emergence of the motion picture industry and
all their work.

Part of what these Next Level Above Human members (which were called in records the kingdom of
God and/or Kingdom in Heaven, the elevated areas above the earth extending into deep space, was how
the space alien souls were also allowed to influence humans and they, having been dropouts from a
previous Next Level Astronaut training program who went against the Next Level Older Members to try
to start their own kingdom on earth, having once had elementary service on Next Level spacecrafts
knew of the reality of the Next Level and how they grew the “garden” they had created, that included a
spirit world of discarnates – dead humans remaining and influencing all human kind.

These once thought of as space alien souls had and still have a two fold agenda. Since they are literally in
jail on earth, though can traverse the near space around the earth, they are desperate to get off the earth,
which is a rumor among the new hybrid human vehicles they have grown and programmed to be their
slaves on their physical spacecrafts, even being locked under the earth and/or seas for thousands of
years. Hence the space programs became a huge priority that they led humans into and what helped a
lot with that development were wars because that way great money could be poured into technologies
such as rocketry to try to use that tech to get off the earth again as they have a limited supply of the
element that can power their spacecrafts for indefinite periods of time. (see Bob Lazar and GW Bush and
China and current US Space Force and previous Star Wars program Reagan started that was far from
only about mounting attacks on earth based space/missile tech, but acknowledges a threat from people
from space. Some think these people from space are coming to destroy the earth and/or enslave
humanity, described by the so called “good aliens” as the “bad aliens” when it’s actually in reverse. All
these aliens are “bad” relative to the purpose of this planet as designed to be like a hothouse to literally

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          112/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

give Souls
       USDCplanted
              IN/NDincase
                      humans  the opportunity todocument
                          3:22-cv-00395-MGG      become crew
                                                           132-8members   on spacepage
                                                                  filed 07/24/23   crafts114
                                                                                          likeofseen
                                                                                                 147 in Star
Trek series but without human mammalian behaviors and ways, so no children or need for propagation
(as no one in the Next Level dies) and no sexuality as that is mammalian behavior they have outgrown
the need for, etc.

Of some equal importance to the space aliens as getting out of their earth jail is to steal Souls from the
Next Level (Creators) as they can not create nor destroy souls. They do this by convincing humans to
believe in anything but what is taught by undercover (incarnate) Older Members throughout history
that became distorted and diluted and used for manipulation by the lower forces (discarnates and space
alien souls, who are related to the one called Lucifer), seen in the religions and new age spirituality and
all it’s forms – sects that don’t resemble anymore what their founding incarnate Older Members brought
to various cultures that began new cultures seen as dangerous cults in their day according to whatever
had become traditional thinking and acting.

The development of these ideas escalated big time with ufo crashes, some staged by the Next Level as a
way for it’s membership to leave a record of their physical existence and some staged by the space aliens
to appear to be the same ones who started using crashes to arrive and reveal their reality.

This is a tiny nutshell and came from the teachings of those who were last called TI and DO seen in the
media a great deal as the UFO Two (ufo=cloud of light in records, etc.) and the Heaven’s Gate “cult of
cults” – the only cult with no bad human behaviors and ways that are head and shoulders above all the
others which is quite easy to document for those willing to thoroughly look at in the materials they left
behind for us, so more people could choose to become their students at a distance. There is no new
group and nothing to buy but there is a huge amount of things to learn about them and consider.

                                            Tags:beyond human
 Posted in aliens, bo and peep, Christian, cult, Discarnate Influences, evolution, God, heavens gate, Jesus,
   Luciferian, new age, religion, space, space alien, ti and do, Two Witnesses, UFO, ufo cult, ufo two |
                                            Leave a Comment »



Two Major Celestial Events Effect the Earth on April 12, 2021 –
Fireball Explosion and Near Miss Asteroid #44 Since 2021

April 16, 2021
Here is the link to the youtube channel post with the details:




https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          113/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate
          USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 115 of 147
             Gigantic meteor blast above Florida sparks w…
                                                        w…




This report shows how unusually active the Next Level has been this year especially with so far 44 near
earth asteroids, however small that passed within 0.75 of a lunar distance from earth thus inside the
orbits of even many weather satellites. NASA hardly reports on much of this.

In this instance this huge fireball explosion over Florida and Bahamas occurred on the same day as the
near miss asteroid 2021GW4 and NASA says they have no relationship with one another but as often has
been the case as I have documented a number of times occurring since 2013 (the 40 year anniversary of
TI and DO’s first major awakening time, this same time of year, where 40 years = 1 hour Next Level time
frame and part of the forecast of events referred to this time frame as the “judgement hour” – and Jesus
also made reference to different “hours” in some parables).

I had been wondering about what the Next Level was doing this time around to show humans their
presence (for those who can “see” it) and learned of many fireballs – seemingly more than in previous
years though always like I said since 2013 accumulated around the late December to April time frame
and then another burst sometimes starting around late august into October with Comets that when
examined were shown to consist of more than one object (like Hale Bopp and Pan Starr’s in 2013 and
Honda in 2017 at their perihelion’s, sometimes when they were depixelated which we know NASA has a
department to do (but they do to many pictures to prepare them for the public and just so happens that
at times seems to include hiding what they really photographed).

Comet Atlas, I believe in late 2019 or so appeared to break up into many pieces but of course were they
pieces of rocks or spacecrafts splitting off from a mothership?

TI and DO spoke of comet Kohoutek in 1973, around Christmas time when they rented that car that
landed DO in jail where he wrote Statement One. It was supposed to be the Greatest Comet ever but
they say it fizzled out but did it? I say it did it’s job and is still listed as a “great” comet because it could
be seen by the naked eye.

That was also the case with Comet West in 1976, listed as a great comet and it broke into two pieces and
then each of those broke into two pieces so it became 4 pieces. Again, Space Crafts? Is it a coincidence
that at one point TI and DO went by the names Shelly and Jason West (pretending to be married to
appear normal to some people). After all they were quite “married” spiritually as Jesus illustrated he felt
towards his Heaven’s Father – DO towards TI. We could remember that in prophecy The Two Witnesses
of Rev 11 are delivering new revealing of what’s true/real so that was not only revealing to us but was
revealing about one another as Jesus also spoke of – in the mouth of two witnesses let your testimony be
true. So TI witnessed who DO was and is to date as seen in the book UFO Missionaries Extraordinary a
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          114/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

book published  about
       USDC IN/ND     them
                    case    by Hayden Hewesdocument
                         3:22-cv-00395-MGG      and Brad 132-8
                                                         Steiger.filed
                                                                   She07/24/23
                                                                       wrote thatpage
                                                                                  he had
                                                                                      116served
                                                                                          of 147 in the
tasks of Adam, Enoch, Moses, Elijah and Jesus before. Meanwhile DO was the witness to TI being his
Older Member – aka Heavenly Father which would mean TI was the same person written by Moses in
Genesis as the Judge/magistrate of the earth – in Hebrew, Elohim and then as Jehovah – the One who
was written by Moses as the “I AM” literally meaning “Existing One” as I Exist – I am real – I am the
Lord of the Earth, which is who DO said TI is referring to TI as his “admiral” to his being like a
“captain” and referred to TI and being the Chief Administrator of the earth which is described as the
“woman” in Revelation 12 whose Older Member may very well be the Chief of Chiefs in their
terminology.

All Members of the Next Level are compared to Humans are the true “Gods”. Jesus even illustrated this
when he said that among humans John the Baptist was the greatest human but that every Member of the
Kingdom of God was Above Him. And Jesus also spoke about how the only ones who came from the
Kingdom of God were those who left with their physical bodies which just so happened to be Enoch,
Moses*, Elijah and Jesus. Adam flunked his test but recovered by talking over the vehicle prepared for
him known as Enoch who was “taken” Moses wrote. Elijah was witnessed by Elisha his student to have
been taken up in a “whirlwind of fire” and Elisha revealed this to their other followers at the time. Jesus
proved that he’d healed his vehicle of it’s wounds and was still physical saying “a spirit doesn’t have
flesh and bone” as he ate with him and spent some 40 days with him. (There is that proverbial 40 again)
and then he levitated into the cloud of light out of their sight. He was proving he could take his vehicle
with him if it had completed it’s metamorphosis. TI and DO said he had completed that metamorphosis
by the event told as the Transfiguration which in Greek is “metamorphoo”.

At that event the three students he brought with him – John, James and Peter witnessed seeing two
brightly clothed people they thought were Moses and Elijah. Imagine that the Next Level did take those
two vehicle onto their spacecrafts and put them in storage to be used as suits at that time. The records
around Moses say he just walked off into the desert Yet his body or bones or grave was never found. One
can say that animals ate it or the wind storms buried the bones or any explanation but TI and DO “felt”
Moses’ vehicle was taken and that’s good enough for me.

After all Moses asked to see Jehovah’s face and Jehovah said no because he said Moses would die from
seeing his face but he let Moses touch his back or shoulder. Again was showing his physicality. I learned
some years ago that someone could die by being shocked by something they can’t imagine – have a heart
attack at a certain thought or fear. Fear doesn’t have to be because of something threatening someone or
appearing to be evil and/or ugly. The word fear and “awe” are equivalent. I have described my response
to TI and DO as my being “in awe of them”. It wasn’t fear though certainly my Influences and Boogers
(discarnates and space alien souls – adversaries) if they have a hold on us will be fearful at the
observation of a Next Level Soul in or out of a human vehicle.

Also Moses was instructed to construct a tent just for Jehovah where only He would enter to take care of
and then Aaron was added as a helper for. Jehovah would come and go via a “pillar of cloud cover”. The
Hebrew word translated to cloud meant in it’s root, “covering”. The Next Level was protecting us from
seeing their true nature because of how intense with “light” they are but still have physical vehicles with
extraordinary power of what their Minds have become.

There will be more events in space. Note how comets are generally viewed by us on earth along the
ecliptic so they are seen as moving east to west which Jesus said would be how signs would be shown –
as a star looking light – even strewn across the heavens. And recall what DO and Crew wrote about Hale
Bopp and a potential companion that whether there was a companion was “irrelevant” but that the hale
bopp comet was the “marker” they’d been waiting for to signal their exit since first looking for that
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          115/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

confirmation
       USDC in   1975.case
               IN/ND    But 3:22-cv-00395-MGG
                            when one looks up thedocument
                                                    word used  by Jesus
                                                             132-8  filedtranslated
                                                                          07/24/23 topage
                                                                                      greek then
                                                                                          117    to english
                                                                                              of 147
as a “sign” one sees that it also can be translated to “marker”. TI and DO never tried to appear to be
scripturally correct. In fact the opposite was often the case and that even involves that 40 number when
DO asked us if we wanted to stop the burroughs cleanser diet/fast on that same day 39 or continue it. I
remember in my head thinking that 40 days would match the 40 day fast in the desert that Jesus
engaged. I didn’t care though and so DO stopped the fast on day 39. DO also said about his awakening
time in Boerne, Texas in Jan-mid February of 1973 that they had been in that ranch house for “less than 6
weeks” – 6 weeks is 42 days. If he wanted to show himself/themselves to be linked with Jesus time in the
wilderness preparing to go public as they were doing it would be tempting to just state it as 40 days
right. I understand that temptation. I’ve been faced with making slight embellishments that showed
certain links but I believe I caught them and didn’t allow myself to give into that influence. I guess I
could make something out of the 44 near miss asteroids and there may well be a correlation with the 100
and 44 thousand. But also the fact that there was DO and 38 students who initially exited their vehicles
together in 1997 and then 4 more students (Rkkody, Oscody, Jstody and Gbbody) and then as far as I can
tell one other who never was in the classroom but who left a note I believe that indicated he was exiting
because he felt like he missed the bus and he had been a grateful dead roadie which together equals 44
exits. Now some of those will have to return to the human kingdom to finish their overcoming but they
all made a huge stride that was right for them, while now we all have the opportunity task of “Standing
in Defense of TI and DO as from the Kingdom that created the earth and it’s inhabitants and to accept
the consequences of taking that stand and maintaining that stand until we exit our vehicles (however
that happens). That’s our task now and we need our physical vehicle to perform it for TI and DO and
how, when, and where is up to each of us. And looking to TI and DO for every step we think about
taking is part of working for them – asking them for the strength to see it through and then following
our “feeler” in taking each step to be on guard against what the discarnates and booger fallen angel
souls would try to get us to do.

Also note that Hale Bopp is like saying “hello from/to BO and PeeP” and Jesus also used that word at
times of Hail as a greeting so why wouldn’t a crew of Next Level younger members use similar terms
that had been used in the Jesus records. TI and DO said there was a crew that did that and had great fun
doing it so we could make connections to help us SEE more of what’s really been happening, that is if we
are willing to open our minds to see more.

Now I know I could be wrong about some of this and these connections but there are more, a great deal
more actually and even so many connections that it’s almost unbelievably believable.

Oh, yes this report also says there was no sign on Doppler radar of fragments of this “meteor” so I
would say the Next Level didn’t want to appear the same as a meteor and/or didn’t want anyone to get
hurt from it.

Now I’m sure many will say this was just happenstance and/or was even CGI or space alien generated or
human military testing and sometimes that is the case I know but given the timing of this in April like
many other fireballs in previous years at this time and comets and having a near miss asteroid on the
same exact day is to me far more than coincidence.

 Tags:asteroid, Bo and Peep, Comet, fireball, Hale Bopp comet, heavens gate, Jesus, Revelation, signs, Ti
                                         and Do, two witnesses
   Posted in bo and peep, Christian, comets, heavens gate, Jesus, science, space alien, ti and do, Two
                        Witnesses, UFO, ufo cult, ufo two | Leave a Comment »


https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          116/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate
          USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 118 of 147

Response to: Content Deep Dive: 3spm The Heaven’s Gate Apologist

March 6, 2021
Here is a post on youtube I responded to:

Content Deep Dive: 3spm The Heaven’s Gate Apologist
https://youtu.be/inZZrY4WAVc (https://youtu.be/inZZrY4WAVc)

Sawyer’s reply;

I am a former Student that is still a student attempting to Stand in Defense of all TI and DO said/taught.
There is nothing at all to apologize for in all they said and did and that’s easy to document why I’m
saying that. Also I’m not “The” as if there are no others (former students or new students) also Standing
in Defense of TI and DO, that same task all believers in Them have if they want it.

Also, I’m not at all personally upset by anything said about me in this youtube post. I can see why some
people would think as this youtuber demonstrates thinking. However, that doesn’t mean I agree with
his point of view on much of what he said about TI and DO and me and others who believe in TI and
DO.

With that, I did take some notes and here are my responses – not in any order:

-Shrek – I was mostly joking about that and perhaps should have said so more clearly. I’ve had my share
of trolls for years. I found it funny and perhaps I shouldn’t have but TI and DO do have a sense of
humor. However, if you knew what I know about how Jesus was made into a fake Jesus by many well
intended Christians unknowingly, though there is no joke to that, this person who was comparing Jesus
to Shrek is evidence of how far someone might run away from Jesus’ teachings because of the way
humans have portrayed him and how the religions don’t hardly at all talk about much of what he said. I
know Christians personally who when 9-11 happened were in favor of going to war against Afghanistan
and the even Iraq though especially Iraq had nothing to do with 9-11 and had no weapons of mass
destruction and was not even very far along in acquiring nuclear weapons. All that has been proven and
yet Obama did nothing to hold anyone like Bush and Cheney and the mass of senators and congress
people who voted to go to war in Iraq where the US has murdered who knows how many tens of
thousands. The largely Christian government showed their hand as an evil empire.

That’s just one current example. And people think I am dangerous or need help? Go figure.

So when I saw that comment, I knew well it was a troll or distraught atheist, or the like, perhaps
someone who had a lot of religious ideas laid on him/her to deal with. I know to many people the entire
idea of there really being Creators and/or Spirits and/or people from outer space and a purpose for the
existence of the planet and it’s life forms to include humans. Yet I think that person can actually be ahead
of those in growth because they are responding to the religions that were the result of humans distorting
and diluting what the Next Level Above Human Representatives sent before said and did.

The reference to the Green horse in the apocalypse was silly as to be honest I think Trump was the first
human/space alien led half of that “harvest” (green) horse and I have a lot to say about that. But to be a
little more comprehensive on that, I believe DO was the Soul with the position of the “light” horse, said

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          117/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

as “white”
       USDC (pure)
              IN/NDvehicle (horse) as he took thatdocument
                     case 3:22-cv-00395-MGG        position in the 1990’s
                                                            132-8          most directly
                                                                    filed 07/24/23  pageby putting
                                                                                         119 of 147out the
remaining 6 Thunders/Roars from Rev 10. After him the next three horses are space alien run humans
starting the tribulation in earnest in the US/EU, etc. with the endless war on terror that used state
sanctioned terror – as he is depicted as being given the power to wield a mighty sword (military). And
Obama was the black horse presiding over the Two Beasts – the G7 heads and the G10 horns (militaries)
and over the 2008 Financial Crisis that was started by the Red Horse leader of the Beast (US as the first
head).

-DO, nor TI “pushed” anyone in that conventional sense of that word any more than a physics teacher
pushes someone to take their course, but with TI and DO even less than that as no one paid them to
Teach them and there was never a promise of graduation, so there was no real carrot-stick method. There
was no punishment, no abuses, no meaningless requirement to recite prayers to gain stature among one
another or with Them like seen in most all the religions and in the modern belief systems surrounding
selective “science” with constant media bombardment of putting fear into people with fear of the end of
the world, yes among secularists via global warming then backed off to call Climate Changes – some of
the plagues in Revelation 16 that the Two Witnesses have the power to instigate.

-From 1975 on TI and DO claimed that they were NOT Jesus but were from the same Family as He was
from. The reason that makes total sense is because Jesus was the name of the human body an Older
Member Soul took over for that task of presenting the graduation requirements to those Souls who were
also taking vehicles (born of water (again)). So even when DO at first posted a document on the WWW
in 1995 that was entitled, “Undercover Jesus Surfaces Before Departure” – it was saying that he was the
same Soul who was back again “undercover” so that no one would easily recognize him except for those
vehicles they prepared to recognize him when He came public. Notice how Jesus had just about 100
students at first. So the plan was to not even come identifying with being that same Soul to the public
because the ones who were prepared could recognize him by what he said was required to be his
student – leave all behind to build a glorified body – to bring one’s Soul through a metamorphosis into a
“butterfly” – a glorified body. Then after that document was up for a while he changed it to:
“Undercover “Jesus” Surfaces Before Departure, putting the name of the vehicle he used back then in
quotes to show it had a special meaning because he wasn’t using that same vehicle, though said that
same Next Level vehicle or one that was equivalent would be returning for the finish of the harvest and
the sending the BEAST and Luciferians into the lake of fire and brimstone to be recycled to potentially
restart a new garden with a new crop of Luciferians that are choosing to be against the Next Level and
Kingdom of God now.

Therefore DO by putting up the first version without the quotes appears to be his following TI’s
guideline from outside her vehicle to do and because of that it is giving Christians who are aware of the
quote from Jesus that warned the elect that were looking for his return – it seems in this last wave to not
believe someone who “comes in my name” saying I have the christ (anointed/appointed) one and we
know there have been many Christians who have said that very think that they were the return of Jesus.
Rev 3:12 also describes that they both, Father and Son would have new names and the Son would ID the
Father (God to the Son), as his Older Member which DO said about TI . If someone is looking for a
reason to not pay attention to all the many signs that He was the return, then DO gave them what they
wanted and I know some have told me this was the reason they won’t look any further at the myriad of
evidence that they were the same Souls returned.

-For anyone who does believe in what Jesus said, they shouldn’t be that surprised that he was teaching
to conquer one’s sexuality and that even voluntary castration could be an option. DO didn’t instruct
anyone to go through the castration and only about 7 students did as it wasn’t offered to female vehicled

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          118/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

students because
      USDC       DOcase
             IN/ND  said3:22-cv-00395-MGG
                        it was too invasive of adocument
                                                 procedure132-8
                                                           for a female.
                                                                  filed 07/24/23 page 120 of 147

-I wasn’t in the group when they sang that song and I don’t play piano much at all.

-I was not in a low part of my life by any means before I joined and neither can anyone substantiate that
I was vulnerable. You can read Sawyer’s story on my blog – sawyerhg.wordpress.com to see all the
details I can muster about myself growing up and then in joining and leaving. People who say that
without evidence are just looking to explain away something they don’t understand or want to
understand. The “cult” did not take me in. They didn’t need members. That is clearly evidenced by only
about 10 months of public meetings in 1975-6 followed by a very small private offering in 1988, thus no
public interfacing until short offerings in 1992, 3 and a thorough repeat of public meetings for about 9
months in 1994 and then some internet offerings thereafter until their exit in 1997 that was huge and
continues today. If they really wanted lots of followers they could have diluted the message and
continuously held meetings like many of the other cults and religious groups and secular groups did
and do to date.

Yes, I need help but not in the ways many people think. And yes, there are new believers and I’m sure
that they are anything but naïve but are some of the most experienced Souls in vehicles on the planet
because they see through the illusions in the human kingdom and with the religions and even what’s
become known as Spirituality.

                Tags:3spm, Bo and Peep, cult, heavens gate, Ti and Do, UFO Cult, UFO Two
    Posted in bo and peep, Christian, God, heavens gate, Jesus, Luciferian, moses, religion, Revelations,
        science of mind, space alien, spirits, ti and do, UFO, ufo cult, ufo two | Leave a Comment »



What Humans are up to in Space and on Earth and Why

February 19, 2021
Here is my little synopsis of what I believe has been happening for years in regards to aspects of the
space programs of many countries, as of late with a new Mars rover landing on Mars.

Make no mistake about it, this is one tiny but huge part of where “their” (beyond dems and repubs
which are simply mostly public relations categories) priorities are, tech development on earth and in
space. The idea that it’s exploration for exploration sake is totally antiquated thinking. They have very
concrete plans Bush escalated in around 2007 immediately after China announced they were going to
build colonies on the moon and mars, with the same kind of programs. I remember him saying at the
state of the union address where/when he announced this for the US efforts, that “perhaps we will find
an energy resource that will boggle the mind”. People said he was referring to helium III, but that
element doesn’t boggle the mind any more than plutonium, etc. though it does defy gravity and they say
the sun is full of it (and who knows what all else). But they also said at the time that the moon had
helium III but that it’s easy to manufacture it on earth and far less expensive to do, so that didn’t make
sense that that’s what he was referring to.
When this happened, since in the 90’s I followed everything that was happening in the so called UFO
community, I knew well of the Bob Lazar story in which he was hired out of where he worked in Los
Alamos National Laboratories, to be whisked away from that job and given a task at the infamous Area



https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          119/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

51 at Groom
       USDC lake,
              IN/NDNV  to 3:22-cv-00395-MGG
                     case back engineer how a certain  type
                                                document    of engine
                                                          132-8  filed worked,
                                                                       07/24/23anpage
                                                                                  engine
                                                                                      121they got from
                                                                                          of 147
one of the crashed or provided ufo’s – while ufo’s were long known to seem to defy gravity. Thus could
that be the energy source to boggle the mind?


At about that time after Hubble space telescope was launched it detected something not able to be seen
from earth – one very bright spot that looked like a light on dwarf planet Ceres, actually the largest
“asteroid” in the asteroid belt that is between Mars and Jupiter. It was so unusual to see that they built
an entire project around going to Ceres and some years later it was launched and several years later it
was very close to ceres in the beginning of 2015, it’s cameras were awakened and that one bright spot
became seen as two spots, with one larger than the other and when they tested the heat signatures one
was thermal and the other wasn’t so one had no heat to it. That was the Dawn spacecraft.


Then by the late summer of 2015 Dawn was so close that it was clear that it’s wasn’t just two spots. It
was many but in different configurations that when compared to pictures of cities on earth from space at
night looked of some equivalence. But apparently as it got closer and closer as it orbited, the biggest
brightest spot appeared to be a tower of whatever material was putting out that light and/or heat, that
was estimated to be 5-10 miles tall and kind of looked like the Eifel tower in the way it looked like it had
legs, causing the base to cast a shadow underneath from the sun light, which seems to mean it’s not only
light but has dense physicality.


Other locations also showed that same kind of luminescence, one other location on Ceres looking like a
pyramid shape with one side full of that same bright white light looking material.


They got closer and closer and the pics used to be mostly on the Wikipedia website under Ceres but the
last articles I know about it were from late in 2019.


I can imagine that they don’t want to talk about that much and I’d bet they are planning a robotic
expedition there to try to get samples of this material which may be a mighty task to do. Perhaps that’s
part of why they want bases on Mars in particular since it’s the closest planet to Ceres.


By the way, I don’t know if I believe that humans have been on the moon and/or Mars and/or Venus, etc.
I say that because TI and DO didn’t indicate that they had been there, at least during this civilization as
implied by Hoagland and others. And I don’t think the space aliens (human equivalents) are there now
either, as my understanding from TI and DO is that the space aliens are in jail on earth, though that
includes the near space around the earth but I don’t know how far that near space extends away from
the earth but my suspicion is that it might not go much further than the moon – but actually they may
but without the technology to do anything in those locations so why go there. They need the biological
and elemental substances on earth and from humans to subsist.


DO said that he didn’t know if in a previous civilization on earth humans had developed the technology
to go to Mars. So the Alternative 3 story may or may not be misinformation or disinformation or ideas
from the space aliens and/or discarnates. It could be that there was once a project on Mars and I suppose
could be human equivalents living underground there but I doubt it.
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          120/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

I also doubt
       USDCparts
              IN/NDof case
                      the Val Valiant Thor story from
                           3:22-cv-00395-MGG          1957, that
                                                  document  132-8Dr.filed
                                                                     Frank  Strange page
                                                                          07/24/23  reported
                                                                                         122Val  and some
                                                                                             of 147
76 others come and go from their home on Venus. I’m not saying it’s not possible but since they are all
space aliens (mammals in their behaviors and ways), my understanding from DO was that they were
forced to live on earth and that’s why the stories developed that “hell” was underground, because they
had chosen to go against the Next Level Above Human by their own choices many times over
millenniums so lost sight of the reality of the Next Level as being evolutionarily Above and Beyond
Human, so think of the Next Level Members, they once knew about as just another space race like
themselves but with better technology and so they seek to duplicate that technology.


I surmise they didn’t have that much technology when they were jailed on and/or inside the earth and/or
under the seas. That’s why they need humans and that’s why they always look for ways to give humans
reasons to build their technologies fast, having the money for R & D and the drive to do so as quickly as
possible, hence using “wars” to build the military industrial complex and control the resources of the
planet they want and need. (Iraq war, etc.)


DO said that was one of the primary agendas of the space aliens (souls with hybridized human vehicles),
to escape the earth, their jail, as among them rumor has it that they are about to be recycled by who are
actually the the Creators of the earth and it’s inhabitants/life forms. So they are attempting to compete
with the Next Level which there is no contest with, though they can steal souls, their other agenda. The
way that most translates to date is by the people who are literally at war with anyone who is religious
and especially Christian. Isn’t it ironic how so many Christians unbeknown to them are not actually
believers in much of what Jesus taught because they haven’t been told about much of what Jesus taught
and/or if they were taught, were kept from seeing the overall way Jesus was teaching that humans
needed to break ties with their human family to go with him and lives and work with him in one of his
“many mansions/dwelling places in his Father’s House among the stars in the literal heavens”
(paraphrased).


It’s also interesting how in the end of the summer of 2015, days away from the closest passage of Dawn
spacecraft around Ceres, the New Horizon’s space craft was passing by Pluto and it just so happens that
Pluto was referred to by TI and DO, in a movie script they started a project for some students to write in
around 1982, that they said was “fiction based on the truth” (sign of a true Master, is they don’t think or
pretend to know what they don’t know). In that script, with illustrations painted by student Ollody
(who wore the Dr. Seuss hat in the exit video) Pluto housed a huge earth lab. This is most pertinent and
significant because Pluto has a number of characteristics that the earth has. It has a thin blue atmosphere
and mountains and caverns and a huge methane ocean – NASA calls a great white spot and other
features that no other planets they’ve seen have and were totally unexpected, their thinking it was just a
desolate cold rocky barren of life planet.


So the Space Force that Trump heralded as one of his great accomplishments, which was fully funded by
his opposition as with all the military budgets that show how deeply in bed they really are together.
Though I know many felt stifled some in their earth projects because of Trump so would do anything to
get rid of him and not create a war in the states because that would just interfere with all they still
wanted to do in the building of underground bases and development of nuclear energy and lots more.



https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          121/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

So they, the space
       USDC   IN/NDaliens
                     case are using the human race
                          3:22-cv-00395-MGG         through
                                                 document     humans
                                                            132-8   filedwith great power
                                                                          07/24/23        whoofdon’t
                                                                                     page 123   147 know
they are being used or believe the space aliens can be trusted, to build underground bases that can also
be the technology used for humans in outer space.
Some in power suspect the near miss asteroids are literally being like shots across the bow of the earth so
they also need money galore to develop ways to try to steer them away and/or break them up. In any
case, they are seeking someplace to hide from many other geological events, climate changes,
earthquakes, volcano’s and pestilences all of which happen to be forecasted to happen in the records of
even a number of cultures.


Some believe the evil space aliens are coming to enslave humans but that’s the “weeds” of the “garden”
calling the master farmers evil for wiping them out which is going to be happening more and more with
weeds taking out weeds, while the innocent victims when they die are accelerated to their next station in
the human school IF their Souls and/or Spirits are deemed salvageable as all our human vehicles are
simply plants that live and die in their season.


However, we don’t know how to tell who is or isn’t salvageable so that’s why we need to grow to even
treat those who are opposed to us in the same way we would want to be treated (as Jesus taught that TI
and DO supported), that is physically speaking – being non-violent and peace loving, kind, gentle and
tolerate of one another, unbiased and non judgmental and straight forward.
But there is not to be “Heaven on Earth” as some New Age Christians and other spiriutal religionists say
is coming, as that’s an oxymoron because the meaning of the word Heaven has to do with the
environment in deep outer space, among the starts, though for any Soul that has become a Next Level
Above Human Member, while they are on earth or in it’s atmosphere, are Representing their Older
Members and thus in that way, like Jesus said, “The Kingdom of Heaven is at Hand”, through Them,
which is still the case as long as TI and DO are keeping the “garden” free enough so that people can
choose to make application for employment to Them, serving on their Above Human spacecrafts.


So in this world we will not have peace as the human kingdom was not designed to be satisfying except
for periods of time in different lands as having pleasures then provide the lessons of what to outgrow
wanting and even think we need to be happy, when ultimately the only thing we need to be happy is to
be working for our Older Members, which is what Jesus and Moses taught was the number one
commandment (qualification to make our goal). That’s why everything, governments, family structures,
health, etc. on this planet are once again falling apart more and more. Of course some don’t see it that
way, but that’s because they haven’t grown in that way yet to see it. Sure we get breaks when it doesn’t
seem to be falling apart but at this time I doubt those breaks will be very long lasting.


However many deem it normal to have belief in justifications for wars and curtailing others free will and
even using humans as their guinea pigs, like for their vakkkk programs, etc. They seek ways to combat
diseases in space or in underground dwellings, whether on earth or on another body. So some humans
consider other humans as collateral damage, a common way of thinking from the Luciferian Space Alien
Fallen Angel Souls’ minds that many humans have bought into as normal and even justifiable. I know
some believe they are being of service to the overall “good” by becoming willing guinea pigs for
medicines. It’s similar to some who join up with the military to fight terrorism, though they often find
that they are becoming even the greater terrorists. They can choose to accept that or they can suffer from
their participation and grow through it, to have learned that lesson.

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          122/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate
       USDC IN/ND case 3:22-cv-00395-MGG document 132-8 filed 07/24/23 page 124 of 147
So the overriding task before those who want to continue to make application to be on TI and DO’s Crew
are required to believe they are from the Kingdom that Created the Earth and all it’s inhabitants and
lifeforms AND to Stand in Their Defense and accept the consequences and maintain that Stand until
they exit their vehicles, however that happens. We need our vehicles to take that Stand and with taking
that Stand it’s up to us how fast we want to grow as we can also be moving our metamorphosis ahead by
adopting the behaviors and ways spelled out in the Major and Lessor Offense Lists in the Heaven’s Gate
Book and the Seventeen Steps. In order to Stand for them we have to study the information they left
behind so we know whether we believe it or not and/or so we can share the truth about what they taught
with others. How, when and where we Stand for TI and DO is up to us and it’s part of the Next Level
Students ways to seek help from their Older Members, at this time using the names TI and DO in our
privacy. Study of their materials alone is not enough. All the People in the Next Level thrive on doing
tasks for their Older Members so that’s why they give tasks to those that are becoming their students.
This all becomes instrumental when applied to Overcoming our humanness that includes separating
from our human root systems. That’s not to say someone can’t grow while taking care of responsibilities
they have to fellow humans, but how each of us proceeds in our growth is up to us and to get help with
that, we need to ask TI and DO for, and they will give us the indications of how we might best proceed.


I could be wrong but believe I experienced receiving such help with separating from some of the binds I
reconstituted in the human kingdom after I left TI and DO’s group in 1994, when I wanted to work for TI
and DO more and more but I had a partner who didn’t believe what I believed and so that prohibited
my serviceability, but eventually she left me and though that was painful it was needed by me to
separate from and not then try to reconstitute that or another of that kind of human relationship.

                                Tags:aliens, ceres, Pluto, space, Ti and Do, ufo
  Posted in aliens, Christian, heavens gate, Jesus, religion, Revelations, science, space, space alien, ti and
                  do, Two Witnesses, UFO, ufo cult, ufo two, wars | Leave a Comment »



Critique of HBO Max Heaven’s Gate Cult of Cults Docuseries Article

January 17, 2021
Here are my responses to an article with Clay Tweel, the director of the Heaven’s Gate Cult of Cults
HBO Max docuseries. I found Clay to be easy to be interviewed by and made me feel comfortable and I
liked some of what he did in the series but would have put some different emphasis on things not
covered, but am glad he included parts of my story. Below the link are my comments to this article:

THE PSYCHOLOGICAL REASON WHY PEOPLE JOINED A UFO CULT
Heaven’s Gate director Clay Tweel talks psychology of cult membership.
https://www.inverse.com/mind-body/psychology-of-cult-membership (https://www.inverse.com/mind-
body/psychology-of-cult-membership)

Sawyer:

Steve Hassan seems like an academic who does interviews and comes up with scenerios and diagnosis
and no doubt some people who join cults and all sorts of organizations and groups and pass times can fit
into his scenerio, but is missing a huge perspective one can only have when they open their minds to the
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          123/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

reality USDC
        of Mind/Spirit – discarnates
               IN/ND case            existances and
                           3:22-cv-00395-MGG         even Souls
                                                  document 132-8– space   aliens andpage
                                                                   filed 07/24/23    Next125
                                                                                          Level  Members
                                                                                             of 147
with the power of thought forms and all our programming from the genes our growing minds and
physical bodies inherit combined with our environmental influences from when our vehicles are babies
that shape all present us with choices of what to become and believe about reality.

But even without all that overview of our reality, when one really digs for the details of TI and DO’s
experiential Classroom, like by listening to many audio tapes, being one of the best ways to see day to
day thinking and operations mixed with their history and all they taught and required of their students,
this group, Heaven’s Gate takes the shape of being totally unique.

Their differences were many; in all kinds of ways from philosophy to practices to lifestyles (of course
with exceptions) as they were like the sum total of all the most true/real and good parts of all the
religions in terms of behaviors and ways with no hypocrisies, except for the ways students failed to
grow that resulted in dropping out and even being asked/instructed to leave IF they didn’t want to abide
by the Procedures and sometimes with years in between got the opportunity to rejoin, which some did.

Major differences with most all other cults and groups:

Some specific examples of major differences with most all the others, were that there were No abuses, no
one held against their will, no children to brainwash, no relationships of former family members, no
marriages, no sexuality, no power mongering, no punishments of members, no depravity, no standing
on street corners begging, no corporate headquarters and empire building, no riches, no regular
recruitment (just over two 9 month periods in 1975 and 1994 over 22 years), people always free to leave
but hard to find them to join as they hid so well. There was no guilting, no religiosity, no group bible
study, no justification from the bible for what TI and DO said and did (thought did at times reference
what Jesus taught), fully parrelled with everything Jesus taught, same requirements as Jesus to be a
disciple – to leave all behind, updated term descripted in a generic format and in a religious term format,
updates that Jesus said would oocur upon his return, in new vehicles as Jesus said would occur, coming
in vehicles that were female and male (TI’s vehicle was female and DO’s male) as said in Revelation 12.
They “spoke” what they knew for about the 1260 day period talked about in the Revelation 11 Two
Witnesses. They were “overcome/subdued” shot down in the street and then “exited by dying
themselves” (Greek: apokteino auto) wit a time and times and half a time in between according to Rev 11
and 12 prophecy. TI left by her vehicle going to the grave (earth opened it’s mouth – to swallow up her
vehicle with the flood of negativity against her – Rev 12). TI when she was dealing with cancer in her eye
in the early 1980’s was given the “wings of an eagle” to escape, which seems like when They moved to
BlackHAWK Colorado at 9,000 foot of elevation (where eagles fly in the high altitudes). Ti was an
astrologer – clothed with the sun with the Moon as her footstool (DO to give the students a way to step
up to Next Level Membership). And many more of these kinds of prophecy fulfillments that no one else
even comes close to and that I only learned about after I left when I started to analyse the Book of
Revelation.

We also had no out loud prayer, and a short time when we had a few group meditations with no talking
or props. We didn’t dress in a holy way. We dressed modestly. We didn’t chat with one another. We only
talked when we had a task to talk. We had no substance usage for recreation – so no booze or pot or
drugs or tobacco usage. We had no competition though some students needed to overcome that
tendency. We had to ask each other and TI and DO for help (though they reminded us to do so every so
often). We did use the doctor and dentist as needed. We experimented with liquid diets and with sleep
patterns but were never sleep deprived.


https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          124/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

I wasn’t lonely
      USDC      whencase
              IN/ND  I joined or ever really. I don’t
                          3:22-cv-00395-MGG           see being
                                                  document      in thefiled
                                                             132-8       group as a “rough
                                                                            07/24/23  page life” really.
                                                                                            126 of 147 There
were some rough times but not even worse than many in the human kingdom experience. It was a
mental roughness different from things humans would consider rough because it entailed leaving all our
human thinking, behaviors and ways behind (except for minimal creature comforts and the pleasures
provided by TI and DO).

So it was a different form of rough. For examples; at first in houses we had a lot less to do – as while
living outdoors for years we each washed our own clothes and took sponge bathes every morning and at
first cooked our own food and washed dishes and kept our tents clean and participated in driving
someplace to find water to fill up our jugs or since I was the camps chain saw operator I’d gather a crew
and take a van and go fill it up with dead wood I’d locate. At night we had Night Watch – each
partnership taking turns getting up and watching the heavens and noting anything interesting for an
hour at a time. At one point in around 1978 we had TV viewing using a generator for power – watching
the Price is Right and some Jeopardy. Plus we played board games and games like Simon and Rubix
cube and Battleship and Stratego and checkers and chinese checkers and others, as much as we wanted
and we read books out of our small library and could write notes to TI and DO and over the years other
writing projects. And early on TI and Do would give each partnership $20 for groceries with no
directions on what to buy but it was to last for a week so we didn’t often buy things like meat but that
was also 1976 in Wyoming and you could buy a lot more for that much money than now.

We didn’t live 5 to a room. The houses we leased were large so we’d have 4 or 5 rest chambers with 4 to 5
double bunks in them. They were only used for sleeping. We spent our time either on duty in the Nutri
lab or Fiber lab or Impro Lab (car/house maintence) or Yeast lab or Juice lab or Central (where people
would have the tasks to draw up schedules, etc.). Cleaning was optional but expected, so I’d frequently
vacuum.

Article said, “Yet so few of them seemed willing, or able, to take a step back and question why they were
putting themselves through this. Aside from the promise of extra-terrestrial transportation, of course.
But that’s a hard road they took.”

Sawyer:

We were always “able” to think whatever we wanted though the process TI and DO were teaching
meant that one wouldn’t think about the past but there was no mechanism to check on what someone
was thinking. There were a number of times TI and DO gave instruction to think about if there was
something in the world we wanted to do or someone to be with. Then after about 20 minutes they’d say,
now go back to blocking those thoughts. They said they did the same thing every so often though didn’t
like doing it – felt like they were allowing their minds to go back into a pit. I remind DO said when he
met TI he was content. (He had a career as a opera singer with the Houston Opera and giving voice
lessons and leading University music departments and choruses. He had friends and was doing fine
financially). They would say, which I’ve identified with since, that even if this wasn’t exactly what they
thought it was, they would have to pursue what they were coming to understand.

We had no required repetition of mind disciplines or ways to measure one anothers compliance. We did
no chanting. We were given the tools to was our own brains so there was no brainwashing techniques
imposed on us.

Article with Clay continues “It is. The other thing that fascinated me, was that it was really hard. But I
remember Frank saying that you get accustomed to just not having to make a lot of decisions during the
day. You are able to shut that part of your brain off. And so when you come out of the group, you have
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          125/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

to kindUSDC
        of figure out case
               IN/ND  how to re-engage with society
                           3:22-cv-00395-MGG          and reengage
                                                  document    132-8 that
                                                                      filedpart of yourpage
                                                                            07/24/23    brain127
                                                                                              thatofhas
                                                                                                     147to make
the decisions on what to eat. Just like a bunch of little micro decisions. What to wear? What to eat? How
to socially interact? So I was like, “Oh gosh, that’s a reason why the trauma of being in these groups
often reverberates and lasts with former members for so long.”

Sawyer:

I don’t know what Frank is referring to as not having to make decesions everyday. We worked in
partnerships and often had differing ideas about how thoroughly to do a task and plenty more things
day to day. Contrary to Franks experience, when I left the group I had no problem at all adjusting to
society. I got a job or two, an apartment, started to make a friend or two and rode my bike to work and
rented a flute and bought some harmonica’s and some conga drums, went to the movies sometimes,
rented movies sometimes. I enjoyed riding my bike some miles to the grocery store to buy food. I
remember enjoying picking out my own food but while in the group I had no problem having the menu
planned for me. For some that was harder than for others. What to wear was a no brainer. I went to the
salvation army to buy some clothing. I worked as a dinner cook at the Marriot Resort Hotel. After some
months I moved back to NY and began to play bongo’s for poets at little mini festivals. I went to camp
out at one of the last Grateful Dead concerts and met a young woman there and ended up dating her a
little. I would go to full moon gatherings in Woodstock NY to play drums. I started dating and it’s true
that those dates were mostly terrible but not necessarily because of not being in the group. Even the
years living on my own before joining I was shy and it’s true that now since I wasn’t shy about telling
someone I was in this group for 19 years that would sometimes be the end to that friendship. Then when
I met my x and we shacked up and she got pregnant in 1997 I became a dad to two girls and fully
supported everything they needed. I developed a business selling Blue Green Algae health products but
I was a poor salesperson so it didn’t work out and so I got conventional jobs.

Trauma? It’s unfortunate that Frank felt that but perhaps he’d been dealing with questioning being there
for years and only stayed because his girlfriend who as he said he still loved was still there so perhaps
that weighed on him. I joined with my girlfriend but it wasn’t that hard to break up with her and we
both soon lost any interest in one another in a human way. I didn’t have any desire to leave and I had
some opportunities many to do so. I loved being in the Classroom. TI and DO were amazing and my
classmates to include Frank were really good people to live with for the most part.

Clay says in article: “…You can draw pretty strong parallels to like what’s happening with QAnon and
Trump pretty easily.”

Sawyer: On this point I’d like to see those parallels. Trump was NOTHING AT ALL LIKE DO AND TI.
It’s like comparing apples (DO) to burnt up wood (Trump or Biden or Pence or Harris, etc). And
comparing with QAnon is abserd. It was the OPPOSITE. I looked into QAnon some years ago to see
what the fuss was all about and all that cryptic language with people becoming popular for appearing to
translate it. TI and DO were direct and to the point. They had no mysterious sayings or cryptic
messages. They said what they knew and they knew what they didn’t know and they knew where to go
to learn what they didn’t know… Their Next Level Older Members. When someone asked a question
that was vague, they would ask for specifics. They seldom talked philosophically and when DO spoke of
a tiny few of the Revelation records sometimes he even said this was at that time for “amusement” and
wasn’t important and that John who wrote the book wasn’t able to get it all right but that the events
would all be taking place which we see happening more and more now – like Rev 16:2 – plague that
gives people with the mark (allegience to the Govt), “noisome and grevious sores” (Stress and diseases –


https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          126/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

like Jesus
       USDCsaidIN/ND
                there case
                      would  be pestilence). And DO
                           3:22-cv-00395-MGG        said in132-8
                                                 document   Beyondfiled
                                                                     Human   session
                                                                        07/24/23     11, 128
                                                                                   page  I think, that part
                                                                                              of 147
of what we might see happening after he left was “people dying in droves” and wow has death
escalated.

Both my x’s parents died last week about a week (January 2021) apart from diseases they had all along.
They were treated so badly because of the Covid restrictions but she died of dementia – stopped wanting
to eat and he died of pneumonia. Both had at one point tested positive for Covid but who knows if that
increased their sickness as we know when they used to count flu deaths they were as high as over 60,000
in 2017-18 season according to CDC website.

Tags:Atheist, buddhist, Christian, Cult of Cults, cults, Heaven, Heaven's gate, islam, Jesus, Jewish, Ti and
                                                     Do
  Posted in bo and peep, Christian, heavens gate, Jesus, ti and do, Two Witnesses, ufo cult, ufo two | 2
                                               Comments »



Standing for TI and DO is Our Task Now

May 3, 2020
I am regularly criticized for having a youtube channel – 3spm and this blog and Facebook page because I
talk about my personal experiences in TI and DO’s classroom. I am also criticized for talking about what
Jesus said in relationship to this time period and in accordance with what TI and DO said. I am also
criticized for relating Prophecy from Jesus and found in the Book of Revelation to TI and DO’s teachings.
I am also criticized for relating the many “signs” Jesus related as happening at this time in the sun,
moon, stars (planets, comets, etc.) that become visible to us through our eyes and through our telescopes
and through NASA and ESA, etc. space telescopes that are very, very unusual. I am criticized for having
written a book about all of the above.
Ironically, my main critic of all this has been the former fellow student of DO known as Carlan aka
Crlody in the classroom who uses the name Jason on youtube (only saying so that people know it’s the
same person).
Here is one of his recent comments below with what DO said that he seems to think means I am doing
something against TI and DO’s wishes by expressing myself on my livestreams, blog, etc. that are from
my mind.
This is not a longshot to take his inclusion of a statement from DO in the comment below as indicating
what he thinks is wrong with what I seek to communicate because he has said as much in no uncertain
terms in dozens of his comments over the years. He just didn’t say anything to that affect in this one
comment. If anyone wants to see what I’m talking about, just search this blog for the two names he has
used… Carlan or Crlody and you will see a number of blog posts. I am not against his making
accusations though I wish he would be more thorough when he tries to back something up with things
DO has said that we have documented evidence for. I have asked him for evidence from DO’s Mind
rather than his opinions. He’s free of course to have opinions and to express them and it’s not like I don’t
ever take what he says to heart as I know I can always improve in the work I do to Stand for TI and DO.
DO didn’t tell us all the ways of communicating and what to study and what to use as evidence of He
and TI’s teachings in the world to date and what would be considered as working (Standing) for Him
and TI and Crew. So to tell me what not to say and/or do isn’t appropriate. It’s only the negative
influences that we all have to work against that would not want people to hear all that TI and Do said
and did over their years incarnate. It’s not anything new to have former classmates in disagreement on

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          127/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

things.USDC
        After all believe
               IN/ND      it or
                       case     not members of the document
                             3:22-cv-00395-MGG     class were 132-8
                                                              quite the  independent
                                                                      filed 07/24/23 thinkers
                                                                                     page 129and   the stakes
                                                                                               of 147
are very high now especially in this “war” with the lower forces on seeing the truth about TI and Do as
the return of the Ones who were referred to in the records as The Father in Heaven (at that time) and
“Jesus” – the body the Older Member (DO) took to perform His task through. Even 2000 years ago Paul
of Tarsus was writing and portraying himself as a teacher that didn’t come from Jesus’ Mind so is
perhaps the biggest sower of misinformation, distortion and dilution of Jesus’ teachings. That’s why the
organized Christian church doesn’t teach anything much that Jesus taught. They are most all, know it or
not Paul disciples. I am not saying there aren’t ways I could get off track, so in that light am glad for
Carlan’s expressions but then on another note to leave his comments without showing people a broader
view that is more accurate to demonstrate all TI and DO taught would be like turning people away from
the fact that anyone can at this time grow closer to graduating into Next Level Membership and that
doesn’t include suicide to do as DO spoke of Three Types of people who would be saved and using
suicide didn’t get one through the “gate” though it was the method of exit and show of total allegiance
and trust and separation from the human kingdom for the 38+4 who had all spend time in a personal
relationship with DO (and TI for many).
With this inclusion of what DO said evidence shows he’s clearly implying the same premise. He wants
me to shut up because he doesn’t want me to get any attention because he thinks I’m getting an ego buzz
off of doing so. In other words it’s the old adage of when you can’t shoot down the message, shoot down
the messenger. In this case he’s saying that what I say is “false prophecy.” What I say is, if so then show
me what is false about what I say. If I simply give my opinion about something I can’t prove is directly
from TI and DO’s Mind that can be suspect of course but isn’t automatically “false speaking about the
Next Level’s truth”.
I have no interest in putting Carlan down and I don’t block him because even the criticisms can be useful
to me and potentially to anyone who comes in the direction of becoming a student of TI and DO to date,
because we all will have such an opposition even from among some who say they believe in TI and DO.
The Luciferian Space Alien Fallen Angels seek to influence all of us. Like DO said, “We all have
demons”. I’ve been told by several that I come across as “cocky”. Maybe I do and maybe that’s a
characteristic of one of my “demons” that I don’t yet know how to get rid of entirely. But even if I am
getting some kind of ego buzz from appearing to know what I’m talking about, that’s between me and
DO and TI not another student. So it irks him and that’s one of his demons to overcome as that tendency
can also be directed at DO and may be part of the reason he left the classroom.
But what Carlan doesn’t seem to know is that we (everyone who is making application to be in TI and
DO’s classroom in it’s current form and thereafter in the next civilization’s startup) NEED to talk about
TI and DO for our own growth to show Them what They and Their Information means to us and to face
us with the difficultly of doing so which is part of the “overriding requirement”… to be saved for a
future classroom. Talking about them, telling the truth about them and supporting all they taught as true
is what They referred to as “Standing” for Them and that also includes disseminating their information
in the process which was also their intention, said in many ways throughout their left behind materials.
Just leaving our vehicles is not a ticket to anyplace but the spirit world and an end to taking advantage
of the need to have a human vehicle to learn lessons through. Search the Heaven’s Gate book for the
word “suicide” and see their position against “suicide”. The Luciferians would love for people to
commit suicide even thinking that was a ticket to being with DO on his crew. I don’t know if there is
anyone who didn’t have a personal relationship as an “Active student” to a “present” Older Member,
which means in person with DO who, by leaving by their own hand would be seen by TI and DO as
taking their best step towards graduation. DO said it clearly that we need our vehicles to learn lessons
through. So for anyone who might consider laying down their life, prove it to DO by doing the job they
outlined for us to do now. Separate from their humanness in all the ways they taught and maintain that
separation and simultaneous to that STAND for them as without working for Them, separation may be

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          128/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

no better  thanIN/ND
        USDC    how monks    and nuns separate from
                      case 3:22-cv-00395-MGG            their humanness
                                                    document              yet07/24/23
                                                                132-8 filed    may ignore   or poo
                                                                                         page      poo
                                                                                               130 of   that The
                                                                                                      147
Father and Jesus have returned already for the teaching part of the promised return.
There is a reason it’s such a hard task to Stand for them. The lower forces want to steal Souls for their
selfish purposes so they will use any ploy to accomplish that. I know as I could see how I was slipping in
that direction of serving humanity before The Next Level gave me a new dosage of “smelling salts”
again.
Here is that statement Carlan included in a comment:
DO: “We have put into Heavensgate just about everything we have to say, as far as we are capable. The
time I’m sitting with you is a tiny little fragment of time. I couldn’t tell you all the things I know if we sat
for days and days and days. But if you want to know more about us, if you can believe what I am telling
you and you want to know more about it, you can go to Heavensgate on the Internet. You can pull down
all kinds of stuff that we have written, things that we have done, things about our history. We even have
a book that is available to you – I’m not going to spend time now trying to sell you some book. But there
is a book available that you can find on the Heavensgate website”.
Sawyer (aka 3spm, Swyody) replies:
Case in point… “…just about everything we have to say...” – which means there is more to say.
Another case in point is how they left behind the audio tapes and said in the letter addressed to
MRC/SRF (aka Mark and Sarah), (presumably since their names were blacked out (by them according to
you, since you sent me the letters that you got from Rkkody that you said Rkkody said he got from Mark
and Sarah (Mrc/Srf) when they turned over the task to retrieve the contents of storage to them, which I
don’t doubt any of).
“We would hope that the public would have an opportunity for more thorough knowledge of who we
are and what we’re about.”
These letters were received by Mark and Sarah days after they had laid down their vehicles lives, right
so this was after DO expressed having said “just about everything we have to say” so that is clear
evidence that DO knew there would be more to say. And since the Heaven’s Gate book had before then
been put together in the first blue covered version that has been verified to have most of the same
material as in the now purple covered version Mark and Sarah had printed on DO and Crew’s
instructions (I believe) these statements in this letter become evidence that the remainder of what there is
to say is contained outside of the content of their Book and WebSite.
This statement I just referenced came after they wrote in the same letter, in the context of giving the
information of the storage locations and codes to access their cars and a truck and the entire content of
storage (where the tapes as you reported to me Rkkody had told you were stacked in their cases right up
front to stand out when one opened the door):
“It is our desire that any items of value that are retrievable by you be divided among those who feel
inclined to disseminate our information. Any of the funds you retrieve can be used towards that end and
for the living expenses of those involving themselves with this project.”
What does dissemination of Their information entail?
Is the contents of the audio tapes their information? I say it is and I believe the reason Rkkody didn’t
succeed on his first attempt to exit his vehicle was because DO wanted him to get the ball rolling more
on disseminating the audio tapes and other documents.
(Rkkody, at that time also started writing a book I’ve recently learned). Rkkody published on his “right
to know” web site a handful of documents DO and The Class wrote some of which I can confirm were
written while I was still in the classroom – the one(s) on the Anonymous Sexaholics’ Celibate Church
DO had us set up in the 1990’s that was discontinued before he sent us out to hold public meetings in
1994 (and all the others as well as I fully trust Rkkody).
My point is that, that information is in addition to the information in the Heavens Gate Book so the
Heavens Gate Book IS “just about everything we had to say” because it includes all the primary points.

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          129/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

If DO USDC
         and Crew
                IN/NDdidn’t
                       casewant    the audio tapes and
                              3:22-cv-00395-MGG        these additional
                                                   document  132-8 fileddocuments
                                                                         07/24/23 to   become
                                                                                     page 131 ofpublic
                                                                                                 147 they
wouldn’t have left them behind in Rkkody’s keeping because I am sure they knew if Rkkody had them
he would disseminate them which he did by including them on his Right To Know website, which he
also sent to me via cd before he left his vehicle.
I was present for all of the audio tapes we have and don’t have, except for a couple of the 1994 audio
tapes made when we were on the road that we have and for a couple takes like Blackhawk that were
recorded at “Retreat time/task” (though I listened to them after they were recorded). That means I am a
witness. But I understand I am fallible and can misremember things so what I often say during my
livestreams is that the most dependable things to put our trust in is what is in the Heaven’s Gate Book
and the Audio Tapes and Video Tapes that are clearly from TI and/or DO and Crew.
Being influenced to limit what is talked about as if eye witness testimony is like what the Catholic
church did when they began to limit what was to be in the New Testament and Bible.
However, I remember clearly hearing TI and DO say, the words of Jesus (the “red letters” in the gospels)
were kept in there because the Next Level “worked very hard to keep them accurate and available”
(paraphrased).
But DO included in our study in the 1990’s (since we didn’t study bible materials before that and it was
still optional) the materials from the Dead Sea Scrolls and the Nag Hammadi library – the Lost Books of
the Bible, the Book of Enoch, The Essene materials and other works, and also brought us a Strongs
concordance – Hebrew and Greek dictionary and various versions of the bible because some provided
alternative translation choices. One of those was Dakes Bible but DO also enjoyed referring to the
Amplified Bible for that reason as well. We still did not have Bible lesson times except on a tiny few
occasions. One time DO gave me a task to investigate the evidence in the bible for a form of
reincarnation in the Bible and when I completed the task, which I wrote down he had me present my
research to the entire classroom while he was present.
Something that Carlan repeatedly criticizes me for is that my name wasn’t mentioned in the names of
those who DO and Crew listed as helping with the task of disseminating Their information. Yet in this
letter I just quoted he broadened who could do the dissemination task to:
“those who feel inclined to disseminate our information”
…which clearly gives ANYONE AND EVERYONE that TASK whether we were in the classroom or not.
That project imposes no limitations on how, when, where to do that task, though stipulates spreading
“our information” so not just anyone’s information which is why I qualify what I say from my memory
since one would have to listen to all the audio tapes and all the videos and all the documents in the book
and others to potentially find evidence that many of my memories actually come from TI and DO’s
Minds.
Also, in that same letter DO’s Crew also talked about how the CBC office (Canadian Broadcast
Company) in NY had wanted an interview with DO and/or Crew that they declined. They said Simon
Boyce was their “preferred media contact”. His producer director for a major documentary on UFO’s
and paranormal was Debbie Geller about which they wrote:
“So for this reason, we are recommending that they be involved to some degree in the coverage of this
event, that is, if their attitude seems to remain somewhat objective and you find working with them not
too difficult. Of course, this is contingent upon whether or not you should choose to say anything to
the media on our behalf. We would hope that the public would have an opportunity for more
thorough knowledge of who we are and what we’re about”.
Two points stand out here that show their intentions:
1) they anticipated mark and sarah (and anyone who chooses) to choose to say things to the media on
their behalf. Did that mean they would only be allowed to quote them or refer them to the Heaven’s
Gate Book? They said, “say anything to the media on our behalf” which is exactly what I am
attempting to do and are authorized by Them to do with everyone.

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          130/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

2) If They
       USDCwanted
              IN/NDDebbie   Geller and the media document
                      case 3:22-cv-00395-MGG         to participate hoping
                                                                132-8  filedthey would page
                                                                             07/24/23  be as132
                                                                                              objective
                                                                                                  of 147as they
and Simon said he was going to be in making the doc, then am I supposed to believe that DO wouldn’t
have a former student who is Standing for He and TI and their information not to do things in the
media. Should I just let the media dictate what gets spread to the public because otherwise I’m not
letting DO’s information “stand alone” in it’s remote corner of the internet or to the few people who
might happen to come by it and find you or me to be sent the information via email or something.
         Tags:aliens, Christian, comets, philosophy, religion, science, space, spirituality, star wars
    Posted in aliens, atheist, bo and peep, Christian, comets, cult, God, heavens gate, Jesus, Luciferian,
religion, Revelations, space alien, spirits, ti and do, Two Witnesses, UFO, ufo cult, ufo two | 5 Comments
                                                         »



Sawyer’s Commentaries to Heavens Gate Podcasts by Pineapple
Street Media

February 26, 2020
Pineapple Street Heaven’s Gate Episode 1 Podcast re: Doubt in Ti and Do’s Classroom, Tests as a “Filter”
https://sawyerhg.wordpress.com/2017/10/20/pineapple-press-heavens-gate-podcast-comments-by-
sawyer (https://sawyerhg.wordpress.com/2017/10/20/pineapple-press-heavens-gate-podcast-comments-
by-sawyer)
No Real Comparison of Jonestown suicides with Heaven’s Gate
https://sawyerhg.wordpress.com/2017/10/27/no-real-comparison-of-jonestown-suicides-with-heavens-
gate        (https://sawyerhg.wordpress.com/2017/10/27/no-real-comparison-of-jonestown-suicides-with-
heavens-gate)
Pineapple Street Episode 3 Judges TI a Hypocrite using a preconceived hypothesis based on rumors and
broad assumptions
https://sawyerhg.wordpress.com/2017/11/05/pineapple-press-episode-3-ti-is-called-a-hypocrite-with-a-
manufactured-hypothesis-based-on-assumptions
(https://sawyerhg.wordpress.com/2017/11/05/pineapple-press-episode-3-ti-is-called-a-hypocrite-with-a-
manufactured-hypothesis-based-on-assumptions)
Pineapple Street Heaven’s Gate Episode 4 commentary by Sawyer
https://sawyerhg.wordpress.com/2017/11/15/pineapple-press-heavens-gate-episode-4-commentary-by-
sawyer              (https://sawyerhg.wordpress.com/2017/11/15/pineapple-press-heavens-gate-episode-4-
commentary-by-sawyer)
Pineapple Street Episode 5-The Tape from DO to Terrie – TI’s “daughter” comments by Sawyer
https://sawyerhg.wordpress.com/2017/11/18/pineapple-press-episode-5-the-tape-comments-by-sawyer
(https://sawyerhg.wordpress.com/2017/11/18/pineapple-press-episode-5-the-tape-comments-by-sawyer)
Jesus-Rebuilding Temple in Jerusalem, Hiding, Miracles, Abandoning Children, When Two Witnesses
Come
https://sawyerhg.wordpress.com/2017/11/28/jesus-rebuilding-temple-in-jerusalem-hiding-miracles-
abandoning-children-when-two-witnesses-come          (https://sawyerhg.wordpress.com/2017/11/28/jesus-
rebuilding-temple-in-jerusalem-hiding-miracles-abandoning-children-when-two-witnesses-come)
X-Member of the Heaven’s Gate Cult claims Sawyer was not in touch with feelings “inner child”
https://sawyerhg.wordpress.com/2017/12/17/x-member-of-the-heavens-gate-cult-claims-sawyer-was-not-
in-touch-with-feelings (https://sawyerhg.wordpress.com/2017/12/17/x-member-of-the-heavens-gate-cult-
claims-sawyer-was-not-in-touch-with-feelings)

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          131/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

Brnody’s
       USDCOvercoming
              IN/ND caseand   Health and “Heaven’s
                          3:22-cv-00395-MGG               Gate”132-8
                                                   document      Classroom    Food Overcoming
                                                                       filed 07/24/23           and
                                                                                      page 133 of 147Dietary
Longevity Research Summary
https://sawyerhg.wordpress.com/2017/11/29/brnodys-overcoming-and-health-and-heavens-gate-
classroom-food-overcoming-and-dietary-longevity-research-summary
(https://sawyerhg.wordpress.com/2017/11/29/brnodys-overcoming-and-health-and-heavens-gate-
classroom-food-overcoming-and-dietary-longevity-research-summary)
Pineapple Street Heavens Gate Episode 6 x-member claims DO becomes Psychotic
https://sawyerhg.wordpress.com/2017/12/17/pineapple-street-heavens-gate-episode-6-reaction-from-
sawyer (https://sawyerhg.wordpress.com/2017/12/17/pineapple-street-heavens-gate-episode-6-reaction-
from-sawyer)
                     Tags:aliens, Christian, religion, science, space, spirit, star wars
   Posted in heavens gate, Jesus, space alien, spirits, ti and do, Two Witnesses, UFO, ufo cult, ufo two |
                                            Leave a Comment »



Critique of Daily Mail article 12-15-2019

December 20, 2019
Here is an article that seems to be something reconfigured from the past to which I have followed with
my commentary as there are many things said that are misleading and even outright wrong, so read
them with a grain of salt until you read what I have to say about it, if you want to get a more objective
picture of what’s true. To go right to what I wrote search for Sawyer:
Ex-Heaven‘s Gate members still ‘connect‘ with 39 victims
https://stockdailydish.com/ex-heavens-gate-members-still-connect-with-39-victims/
(https://stockdailydish.com/ex-heavens-gate-members-still-connect-with-39-victims/)
Posted by SDD Contributor on December 15, 2019 at 9:26 am
EXCLUSIVE – ‘We still connect to the Next Level‘: Surviving members of Heaven‘s Gate cult say they
are in with 39 victims of mass-suicide who all believed they‘d be ‘transported to a higher level in a
spaceship‘ 20 years ago.
When first responders answered a 911 call to an upmarket suburban California home on March 26, 1997,
they could never have expected the shocking scene that awaited them: 39 bodies, carefully arranged, laid
out under purple sheets, each person’s feet bedecked with trendy black Nike sneakers.
The unforgettable crime scene images would soon be seared into the public consciousness as it emerged
that the deaths were the result of a mass suicide by a cult known as Heaven’s Gate – who believed they
were travelling by space ship to a higher level. Videos recorded by wide-eyed leader Marshall
Applewhite, 65, are still instantly recognizable 20 years later – as academics, the public and authorities
still wonder about the largest mass suicide on US soil.
The website for the group, which ran a web design company, remains active to this day, maintained by
two surviving members who provide information to people curious about the Heaven’s Gate beliefs –
although they insist, as the 20th anniversary of the deaths approaches Sunday, that the group does not
persist.
‘The Group came to an end in March, 1997,’ they wrote in an email to DailyMail. ‘There is nothing to join
but the information is timeless.’
When asked whether they were still connected to or in with their deceased former comrades, however,
they said: ‘Yes, we are still connected to the Next Level, when they are’ – without elaborating.
The website masters are reportedly a couple who left to get married, which was against Heaven’s Gate
rules, but retained their association – and shared beliefs – with the group, even allegedly fighting to take
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          132/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

possession
       USDC  ofIN/ND
                 the items
                       case the late members leftdocument
                            3:22-cv-00395-MGG        behind. They
                                                              132-8refused   to confirm
                                                                      filed 07/24/23   pagethis134
                                                                                                 information
                                                                                                   of 147    to
DailyMail or divulge any other personal details. They did, however, say that they look forward to being
reunited on another ‘level’ with the members who departed this world in 1997.
‘We hope to have the opportunity sometimes in the future but we do not know when that will happen,’
they told DailyMail. ‘Probably in our next reincarnation on this planet.
‘The simple understanding is that there is a real, physical level above the humans one here on earth. It is
not a spiritual existence. It is real individuals, in real bodies, in real crafts taking care of the issues of
their planet. The Next Level, as it is called, created this planet and all the life on it. The Next Level are
the care takers of not only this planet but all the systems of the universe.
‘From that, all the other understandings follow. They periodically come down to this planet to check in
on this civilizations development. The last time they took a very close up observation, in human form,
was from about 1972 to 1997. The time before that was 2000 years ago. At those times they talk to those
interested about the opportunity of the Next Level and how a very select few can enter into it only after
a long period of transition and instruction.’
And while the cult’s unorthodox belief system and mass suicide shocked the world in 1997, it had been
decades in the making.
The cult first began when Applewhite, a divorced father-of-two and son of a preacher who had tried his
hand at everything from acting to running a deli, met nurse and middle-aged mother-of-four Bonnie
Nettles in Houston in the early 1970s. They shared an immediate bond over their mutual interest in both
biblical theology and the occult, and they began cobbling together their own belief system – eventually
deciding that they were the ‘two witnesses’ mentioned in the Book of Revelation. They believed they
were prophets for a God who was really an advanced extraterrestrial, that individuals could advance to
an evolutionary level above human, and that the world would one day be ‘recycled.’ The pair believed
that Jesus had been sent on a similar mission by this same celestial being.
On New Year’s Day, 1973, they set off across the country to share their beliefs and eventually garner
hundreds of followers from across a vast socioeconomic and geographic spectrum. They left their former
lives behind, including their respective children; during their initial travels, they ran out of money and
would stop at blood banks for cash or routinely skip out on bills. At one point, Applewhite spent six
months in jail in Missouri for auto theft after renting a car and simply driving off with it – before Do and
Ti eventually disavowed stealing.
They distributed fliers and even took out newspaper ads as they continued their cross-country
proselytizing mission, picking up followers along the way. The group would shift in name, belief system
and number over the years, but always under the leadership of Applewhite and Nettles, who called
themselves Pig and Guinea, Bo and Peep and, most famously, Do and Ti – in a fantastically close,
platonic relationship. At one recruitment meeting in Los Angeles, they reportedly said: ‘We are The Two
prophesied in Revelation. God has sent us here as an experiment, so you might call us Guinea and Pig.’
Members were kept to strict regiments as the group moved across the country, sometimes living at
campsites, other times renting houses with funds often taken from a follower’s trust fund. Anyone
joining was required to leave behind family, friends and possessions (although the trust fund made the
cut) and to abstain from sex, drugs and other worldly pleasures; by the time of his death, Applewhite
and several other male members had been voluntarily castrated. Everything was regulated, from their
communal clothes – including underwear – to the length of their bathing time (six minutes using one
gallon of water) to the size of their pancakes. They were allowed to work regular jobs in their areas of
specialties outside the commune, however, generating more funds for the cult – and at the time of the
suicides ran a computer company.
Applewhite and Nettles believed they would be killed for their beliefs and rise again three and a half
days later in a ‘cloud’ or UFO, after which the world would be destroyed.
The group was never targeted or threatened by the government or anyone else, however, skewing their
predictions of achieving resurrection through murder. Nettles instead died from cancer in 1985, again
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          133/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

shaking  the core
        USDC  IN/NDbelief
                      casesystem. Applewhite altered
                            3:22-cv-00395-MGG          his ideas
                                                   document      andfiled
                                                             132-8    came   up with page
                                                                          07/24/23    a new135
                                                                                             revelation
                                                                                                of 147 after
astronomers sighted the Hale-Bopp comet and, in November 1996, a photo emerged which appeared to
show an object trailing in its wake. Applewhite announced this was a spaceship which would pick up
the remaining followers if they cast aside their earthly bodies.
At the mansion the group then shared in Rancho Santa Fe, California, a suicide pact was formed.
Over three days, the members consumed a mixture of vodka and phenobarbital poison with pudding or
apple sauce, then tied plastic bags over their heads. Each was dressed in black shirts and sweat pants,
brand new black-and-white Nike Decade sneakers and armbands reading ‘Heaven’s Gate Away Team.’
The bodies all had a five dollar bill and three quarters in their pockets along with packed luggage at
their sides.
As each shift of followers died, the remaining members removed the plastic bags and arranged the
bodies before taking their own lives. The final death shift consisted of two members, left with no one to
remove the bags or neatly array the bodies.
The victims ranged in age from 26 to 72. Some had been in the group for 22 years; others had left and
come back when their outside world lives hit speed bumps or they simply continued to feel the
Heaven’s Gate pull; others had been members for just a few years. Some were parents who, like
Applewhite and Nettles, had left behind their children. Some members were dreamers and drifters,
while the occupations of others ranged from bus driver to ex-paratrooper to paralegal to journalist.
They were discovered by another Heaven’s Gate member, Rio Di Angelo, who had planned to be the
40th body discovered in the mass suicide – right up until a few weeks beforehand, when he claims to
have woken up with a feeling that he had something yet to do on Earth. So he left with the Applewhite’s
blessing, he said, and after the suicides received a package with a videotapes and a map to the home
where he would find them. He got a ride to Rancho Santa Fe, went inside and then alerted authorities.
The group had planned meticulously before they ingested the fatal concoction, making ‘exit’ videos
explaining why they were making the decision – as well as preparing a press release for the media.
‘By the time you receive this, we’ll be gone – several dozen of us,’ it read. ‘We came from the Level
Above Human in distant space and we have now exited the bodies that we were wearing for our earthly
task, to return to the world from whence we came – task completed. The distant space we refer to is
what your religious literature would call the Kingdom of Heaven or the Kingdom of God.
‘We came for the purpose of offering a doorway to the Kingdom of God at the end of this civilization,
the end of this age, the end of this millennium. We came from that Level, that time, that space, and
entered this one. And in so doing, we had to enter human bodies – which we did, for the most part, in
the mid-seventies.
‘Now it was time for us to leave those bodies (vehicles) – bodies that we borrowed for the time we were
here (by previous arrangement) for this specific task. The task was not only to bring in information about
that Evolutionary Kingdom Level Above Human, but to give us the experience of working against the
forces of what the human evolutionary level, at this time, has become. And while it was a good learning
experience for us, it also gave all who ever received knowledge from that Kingdom an opportunity to
recognize us and this information, and to even move out of the human level and into the Next Level or
the Next Evolutionary Level, the “Kingdom of Heaven,” the Kingdom of God.
‘The Kingdom of God, the Level Above Human, is a physical world, where they inhabit physical bodies.
However, those bodies are merely containers, suits of clothes – the true identity (of the individual) is the
soul or mind/spirit residing in that ‘vehicle’. The body is merely a tool for that individual’s use – when it
wears out, he is issued a new one.
‘No one can enter the Kingdom of Heaven by trying to live a good life in this world, and then, thinking
that when this world’s life takes your body, you get to “go to heaven.” The only time that Next Kingdom
can be entered is when there is a Member or Members of that Kingdom who have come into the human
kingdom, incarnated as we have, offering clarification of that information.’

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          134/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

The website     maintainers
        USDC IN/ND           told DailyMail that they
                       case 3:22-cv-00395-MGG           had been
                                                    document  132-8infiled
                                                                       the 07/24/23
                                                                           group forpage 12 years
                                                                                              136 ofand
                                                                                                     147‘joined
immediately after attending a meeting that Ti & Do held. Their truth was undeniable.’
They said interest continues in the group’s complicated belief system mixing traditional theology with
its sci-fi-esque tenets.
‘We get an average of about 10-12 emails a day,’ they said. ‘They come from all over the world. We sell
several books a year and give away about 40 or so free VHS tape sets. There is no dominate geographic
area. More tapes and books go out domestically because of the cost of shipping internationally. The
demos on this are very diverse.’
Survivor Rio Di Angelo, who was selected to discover the Heaven’s Gate bodies, also continues to
espouse the group’s beliefs and remains in occasional with the website moderators, they say. To coincide
with the tenth anniversary of the suicides in 1997, he released a statement, insisting: ‘I’m glad to be alive
and planning to stay that way. I have a wonderful life with purpose. I am alive NOT because I rejected
anything about Heaven’s Gate. I am alive because I have discovered something so extraordinarily
important to the world that it needs to be passed on to you in its most true and accurate form from ME.’
He went on to explain the tenets of Heaven’s Gate, saying: ‘When there is a Representative from the
Level Above Human (Heaven) here on Earth, you will be drawn to Him and His mission. You then will
be taught the final lessons in a type of finishing school. These important lessons enable you to know how
to create a Soul. A Soul is different than a Spirit. A human Spirit is Earth bond only. A Soul is “you”
conscientiously choosing to evolve into a new creature that has the non-human ingredient needed for
transition into the Level Above Human.
‘That Representative becomes your teacher and is the only one who can usher you into the higher level
of existence. He knows how because He’s done it before.
‘This is my understanding of the mission that Jesus started. This is why He was here and said he would
return.’
Confirming his three-year membership in Heaven’s Gate, he said: ‘I know everything worth knowing
about them and I can say with absolute, undeniable certainty, that Heaven’s Gate was indeed “The
Second Coming of Jesus.”’
He said: ‘I am against suicide and so was the group. What happened to Heaven’s Gate was an “EXIT,”
“The end of the Spirit reincarnation process and the beginning of life as a Soul in the Level Above
Human.”
‘They “EXITED” their bodies (vehicles) and are now with their Guide and Teacher in the Spirit world
(the Valley of the Shadow of Death) helping mis-guided Spirits before their ascension.
‘I am here to bring you the truth and to clarify information for you to examine. Also, to help with
understanding the next steps, after the “Second Coming,” if that is your choice. I am not here to
convince you to do anything or to believe any of this. If it speaks to you, use it. If not, go on.’
***********
Sawyer’s critique:
***********
These are my corrections and additional explanations to this article.
1) There are no “surviving members of the Heaven’s Gate cult.” There are only former student members
like myself and others and like these two webmasters who are managing the web site. All former
members are dropouts who failed to make the steep qualifying grade to have remained in the group,
though at the time we each left the group, whether voluntarily or not, because these two were dismissed
because they didn’t want to follow the instructions and lesson step that was labeled “I could be wrong”
that was designed to eliminate one’s dependence upon self by recognizing that wherever a decision
needs to be made, one’s opinion might be wrong, relative to what the teachers TI and DO would choose
to do.
This is a lesson to learn because working in a crew on a physical spacecraft laboratory of different kinds
and sizes, with some as large as planets, Next Evolutionary Kingdom Level Above Human Members are
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          135/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

crew minded    and they
        USDC IN/ND       love
                      case    it (just like many humans
                            3:22-cv-00395-MGG            love 132-8
                                                   document   being part
                                                                     filedof07/24/23
                                                                             a great team).
                                                                                       page DO
                                                                                            137described
                                                                                               of 147    the
crews as being like a Star Trek crew minus human behaviors and ways, thus no sexuality as they don’t
procreate (nor die) nor are there gender roles or comparisons because they have no gender. They have
outgrown gender and sexuality both in their Mind and in any kind of identity with the human physical
vehicles they took over while a student working towards Next Level Membership. Ti and Do referred to
a human vehicles sexual and/or gender identifications as “plumbing.”
This stating of “I could be wrong” designed to use a phrase like that in front of or behind or in the
middle of any statement of opinion was the lesson step mechanism that by exercising was overriding the
vehicles self confidence in it’s opinion and that lesson step was not something these webmasters wanted
to abide by so DO had each of the student in the group at that time express to these two that they were
being dismissed from the classroom until such time that they wanted to abide by that lesson step, when
they could return. Their choice to not abide by it was not any worse relative to those Classroom
teachings as my choice to not accept DO’s help because of the way I gave into sexuality with myself that
I wasn’t conquering to the degree I needed to, to qualify to graduate into the Next Level. Each dropout
had their own lesson step they didn’t choose to work on at the time they were in the classroom. The only
difference between these two webmasters and some others was that they didn’t directly choose to leave
the classroom where I did and others did over the years. (However, there were 19 students who Ti and
Do sent out of the larger classroom unit that numbered at the time about 100 students, which happened
in the fall of 1976. Some of those found the Classroom again in the early 1980’s by seemingly
coincidental circumstances, so rejoined then).
Since these Two still believed in TI and DO as their Older Members from the Next Level, but didn’t want
to rejoin when they were given the option in 1994 that I witnessed, when DO was ready to leave he
asked them if they wanted to do some tasks for them. They didn’t know at the time what they were
planning. I did know of the planned exit, as DO brought up the premise of taking it upon ourselves to
exit our vehicles (by our own hand) directly in late August of 1994 after we finished about 9 months of
public meetings across the U.S., after having increased our numbers by almost double the 24 members
we were down to by mid 1993. (However some left after that so the numbers ended up at 38 students
plus 4 who laid down their vehicles lives in the year or two after the large body of student did with DO
in March of 1997.
Yes it was the Souls of the vehicles who upon completion of their task of overcoming the behaviors and
ways of the human kingdom – aka taking full control over the vehicles they had a hand in choosing from
the vehicles birth that would be taken on board a spacecraft that was close on hand. However, they all
preferred for it to go a different way, they said which is why they packed bags for travel and had a tiny
bit of money on each of their possession in case TI (DO’s Older Member, aka DO’s Heavenly Father in
religious terms) chose to take them with their human vehicles, like in case TI wanted them to do a task
somewhere else on earth that required having a human vehicle. DO didn’t know what other usage TI
would have for their human vehicles since it’s the Soul that graduates into Next Level Membership. Ti
and Do had taught years before, even in the late 1970’s that another way they might exit the task is by
the Next Level taking our human vehicles and putting them on a table on a spacecraft next to the new
Next Level dense physical vehicle they were going to be awarded for their efforts so the Soul could be
moved into the new vehicle. By the way the New physical vehicle would not be one made of human like
flesh. It would be grown on a vine to adulthood (as there are no children vehicles in the Next Level).
Another way they talked about exiting our vehicles could have been by their being killed by humans
who hated them for what they were teaching, like an irate Christian who could see them as antichrist,
though they would be totally wrong as what Ti and Do taught and did was 100% in line with everything
Jesus taught.
Jesus instructed his closest students that they must lay down their vehicles lives while in service to Him
and His Older Member (Heavenly Father) He was operating as One with, though his Older Member
(named TI this time) was a different person. He described their doing so in the same way He was
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          136/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

demonstrating   by telling
        USDC IN/ND          the truth about the Next
                      case 3:22-cv-00395-MGG            Level’s132-8
                                                     document   reality filed
                                                                         to those who didn’t
                                                                              07/24/23       wantofto
                                                                                       page 138       hear the
                                                                                                    147
updates who as they hated Him would also hate them for speaking.
Joh 10:17 Therefore doth my Father love me, because I lay down my life, that I might take it again.
Joh 10:18 No man taketh it from me, but I lay it down of myself. I have power to lay it down, and I have
power to take it again. This commandment have I received of my Father.
Here Jesus was talking in such a way that today if heard people would say he was promoting suicide.
Humans think that humans killed Jesus and they did but only killed his human vehicle and weren’t able
to kill his Soul that then healed the vehicle enough to demonstrate that it wasn’t a spirit his students
saw. TI said that it was characteristic for a Member of the Next Level (Soul) to heal a human vehicle that
became damaged in 3 1/2 human days if that’s the task they had to do. TI didn’t have that task as TI
knew from the beginning that she was here to get DO started and then would go back. When TI would
tell him this in their early years together he wondered what she meant by going back. They at first
thought they would go back together. DO said he couldn’t imagine TI was meaning she would go back
to be with her human family again. So at the time he put that idea on the back burner. When her vehicle
died and TI didn’t try to heal it DO knew then what she was referring to – her return to her Next Level
station on a spacecraft to oversee the completion of the task DO was to finish without his Older
Member’s physical presence. TI’s exit is demonstrated in Revelation 12 as DO told us the Woman was TI
and as is described about TI’s exit would occur by the “earth opening it’s mouth,” an old expression for
going into the grave/dying.
So DO was preparing for whatever option Ti chose to take and as we know that ended up being
allowing them to go through that difficult step of laying down their vehicles to the vehicles death – all
knowing that they were not their vehicles, knowing because of previous experiences of those Souls that
were with Jesus (DO’s previous incarnate task) that the death of the human vehicle was not the death of
the Soul. To humans without that experience it seemed like they were committing suicide but to them
suicide would have been to not go with the instructions DO received from TI on how to exit when the
time was determined to do so. DO and Crew wrote that They taught that for a human to kill their own
vehicle is much different as humans as well as TI and DO’s classroom members needed their human
vehicles to learn lessons through but that they were done with their lessons.
They wrote that for a human to commit suicide was wrong, a waste because they didn’t want to deal
with hard lessons would be short circuiting their progress towards graduating into the Next Level at a
future time. It doesn’t mean that someone in the human kingdom who commits suicide does not get
saved for another lesson time, but by committing suicide they flunked out learning all the lessons they
needed to learn.
2) Saying ‘We still connect to the Next Level’ if that’s all they said about it, is misleading. There is no
direct connect. At best it’s like picking up the telephone and knowing Their address/phone number – in
this case, the distant deep space “heavens” and knowing who they are trying to contact – TI and DO,
and leaving a “voicemail” asking a question or asking for strength to conquer an addiction or asking to
learn the truth about something or asking how to be of greater service and then hanging up and then
putting out a repeated effort to discover/identify answers to those questions that mostly will come
through what are seen as normal human channels, like in the news or from people we know or don’t
know, or by having an ideas of something to do or try that might yield answers. Answers would never
be something that would harm ourselves or anyone else in any way to do but will always be things to do
that are reversible and even be things that may show us that we asked the wrong question or could
show us that what we were asking for is not really what we want and/or need. When They respond to
us, we can have a sense of their reply through these ordinary channels but we won’t be certain it’s Them
responding. There won’t be voices in one’s head telling us to do or not do something though one can
have a feeling in that regard. I believe it is possible when asking to get a sense of an answer right away.
This is also applicable to anyone. Jesus taught it as the Lords Prayer, meant to be an outline of how to
talk to the Next Level (Kingdom of God, Kingdom in the literal heavens). It was meant to be a private
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          137/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

petition  for help
        USDC       in some
               IN/ND   case way not to be made into
                            3:22-cv-00395-MGG        group prayers
                                                  document   132-8 that
                                                                     filedjust bolster people’s
                                                                            07/24/23   page 139sense of being
                                                                                                of 147
holy in appearances.
Now if someone doesn’t know the “address” (deep outer space) or to whom they are seeking an answer
from, as Jesus instructed directing our petition to “our Father in the heavens” there are any number of
spirits – discarnate – deceased human minds that love to step in to be someones’ “god” or “jesus”
because they died believing they were in that role to other humans as intercessors so they continue to try
to operate in that way in the discarnate condition. That’s why we hear of people saying Jesus or God told
me to do it, even some horrible harming of another human being. An answer would never be inconstant
with the behaviors and ways taught by the Next Level through their incarnate servants over the
millennium, mostly through Moses and Jesus in this current civilization but potentially through a
different part of the experiment as seen in Hinduism and/or Buddhism for example.
3) It was a purple shawl draped over each of the deceased vehicles of those Students not a sheet. That
event was about the only time over my experience of being with them for 19 years that symbolism was
used in that direct kind of way for the sake of those who would discover their vehicles. They didn’t spell
out what the various symbolism was in the use of the Nike (slogan: Just DO It) sneakers. By the way the
word “nike” in the New Testament Greek, means, “to overcome, conquer, gain victory over” the human
kingdom “world” as Jesus taught was required for everyone who was to experience a “Spirit/Mind
Birth” which is what I believe we all were witnessing happening.
4) It’s a misguided opinion without evidence for the writer of this article to say it was a “crime scene”.
The San Diego Chief of police and the coroners office both said there was no evidence of fowl play. It’s
was eerie for them but peaceful and they left a number of statements and video footage “exit video’s”
where most all of the student members of the group said something about what they were about to do
and how it was joyous to do so (as hard as that is for many to accept, I can attest that they were telling
the truth about the way they felt and how DO carefully spent years making sure each student was fully
cognizant of what they were doing. There was no coercion, no pressure, no guilting, no carrot held
before them (in a way that was a lure). In fact it was contrary to that. It was hard to stay in the group
though not because the difficulty was that apparent, except for those that had doubts they didn’t choose
to combat. There is a great deal to say about this, some of which is outlined in my blog post:
https://sawyerhg.wordpress.com/2017/10/20/pineapple-press-heavens-gate-podcast-comments-by-
sawyer/ (https://sawyerhg.wordpress.com/2017/10/20/pineapple-press-heavens-gate-podcast-comments-
by-sawyer/)
5) The “higher level” was described by TI and DO as The Evolutionary Level Above Human, The
Kingdom Level Above Human and in short The Next Level. It was compared to the human evolutionary
level scientifically (physically and mentally) with the way there is on earth a Mineral Kingdom, Plant
Kingdom, Animal Kingdom and Human Kingdom to where the Human Kingdom was not the end of
“evolution” (not Darwinian evolution). They taught that the human kingdom was designed to be a
“stepping stone” into membership in the Next Level. They described the Next Level as physical and
many membered but not as many members as in the human kingdom. They said their numbers were in
the thousands. Members are actually graduate Souls. A Soul is a container that is of a plasma like
physical consistency (unlike a Spirit that is etheric – a frequency construct). Souls are deposited into
selected human vehicles that were picked to be a match for a returning Soul’s lesson requirements to
qualify to graduate the human kingdom. There are different types of souls and all souls that are
deposited don’t survive the process to graduate. One type of Soul is deposited in selected human
vehicles who are going to host a returning Soul that had grown some in a previous incarnation while
with an incarnate Older Member like Moses and/or Jesus, while another type of soul is deposited for a
first timer entering the program during the time when one or more Older Members is in the flesh
(incarnate).
There are humans right now, following the 1997 exit who have received Souls, perhaps even one of
either type who are able to take their next step towards graduation that wouldn’t take the shape of
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          138/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

laying USDC
         down their
                IN/ND human   vehicles by their own document
                        case 3:22-cv-00395-MGG      hand because   the Older
                                                               132-8          Member isn’t
                                                                       filed 07/24/23 pagephysically
                                                                                           140 of 147present
anymore to know whether that is right for them to do. That’s why Suicide isn’t supported by the Next
Level as we need to have our human vehicles to proceed with our overcoming lesson steps that are right
for us now. Suicide for us would be not taking advantage of the opportunity to learn difficult lessons
while in the human kingdom. No matter how someone dies their spirit and/or soul is judged by the Next
Level as to when and where their next opportunity to graduate will be. Next Level Members are very
fair but it’s never a human vehicle that graduates into Next Level membership. It’s always the Soul that
graduates. Upon entrance into Next Level membership, each graduate is awarded a newly grown dense
physical vehicle (not dense like human flesh is dense) that is grown on a vine (like a plant) to maturity.
There are no children vehicles in the Next Level though there are Older and Younger Members. Time is
not the determination of Old or Young. Experience is what defines an Older or Younger Member.
Members don’t wear their experience like humans do, like in the military with hash marks and ranks but
Members can recognize an Older Member among them as it’s a quality of Mind they feel. I can relate to
that in what I felt from TI and DO. It wasn’t what they said that identified them to me as Above and
Beyond Human (though that was part of the conscious recognition). I subconsciously felt their Above
Human Stature. That can be explained as the Soul having both been helped to have that recognition
and/or having gained that recognition from a previous lifetime of experience with an incarnate Older
Member. Souls come with a “chip of recognition” (like a computer chip that has certain programs that
provide a certain amount of identification of what is true – what makes sense that another human may
not have or may not have awakened to yet but that anyone who wants to have it can be given if they ask
for it, so no one is left out from growing towards Next Level Membership).
6) Some media have reported that the ones running the Heavensgate website were “surviving members”
but that was an erroneous way of describing them. To be a surviving member means they would have
left the human kingdom with the 39. Those left behind by their own choices (including me) are not
necessarily going to survive the recycling. TI did say that all [Souls] who came back with them would
return to the Next Level’s keeping to have another opportunity to be in a human or human equivalent
kingdom to finish their overcoming process. That might take the shape of being “saved” “on ice” DO
called it, though said that wasn’t literal ice. It’s true there is no group anymore though there are new
believers who DO left instructions for how to grow further with the overall requirement to be “saved”
from the upcoming recycling being:
“In order to get saved for further planting, the overriding requirement is to recognize that this is true
(these are the facts). You must believe that we represent the Kingdom that created this planet and all of
its inhabitants. And you must be willing to take a stand in defense of that belief, and sustain that stand
until the end – your departure – regardless of the consequences.”
This is not the complete formula to qualify for graduation into significant or elementary service in the
Next Level after a student’s vehicle dies. That formula is stated as:
“The formula is the same now as it always has been. To begin a metamorphosis in order to be born into
the Next World, you must abandon everything of this world (just as the caterpillar about to become a
butterfly must do). You must separate and begin to wean yourself of all mammalian ways – ties and
addictions – replacing them with the ways and behavior of a more advanced and refined level of life.
You cannot do it by yourself. You must seek, to the best of your ability, the guidance of a Representative
who is a member of that kingdom, who has been through the metamorphic process at a previous time,
and who has been sent with the specific task of midwifing newborns. Or, at very least, you attempt to
connect with an active “student” of a present Representative. This is an extremely rare opportunity, as
we approach the End of the Age. There is a tiny remnant left of a window for catching the eye of the
“caretakers of this world.”
(These quotes came from the Heaven’s Gate Book, ‘How and When “Heaven’s Gate” (The Door to the
Physical Kingdom Level Above Human) May Be Entered’ in the document entitled, “”Away Team” from

https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          139/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

Deep Space
        USDCSurfaces
              IN/ND caseBefore  Departure” written
                            3:22-cv-00395-MGG         on TI and
                                                   document      DO’sfiled
                                                              132-8     behalf by thepage
                                                                           07/24/23    elder141 student
                                                                                                   of 147named
Jwnody (June-ody)).
7) The two webmasters are not saying enough in my opinion to more accurately portray the Next Level
Members relationship to Their planet earth experiment for growing Souls upon by saying; “They
periodically come down to this planet to check in on this civilizations development.” The truth is that
the Next Level is constantly working with the humans on their planet though only periodically send
their Older Members and Crew to incarnate to help move a Class to it’s next lesson steps. When
Representatives come they don’t just talk to those who are interested. They prepare individuals (Souls
and vehicles) to recognize the Older Member by His words and vibration so they can move forward a
step towards a graduation. They are very busy the whole time. There is nothing casual about it as they
seemed to imply by saying they “check in”, It’s a major project.
Yes “few” are selected but many are called (said Jesus) but the time period of receiving instructions isn’t
automatically assumed to be long as the Next Level never holds anyone back (as humans do one
another) so some can grow very quickly.
In the current civilization this took the shape of three trimester periods starting the first trimester (before
that was the prep time for the first trimester) during the time recorded as Moses and the Children of
Israel (the Overcomers).
The second trimester was when the graduation formula was laid out by Jesus – separating from human
family and giving all one’s Mind, Heart, Soul and Strength to the Next Level through the most currently
incarnate (present) Older Member, in our case now to DO (who TI instructed students to make our
commitment to, as she said she came to help get him started).
8) DO said that the only thing He and TI had in common at first when they met was a “love for their
Heavenly Father”. They didn’t then go about “cobbling together their own belief system” – ideas came
to them individually but at the same time that when they compared notes on those ideas they matched.
At first in 1973 they each realized they (Their Minds) each came from The Evolutionary Level Above
Human, a physical many membered kingdom (in the records described as The Kingdom of God in the
literal heavens (outer space)), and were here on earth to take over the human vehicles prepared for Them
to, “bring updates to the Bible” and to “fulfill prophecy”. It was months later through seeking and
searching that they recognized the prophecies they were to fulfill were outlined in the Book of
Revelation, chapter 11 having to do with the Two Witnesses. Ti originated the short phrase of “Next
Level” because for humans it was their next step in evolution (not Darwinian) by their efforts to abide by
all the Older Members taught and demonstrated in Next Level behaviors and ways.
Years after having a classroom DO told us that TI was the “woman” in Revelation chapter 12. Other than
that they didn’t teach from the bible at all though would occasionally mention something Jesus or Moses
taught. They said we could trust the records of what Jesus said in the four “gospel” accounts because a
Next Level Crew worked very hard to make sure his words were still accurate for our benefit.
TI told us that DO was the same Soul who performed the tasks of: Adam, Enoch, Moses, Elijah and
Jesus.
TI and DO taught that every Member of the Next Level was a “God” relative to humans because the
Kingdom of God was a kingdom level above human with the comparison of the relationship of a dog to
a human – a kingdom level of differences. Jesus described this same idea saying that among humans
John the Baptist was the greatest human but that the youngest member of the Kingdom of God was
above him. (I surmise that the Soul in the vehicle named John the Baptist had not yet graduated into
adult membership in the Next Level before that time but was more experienced than any of the other of
his students so was given a different task from the others appropriate to his needed growth).
TI and DO did say that the most experienced Member of the Next Level was the “Chief of Chiefs” but
that we wouldn’t begin to understand more about where he came from until we were in the Next Level
because the human brain wasn’t capable of understanding that. DO said that TI was Chief Administrator
of the Earth project which they called an “astronaut training program” for Souls. (Souls are physical
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          140/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

containers,
       USDC  DO   at first
                IN/ND      called
                        case      a “pillow case” or adocument
                              3:22-cv-00395-MGG        “pocket”132-8
                                                                and then  in 07/24/23
                                                                      filed  1994 compared
                                                                                      page it’s
                                                                                           142physicality
                                                                                                of 147    to
being “like a plasma” state of matter.
9) I believe it’s misinformation that Ti and Do and/or students stopped at blood banks and/or routinely
skipped out on bills. It’s possible that some of those early would be students in 1975 stopped at a blood
bank but that wasn’t necessarily approved by TI and DO. I have a lot of reasons to think it wasn’t
approved by TI and DO. Here’s some of the reasons I say that. When the group I was in (at a time when
groups had very limited contact with TI and DO in those early days in 1975 and 1976 we sometimes
went into dumpsters behind a grocery store or donut place to find food that still looked good. When Ti
and Do later found out about that, they disapproved entirely as I suspect they might have said about
going to blood banks. Our instruction then for meeting our food and gasoline and sometimes shelter
needs during that remaining 6 or so months of our public meeting period of time was to “test churches”
because the churches claimed to be working for God that included feeding the hungry when asked and
we were working for God and so should be given help in that regard. They never told us to ask for
money. No pan handling or selling roses or anything on street corners as the Moonies did. We simply
would go to a church, find a pastor and ask for help with our needs of food and/or gasoline to continue
our mission and/or lodging if need be (though we were equip to sleep outdoors in tents in the decent
weather).
re: DO’s felony conviction:
The charges against DO were dropped. They rented a car using one of DO’s old credit cards he still had
with him but wasn’t using til then. When they didn’t return the car on time it was reported stolen. TI
and DO said they sent letters to the rental car company explaining that they would pay for it (though
they didn’t know how but were so taken with their task they hoped the Next Level would help them in
that regard). When the rental car company got the car back they dropped the charges but the DA in St.
Louis knowing of their unusual story decided to take up the case to make easy points for his re-election
bid (DO felt). After 6 months in jail DO’s case was to come to trial and DO was offered a plea of guilty or
go to trial and take his chances. So he coped a plea because it meant he would get out of jail right away
since the sentence was 4 months and he already served 6 months. They never approved of stealing and
They regretted renting the car but felt they had instructions to do so. Perhaps the Next Level wanted DO
to appear to be a “thief in the night” as it said would be the modus operandi of the return of “Jesus” in
his new incarnation with a new name.
re: the accusation of “skipping out on bills”; there is only one indication that this may have happened.
When TI and DO were out of money and were traveling in late 1973 the report was that they stayed at a
motel somewhere east of St. Louis before they rented the car. This was reported by the motel owner who
said these two alleged to be TI and DO left a note in the motel room that said something about how the
motel owners were helping members of the Kingdom of God. TI and DO never told this story but they
didn’t tell every little thing they did in those early years to everyone in the class necessarily. The note
they left when I looked at it did make me suspect that TI and DO wrote it but I could be wrong.
10) The group never “shifted in name” nor “belief system”. Some things they believed at first changed
but not entirely. In 1997 they still believed it possible they could be picked up with their human vehicles
by a spacecraft and preferred that exit rather than laying down their vehicles lives. One can also see this
thinking in their packing a travel bag, I suspect with the idea that if TI wanted to take them with their
vehicles (and even heal their vehicles) they would be ready to be given another task on earth. TI and DO
had once talked about tasks Next Level Members could have on earth. There was a report one time of
two people going into a café or something like that in the 1970’s and they were reported as looking very
strange and described as wearing a clothing fashion from the 1930’s which made them stand out. TI said
if those were Next Level Members that crew needed to do a better job with getting more up to date
clothing.
11) By the time we were living in houses, trust fund monies had dried up and about a dozen of us got
jobs in the world to pay the bills. Yes we were required to leave all behind but that didn’t mean bring no
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          141/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

moneyUSDCwith us.  They
                IN/ND     also3:22-cv-00395-MGG
                        case   needed cars since thedocument
                                                       modus operandi     was07/24/23
                                                                 132-8 filed   to go citypage
                                                                                          to city holding
                                                                                                143 of 147 public
meetings that lasted for about 9 months starting in August of 1975 though for TI and DO can be shown
to have lasted for the 1260 days described in Revelation chapter 11 re: the time period the Two Witnesses
would be speaking publicly.
Bathing time was 12 minutes not 6 minutes – it was 6 minutes on the shower side and 6 minutes on the
lavatory side.
TI and DO ran the organization like a laboratory as if it was on a Next Level physical spacecraft like a
Star Trek crew without human behaviors and ways, so no sexuality nor children to take care of nor
personal likes and dislikes as we all needed to become crew minded so yes there were many procedures
that developed over the years including the size of a pancake a crew was making for others.
TI and DO used the human daily needs of our vehicles for the lab lessons. In a Next Level laboratory
every detail of what we do and how to do it can be very important to the successful fulfillment of the
task. Having standards like in pancake size became important to have a consistent experiment. Food was
thought of as fuel not as something to gain a sensuous experience from preparing or consuming, though
they wanted it to be prepared well and to be tasty but they were the lab instructors and we were the
voluntary students so these things were not a negative in any regard unless a student was rebellious in
which case perhaps that was a sign they didn’t want to be in the group and at times some such
procedure became the straw to break the camels back, so to speak, so that someone chose to leave,
sometimes in the middle of the night since there were no locks on the doors to exiting and no one
watching everyone all night long.
12) The timing of the recycling was never talked about nor used as a threat or made into a prediction,
just a reality that was upcoming as the experiment is completed and each human has decided what they
believe or not before they die.
It didn’t matter to most of the fully dedicated to TI and DO students (such as myself) that the
“demonstration” might not happen, when they told us they felt the being killed in the street prophecy
took place when the national media broke the story of the disappearance of many people from the
Waldport, OR meeting and subsequent rumors abounded as to where they went and whether they were
abducted and/or to be killed. I was among the Waldport followers and we were never in harms way in
the least. So TI and DO, then Peep and Bo names were seen as evil abductors of people, hence when they
learned of their human vehicles names were crucified by the press on national TV by Walter Cronkite
and all the networks as charlatans, etc. When TI and DO told us of this change in interpretation of the
shooting in the streets scenario they understood if people didn’t want to follow them because the
demonstration of resurrecting a first was a big part of what they expected to demonstrate. But for the
most part, including me, it had no bearing on my wanted to follow them. They never actually dropped
that there might be a demonstration and DO even wondered if our holding public meetings again in
1994 saying this time that DO was the return of the same Soul who was incarnate in the vehicle named
“Jesus” would stimulate some irate Christians to bring about our exit from our vehicles as happened
2000 yrs ago. That might still happen as I speak in December of 2019 and thereafter by the hands of govt
and/or religious and/or by atheists as this tribulation time period escalates. Already there are democrats
writing laws to make it a criminal offense to refuse to vaccinate. How much will that movement grow?
13) TI’s vehicle’s dying in 1985 didn’t shake the “core belief system” of most of the students and shook
none of the students who laid down their lives in 1997, nor mine at the time since I was present for. I
recognized TI and DO right from the start as a number of students in the exit video’s said. That
recognition was very real though can’t be explained by the often primitive human sciences because
many of those folks don’t know that there is a spirit/mind and/or Soul that is very real that exists before
and after it’s in the flesh experience. It’s similar to the idea of reincarnation but not exactly as there aren’t
a set number of souls that exist who return over and over as there is a genetic Spirit that develops from
each new human vehicle that grows from it’s genetic and environmental starting mind/spirit from
ancestors through parents and care givers and then from society. They don’t really re-incarnate except
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          142/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

for theUSDC
          way aIN/ND
                  computer    software program candocument
                      case 3:22-cv-00395-MGG         be developed
                                                              132-8 on    one
                                                                      filed   computer
                                                                            07/24/23   and144
                                                                                     page   then  moved to
                                                                                               of 147
another one, which is taking place for all humans as the hardware having many spirits time sharing each
new human biological computer system. The only reality to reincarnation is when the Next Level brings
Souls back to take over new human vehicles to continue their lesson plan to graduate the human
kingdom. Jesus taught this would happen upon his return which is still in progress since TI and DO
evidence being the teaching part of that return with DO fulfilling the task as the return of the same Soul
who was in the vehicle named Jesus in the 1990’s but when he had his students do all the talking about
so didn’t change the public prophecy period of 1260 days in Revelation 11 as one of the Two Witnesses
with his Older Member (Father) TI.
The media portrays TI’s leaving her vehicle before they initially thought would happen as some big
shaking up of students and for a few perhaps it did so they left but for the core strongest students it was
somewhat surprising but didn’t shake their core beliefs at all or they would have also left. We actually
had notice this might happen in about 1983 when TI had her eye removed which was said to be cancer
then. TI and DO by then had already prepared the class for their potential departure before us though
they still thought they would both leave together.
What’s interesting is how Revelation chapter 12 outlines the classrooms start to finish in 1997, to now
even and that during that time period the “woman” (who DO said was referring to TI) would be helped
to escape the flood of negativity from the Luciferian (dragon) Space Alien Fallen Angel Souls which
includes all the humans who were sending negativity to her and DO by “opening it’s (earth’s) mouth” –
a saying related to someone dying and being buried:
Rev 12:15 And the serpent cast out of his mouth water as a flood after the woman, that he might cause
her to be carried away of the flood.
Rev 12:16 And the earth helped the woman, and the earth opened her mouth, and swallowed up the
flood which the dragon cast out of his mouth.
Rev 12:17 And the dragon was wroth with the woman, and went to make war with the remnant of her
seed, which keep the commandments of God, and have the testimony of Jesus Christ.
A “flood” represents the negative thoughts and feelings being sent to her by humans and Space Aliens
against them from all over the US and world even. It’s interesting that after TI left her vehicle he felt like
he then knew what TI had said to him in the very beginning that “I’m here to get you started and then
I’m going back” was referring to her leaving her incarnation ahead of him. So TI knew it though didn’t
know how it would play out. They said all along that their vehicles would die and that they would
resurrect. They at first thought their resurrection would be public but knew by 1978 that it might not go
that way. (I have three witnesses to these things I am saying now).
Then in verse 12:17 it implies the woman is no longer in the picture and that the testing is being put
upon her “seed” – those “she” seeded – deposited with Soul containers, which includes DO because DO
got his membership in the Next Level through TI (who he recognized as his Older Member, not because
TI told him so) which completes the real trinity of Father to Son to Student via their Holy Spirit/Mind
that is like the blood of all members of the Next level to be the instruments of.
14) DO (Applewhite) didn’t alter his ideas – He actually said that TI “burned out her vehicle” dealing
with the world’s negativity the included from Their students and of course from the loved ones of the
students that were sending such negative thoughts to them.
The Hale Bopp comets arrival with or without a companion object was not a “new revelation” at all. In
fact DO said it was the “marker” He and TI had been anticipating since at least 1975 to pick them and
their qualifying students up. (DO (AppleWhite) never said the alleged companion object was a
spacecraft. What he said was that it was irrelevant whether it was or was not a spacecraft – that the
comet was the “marker” for the timing of the exit they had been planning since 1975 and in earnest since
1994 since he knew by the human responses to the second period of about 9 months of public meetings
around the US that they wouldn’t be exiting their vehicles because of irate Christians who would see
them as the antichrist.
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          143/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

15) They   weren’t
        USDC       wearing
               IN/ND        “armbands”. They were
                       case 3:22-cv-00395-MGG         patches which
                                                    document  132-8 read
                                                                     filed“Heaven’s
                                                                           07/24/23 Gate
                                                                                    pageAway
                                                                                         145 ofTeam”.
                                                                                                 147
16) Rio, in the group named Neody wrote in his book, “Beyond Human Mind – The Soul Evolution of
Heaven’s Gate” that he never intended to lay down his life but was waiting until the last moment to
leave. (He knew of the plan from just months after he joined in around March of 1994, because DO
talked about it several times before I left the group and then they prepared to leave thereafter over the
course of 2+ years, thus saying he “had planned to be the 40th body discovered in the mass suicide”
seems to be misinformation in this article or something Rio didn’t recall in his book. They (we) were in
the San Clemente warehouse “craft” in September of 1994 when I recall DO bringing up the prospect of
leaving by our own hand (for the second direct time).
Here’s what Rio says in his book “Beyond Human Mind – The Soul Evolution of Heaven’s Gate”:
(speaking about when DO asked us whether we’d be willing to exit our vehicles by our own hand on
page 48 Rio writes)…
“I went along with the idea and possibility of DO being the “Second Coming” just for learning purposes.
I knew that leaving the body behind was not for me but wanted to stay until the end.”
Yes he left with DO’s blessing but not to perform another task because DO waited for him to instigate
wanting to leave. Thus DO recognized that TI knew of Rio’s plan, but since Rio still wanted to serve (like
the webmasters did) DO felt to have him shop the movie they had been working on and let him be the
one to find the bodies (though they also sent instructions to Rkkody (I think it was) about their exit
plan), in case Rio changed his mind. I never heard that Rio got a map in the mail. He lived in that house
for some months so I doubt he wouldn’t have known how to find them but I suppose DO’s crew could
have sent him a map to cover their bets or in case the instruction fell into someone elses hands. Even
though that was all unlikely to go that route DO was covering his bets to be thorough about how it
might work.
17) re: the part of the report citing Rio’s statements:
Everyone on earth will not be drawn to a future incarnate Older Member from the Next Level any more
than all humans were drawn to TI and DO in the 70’s to date. Their classroom in the future will only be a
“finishing school” for those who have gone through the “process” of overcoming their humanness. DO
said that even some of the 38 students who laid down their human vehicles lives would need to return to
finish their overcoming. We humans – students of the Next Level Older Members or not nor Space Alien
Souls know how to create a soul”\ or how to destroy a soul. Only the Next Level can create a Soul or
destroy a Soul. A soul is a container created by the Next Level. It has a plasma type of physicality and is
deposited into selected human vehicles that the Next Level determines can be a “match” for the needed
growth of returning Souls to qualify to graduate the human condition through. What we do create is
what we choose to do with the Mind/Spirit – information, behaviors and ways provided to us from the
Next Level that can grow our soul but it always remains an option and all don’t succeed and it during
this civilization was structured to occur over thousands of earth years, a short time in the Next Level
since they are out of time.
Rio was mistaken to say “I know everything worth knowing about them…” as I can attest to, there is
always more we can come to know about Them – TI and DO. No one on earth knows everything worth
knowing about them. Rio said in his book that he didn’t know if DO was the return of the same Soul as
was in Jesus. By the 10 year mark after they left it seems he changed his mind about that, which is fine
but he also said things at that 10 year mark that was off track, some of which I pointed out to him. Like
he said he had a “ticker tape connection” with DO but we never and TI and DO never had a ticker tape
connection. That portrays a connection that is very exact and it’s not that it couldn’t be. It just seemed
too certain and even TI and DO had a check and balance system to their connection before they would
determine an instruction having come from their Older Member.
TI and DO always said from the start that they were not “Jesus” because Jesus was the name of the
human vehicle prepared for an Older Member Soul to take over to perform that task through. For the
teaching part of the task that vehicle was not coming back. TI and Do stated in a statement they wrote in
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          144/146
5/16/22, 2:12 PM                                      ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

the back   of the
        USDC       bookcase
                IN/ND    UFO3:22-cv-00395-MGG
                                Missionaries Extraordinary  that 132-8
                                                     document    Jesus would   return as part
                                                                        filed 07/24/23   pageof146
                                                                                                theof7th
                                                                                                      147and last
“closeness” where they TI and DO were the Ones who returned as the 6th Closeness. That 7th closeness
would seem to be depicted in Revelation chapter 19 that Christians often think is the description of the
entire return, since no one seems to get that the Two Witnesses are the Father and Son both returning for
the teaching incarnate period where the final return is not a teaching time according to DO. It appears
from Revelation chapter 6 that there is a time upcoming when people will see DO’s “face” in association
with even an armada of spacecrafts in the near heavens – to see with the naked eye, like the biggest
comets can be seen. When that occurs depending on how apparent it is and how many people can
actually physically see it and understand it seems to be based on who comes to know about TI and Do
since their exit in 1997 and thereafter. Otherwise some might see the Armada in the near heavens as
Space Aliens or Humans or as cgi because before that it seems DO thought the Luciferian space aliens
would trick many humans with holograms like Fatima to try to steal souls from seeing the truth.
DO did go public as the ‘Undercover “Jesus”‘ in his publish of a document with that title to a number of
newgroups on the world wide web in 1995 that I believe was the 6th Thunder (roar) as forecast in
Revelation chapter 10. The reason Jesus was in quotes because the name is the name given to the human
physical body He – The Older Member Soul took over to perform his task for his Older Member
(Heavenly Father (not incarnate then)) through. He was undercover because no human would know it
was him unless they were prepared by the Next Level to recognize him since humans can’t ordinarily
see a Soul nor can necessarily see a spirit/mind – discarnate with occasional exceptions in part.
I don’t believe the Christian phrase “Second Coming” is over until the recycling is fully underway so I
don’t know what Rio is referring to by saying he can “help with understanding the next steps, after the
“Second Coming”…’
Any steps any of us can take now are laid out in the Heaven’s Gate Book and/or through the Beyond
Human – The Last Call video tape series and in the hundreds of internal classroom audio meeting tapes
that are available for free download in different ways for those that ask Carlan (Crlody – Classroom
name) or me – Sawyer – (Swyody – Classroom name). My email address is: sawyerhg@yahoo.com
I also have a facebook page: sawyer.heavensgate and a blog: sawyerhg.wordpress.com and a youtube
channel where I do weekly livestreams under the channel name: 3spm
    Tags:aliens, bible, catholic, Christian, comets, conspiracy, Earth, evolution, Father, gay, God, islam,
      Jesus, Moses, new age, paranormal, philosophy, religion, science, space, spirit, spirits, Spiritual,
                                                    spirituality
  Posted in aliens, bo and peep, Christian, comets, cult, Discarnate Influences, elijah, God, heavens gate,
   Jesus, Jew, Luciferian, moses, Muslim, new age, religion, Revelations, science, science of mind, space
                alien, spirits, ti and do, Two Witnesses, UFO, ufo cult, ufo two | 8 Comments »



TI and DO Classroom Meeting Transcript Links

December 4, 2019
The Heaven’s Gate Book contains the transcripts of the Beyond Human Video tape series
Here is what I have that’s been posted on my blog:
TI and DO Audio Transcript 005 – Program for Perfect Health by Meditation to Eliminate Stress
https://sawyerhg.wordpress.com/2019/04/13/ti-and-do-audio-transcript-005-program-for-perfect-health-
by-meditation-to-eliminate-stress/        (https://sawyerhg.wordpress.com/2019/04/13/ti-and-do-audio-
transcript-005-program-for-perfect-health-by-meditation-to-eliminate-stress/)
TI and DO transcript #53 – Lessons on Following Instructions as a Member of the Next Level Would
https://sawyerhg.wordpress.com/2019/05/12/ti-and-do-transcript-53-lessons-on-following-instructions-
https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                          145/146
5/16/22, 2:12 PM                                       ufo cult | Sawyer Stands for Ti & Do's Heaven's Gate

as-a-member-of-the-next-level-would/
       USDC IN/ND case 3:22-cv-00395-MGG  (https://sawyerhg.wordpress.com/2019/05/12/ti-and-do-transcript-
                                                     document 132-8 filed 07/24/23 page 147 of 147
53-lessons-on-following-instructions-as-a-member-of-the-next-level-would/)
TI and DO transcript #215 – Re-Establishing The Committal
https://sawyerhg.wordpress.com/2019/05/06/ti-and-do-audio-transcript-215-re-establishing-the-
committal-05-09-85/         (https://sawyerhg.wordpress.com/2019/05/06/ti-and-do-audio-transcript-215-re-
establishing-the-committal-05-09-85/)
TI and DO audio transcripts – Mt. Cross CA – 5-22-94 parts 1 and 2
https://sawyerhg.wordpress.com/2019/04/24/do-audio-transcript-combo-mt-cross-ca-parts-1-and-2-5-22-
94/ (https://sawyerhg.wordpress.com/2019/04/24/do-audio-transcript-combo-mt-cross-ca-parts-1-and-2-
5-22-94/)
Last Chance to Evacuate Earth Before It’s Recycled – transcript from Do’s videotape
https://sawyerhg.wordpress.com/2015/09/17/last-chance-to-evacuate-earth-before-its-recycled-transcript-
from-dos-videotape/ (https://sawyerhg.wordpress.com/2015/09/17/last-chance-to-evacuate-earth-before-
its-recycled-transcript-from-dos-videotape/)
TI and DO – #95 – Listing Our Task – 02-14-1984 (audio transcription)
https://sawyerhg.wordpress.com/2019/04/29/ti-and-do-listing-our-task-02-14-1984-audio-transcription/
(https://sawyerhg.wordpress.com/2019/04/29/ti-and-do-listing-our-task-02-14-1984-audio-transcription/)
  Tags:adam, aliens, bible, catholic, ceres, Christian, comets, conspiracy, evolution, God, human, Moses,
     Mythology, new age, philosophy, Pluto, religion, science, space, spirit, Spiritual, spirituality, sun
  Posted in aliens, atheist, bo and peep, Christian, comets, cult, Discarnate Influences, discarnates, elijah,
 heavens gate, Jesus, Luciferian, moses, new age, phoenix lights, religion, Revelations, science, science of
     mind, space alien, spirits, ti and do, TI and DO audio transcipts, Two Witnesses, UFO, ufo cult | 2
                                                  Comments »



                                         Create a free website or blog at WordPress.com.
                                               Entries (RSS) and Comments (RSS).




https://sawyerhg.wordpress.com/category/ufo-cult-2/                                                           146/146
